             Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 1 of 28




                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                 )
    In re:                                                       )   Chapter 11
                                                                 )
    ION GEOPHYSICAL CORPORATION, et al.,1                        )   Case No. 22-30987 (MI)
                                                                 )
                            Debtors.                             )   (Jointly Administered)
                                                                 )

                  THIRD SUPPLEMENTAL NOTICE OF CURE COSTS AND
               POTENTIAL ASSUMPTION AND ASSIGNMENT OF EXECUTORY
             CONTRACTS AND UNEXPIRED LEASES IN CONNECTION WITH SALE

PLEASE TAKE NOTICE OF THE FOLLOWING:

             1.    On April 12, 2022, ION Geophysical Corporation and its debtor affiliates in the

above-captioned chapter 11 cases, as debtors and debtors in possession (collectively, the

“Debtors”) filed with the United States Bankruptcy Court for the Southern District of Texas (the

“Court”) a motion [Docket No. 21] (the “Motion”) for the entry of an order (the “Bidding

Procedures Order”)2 (i) approving (a) the Bidding Procedures, substantially in the form attached

to the Bidding Procedures Order as Exhibit 1; (b) authorizing the Debtors to designate one or more

stalking horse bidders and offer each such bidder certain Bid Protections (as defined in the

Motion); (c) setting the deadline for potential bidders to submit a proposal to purchase the Debtors’

businesses or assets, authorizing and scheduling an auction (the “Auction”), and authorizing and



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.

2
  Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
Motion, Bidding Procedures Order, and the Bidding Procedures, as applicable. Any summary of the Bidding
Procedures Order or the Bidding Procedures contained herein is qualified in its entirety by the actual terms and
conditions thereof. To the extent that there is any conflict between any such summary and such actual terms and
conditions, the actual terms and conditions shall control.
       Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 2 of 28




scheduling hearings with respect to the approval of a proposed sale transaction (the applicable

“Sale Hearing”); (d) authorizing and approving the form and manner of the Sale Notice; (e)

authorizing and approving the Cure Notice to Contract Counterparties regarding the Debtors’

potential assumption and assignment of the Assigned Contracts and of the Debtors’ calculation of

the amount necessary to cure any defaults thereunder (the “Cure Costs”); and (f) authorizing and

approving procedures for the assumption and assignment of the Assigned Contracts and the

determination of Cure Costs with respect thereto; (ii) authorizing the sale of certain of the Debtors’

assets, free and clear of all liens, claims, encumbrances, and other interests pursuant to section

363(f) of the Bankruptcy Code following the sale process and completion of the Auction

(collectively, the “Sale Transactions”); and (iii) granting related relief. The Court entered the

Bidding Procedures Order on May 3, 2022 [Docket No. 174].

       2.      On June 14, 2022, the Debtors filed the Notice of Cure Costs and Potential

Assumption and Assignment of Executory Contracts and Unexpired Leases in Connection with

Sale [Docket No. 316], which identified the contracts and leases to be potentially assumed and

assigned in connection with the Sale Transactions (the “Assigned Contracts Schedule”).

       3.      On July 8, 2022, the Debtors filed the First Supplemental Notice of Cure Costs and

Potential Assumption and Assignment of Executory Contracts and Unexpired Leases in

Connection with Sale [Docket No. 404], which modified the Assigned Contracts Schedule.

       4.      On July 21, 2022, the Debtors filed the Second Supplemental Notice of Cure Costs

and Potential Assumption and Assignment of Executory Contracts and Unexpired Leases in

Connection with Sale [Docket No. 470] (the “Supplemental Cure Notice”), which further modified

the Assigned Contracts Schedule.

       5.      Since the filing of the Supplemental Cure Notice, the Debtors have further modified




                                                  2
       Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 3 of 28




the Assigned Contracts Schedule to include additional contracts or leases to be potentially assumed

and assigned to a Successful Bidder (the “Additional Assigned Contracts”).

       6.      A schedule of the Additional Assigned Contracts that may be assumed and assigned

in connection with the Sale Transactions with a Successful Bidder and the Debtors’ calculation of

the Cure Costs with respect thereto are set forth on Exhibit A attached hereto.

       7.      A redline showing the addition of the Additional Assigned Contracts to the

Assigned Contract Schedule filed with the Supplemental Cure Notice is attached hereto as

Exhibit B.

       8.      The Cure Costs are the only amounts proposed to be paid upon the assumption and

assignment of the Additional Assigned Contracts.

       9.      The inclusion of any contract or lease on Exhibit A shall not constitute or be

deemed a determination or admission by the Debtors that such contract or other document is, in

fact, an executory contract or unexpired lease within the meaning of the Bankruptcy Code (all

rights with respect thereto being expressly reserved).

       10.     Notwithstanding the inclusion of any lease or contract on Exhibit A, the Debtors

are not bound to assume, and a Successful Bidder is not bound to accept assignment of, any

Additional Assigned Contract, and may amend the Assigned Contracts Schedule to remove any

contract or lease.

       11.     If (a) the Debtors identify (i) additional contracts or leases to be potentially assumed

and assigned to a Successful Bidder or (ii) modifications that need to be made to a proposed Cure

Cost previously stated in the Cure Notice, or (b) a Successful Bidder designates any additional

contracts or leases not previously included on this Cure Notice for assumption and assignment, the

Debtors shall promptly file with the Court and serve by first class mail on the applicable Contract




                                                  3
       Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 4 of 28




Counterparty a Supplemental Cure Notice in accordance with the Bidding Procedures Order.

                                           Objections

       12.     Any objection to the proposed assumption or assignment of an Additional Assigned

Contract identified on Exhibit A, including any objection to the proposed Cure Cost, the provision

of adequate assurance of future performance, an Assignment Objection (as defined in the Bidding

Procedures Order), or a Rights Objection (as defined in the Bidding Procedures Order) must:

               (a)     be in writing;

               (b)     state the name and address of the objecting party and the amount and nature
                       of the claim or interest of such party;

               (c)     state with particularity the basis and nature of any objection, and provide
                       proposed language that, if accepted and incorporated by the Debtors, would
                       obviate such objection;

               (d)     conform to the Bankruptcy Rules and the Local Rules; and

               (e)     be filed with the Court no later than August 26, 2022 at 12:00 p.m.
                       (prevailing Central Time).

       13.     IF NO OBJECTION IS TIMELY RECEIVED WITH RESPECT TO AN

ADDITIONAL ASSIGNED CONTRACT (THE “CONTRACT OBJECTION”): (I) THE

CONTRACT COUNTERPARTY TO SUCH ADDITIONAL ASSIGNED CONTRACT

SHALL BE DEEMED TO HAVE CONSENTED TO THE ASSUMPTION BY THE

DEBTORS AND ASSIGNMENT TO SUCCESSFUL BIDDER OF THE ADDITIONAL

ASSIGNED CONTRACT, AND BE FOREVER BARRED FROM ASSERTING ANY

OBJECTION WITH REGARD TO SUCH ASSUMPTION AND ASSIGNMENT

(INCLUDING,          WITHOUT      LIMITATION,        WITH      RESPECT       TO    ADEQUATE

ASSURANCE OF FUTURE PERFORMANCE BY THE SUCCESSFUL BIDDER); (II)

ANY AND ALL DEFAULTS UNDER THE ADDITIONAL ASSIGNED CONTRACT AND

ANY AND ALL PECUNIARY LOSSES RELATED THERETO SHALL BE DEEMED


                                                4
       Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 5 of 28




CURED AND COMPENSATED PURSUANT TO BANKRUPTCY CODE SECTION

365(B)(1)(A) AND UPON PAYMENT OF THE CURE COSTS SET FORTH IN THE CURE

NOTICE FOR SUCH ADDITIONAL ASSIGNED CONTRACT; AND (III) THE

CONTRACT COUNTERPARTY SHALL BE FOREVER BARRED FROM ASSERTING

ANY OTHER CLAIMS RELATED TO SUCH ADDITIONAL ASSIGNED CONTRACT

AGAINST THE DEBTORS AND THEIR ESTATES OR THE SUCCESSFUL BIDDER, OR

THE PROPERTY OF ANY OF THE THEM, THAT EXISTED PRIOR TO THE ENTRY

OF THE ORDER RESOLVING SUCH CONTRACT OBJECTION AND ANY SALE

ORDER.

                                             Hearing

       14.     Objections, if any, that cannot otherwise be resolved by the parties, will be heard

at a hearing scheduled prior to any scheduled closing of the Sale Transactions, as determined by

the Debtors in accordance with the Bidding Procedures Order.

                                    Additional Information

       15.     Copies of the Motion, the Bidding Procedures Order, and the Bidding Procedures,

may be obtained free of charge at the website dedicated to the Debtors’ chapter 11 cases maintained

by the Debtors’ claims and noticing agent, Epiq Corporate Restructuring LLC, located at

https://dm.epiq11.com/IONGeophysical.




                                                5
     Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 6 of 28




Dated: August 19, 2022                   WINSTON & STRAWN LLP
Houston, Texas
                                         /s/ Katherine A. Preston
                                         Katherine A. Preston (TX Bar No. 24088255)
                                         800 Capitol St., Suite 2400
                                         Houston, Texas 77002
                                         Telephone: (713) 651-2600
                                         Facsimile: (713) 651-2700
                                         Email: kpreston@winston.com

                                         and

                                         Daniel J. McGuire (admitted pro hac vice)
                                         Laura Krucks (admitted pro hac vice)
                                         35 W. Wacker Drive
                                         Chicago, Illinois 60601-9703
                                         Telephone: (312) 558-5600
                                         Facsimile: (312) 558-5700
                                         Email: dmcguire@winston.com
                                                lkrucks@winston.com

                                         and

                                         Timothy W. Walsh (admitted pro hac vice)
                                         200 Park Avenue
                                         New York, New York 10166
                                         Telephone: (212) 294-6700
                                         Facsimile: (212) 294-4700
                                         E-mail: twwalsh@winston.com

                                         Counsel to the Debtors and Debtors in Possession
       Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 7 of 28




                                     Certificate of Service

       I hereby certify that on August 19, 2022, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                   /s/ Katherine A. Preston
                                                   Katherine A. Preston
Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 8 of 28




                            Exhibit A

                   Additional Assigned Contracts
                   Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 9 of 28


DEBTOR NAME                   COUNTERPARTY                                CONTRACT DESCRIPTION                                                                                       Cure Amount
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                    LETTER OF COMMITMENT DTD 9/30/2005                                                                                       $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                    MASTER GEOPHYSICAL DATA-USE LICENSE #10008.2 DTD 2/04/2003                                                               $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                          $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                    SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                          $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                    SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                          $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                    SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                          $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                    SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                          $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                    SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10008 (GREEN CANYON DEEP WATER VSO PILOT                         $0.00
                                                                          STUDY)
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION              LETTER, RE: TRANSFER OF LICENSED DATA #10007 DTD 12/19/2006                                                              $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION              TERMINATION AGREEMENT #10007 DTD 11/13/2019                                                                              $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION              AMENDMENT NO. 1 TO CONSULTING SERVICES AGREEMENT                                                                         $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION              AMENDMENT NO. 2 TO CONSULTING SERVICES AGREEMENT                                                                         $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION              AMENDMENT NO. 3 TO CONSULTING SERVICES AGREEMENT                                                                         $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION              AMENDMENT NO. 4 TO CONSULTING SERVICES AGREEMENT                                                                         $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION              AMENDMENT NO. 5 TO CONSULTING SERVICES AGREEMENT                                                                         $0.00
ION GEOPHYSICAL CORPORATION   BEIJING CENTURY PEAK TECH. LTD.             CONSULTING SERVICES AGREEMENT DTD 7/1/2019                                                                               $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (DEEPWATER) INC.     BHP MASTER INNOVATION SERVICES AGREEMENT 9100059993                                                                      $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (DEEPWATER) INC.     COMMERCIAL AGREEMENT FOR SEISMIC INNOVATION SERVICES 9100060027                                                          $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA INC.                             BPAM-99273                                                                                                               $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION (ANGOLA) LTD                 MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 10226 DTD JULY 23, 2004                                                      $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION OPERATING COMPANY LIMITED    GLOBAL SPAN PROGRAM MANAGEMENT SERVICES GLOBAL FRAMEWORK AGREEMENT DTD 4/03/2009                                         $0.00
GX TECHNOLOGY CORPORATION     BRECKENRIDGE EXPLORATION CO. INC.           BRECK-0610/04                                                                                                            $0.00
ION GEOPHYSICAL CORPORATION   BUREAU OF OCEAN ENERGY MANAGEMENT           REQUEST FOR DIGITAL SEISMIC DATA AND AN INVOICE FOR REQUISITION NO. NPR17-38 DTD 6/12/2017 (GULFSPAN 2D)                 $0.00

ION GEOPHYSICAL CORPORATION   BUREAU OF OCEAN ENERGY MANAGEMENT,          ORDER DIGITABLE DATA COLLECTED UNDER FEDERAL PERMIT NOS. L02-15, T03-08, AND L05-27, PURCHASE REQUEST                    $0.00
                              REGULATION, AND ENFORCEMENT                 NO. PR 40014456 DTD 6/30/2011
GX TECHNOLOGY CORPORATION     BURNETT OIL CO., INC.                       MASTER GEOPHYSICAL DATA-USE LICENSE #11529 DTD 3/24/2015                                                                 $0.00
GX TECHNOLOGY CORPORATION     BURNETT OIL CO., INC.                       AMENDMENT 1 OF CONFIDENTIALITY AND NON-DISCLOSURE AGREEMENT DTD 7/15/2014                                                $0.00
GX TECHNOLOGY CORPORATION     BURNETT OIL CO., INC.                       AMENDMENT 1 OF ATTACHMENT “C” FORM OF CONFIDENTIALITY AGREEMENT TO GEOPHYSICAL DATA-USE LICENSE                          $0.00
                                                                          #11533 DTD 10/28/2014
GX TECHNOLOGY CORPORATION     CARRIZO (MARCELLUS) LLC                     LETTER OF COMMITMENT DTD 8/24/2010                                                                                       $0.00
GX TECHNOLOGY CORPORATION     CEPSA EP S.A.                               CEPSA-0422                                                                                                               $0.00
GX TECHNOLOGY CORPORATION     CGG SERVICES (U.S.) INC.                    CGGUS-1808/01                                                                                                            $0.00
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND      LICENSE ORDER NO. CW1165665-GOM-001 (GXT #11107-24) (GulfSPAN Land I)                                                    $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND      LICENSE ORDER NO. CW1165665-GOM-001 (GXT #11107-24) (GulfSPAN Land II)                                                   $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON CANADA LIMITED                      SUPPLEMENT NO. 1 TO MASTER DATA-USE LICENSE AGREEMENT #10534 DTD DECEMBER 13, 2007                                       $0.00
GX TECHNOLOGY CORPORATION     CHEVRON CNAEP (MIDCON)                      CHEV-9209                                                                                                                $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS             LICENSE ORDER NO. CW993371 (GXT NO. 11107-20)                                                                            $0.00
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND      LICENSE ORDER NO. CW837880 (GXT #11107-03) (GulfSPAN Streamer Data)                                                      $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND      LICENSE ORDER NO. CW837880 (GXT #11107-03) (GulfSPAN OBC Data)                                                           $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND      LICENSE ORDER NO. CW837880 (GXT #11107-03) (GulfSPAN RTM Upgrade Only)                                                   $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                         LICENSE ORDER NO. AMBU-01 (GXT #11107-13)                                                                                $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                         LICENSE ORDER NO. CW993371 (GXT #11107-21)                                                                               $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                         AMENDEMNT NO. 1 TO INTERNATIONAL MASTER AGREEMENT NO. 179 (GXT NO. 11107-00) DTD 1/24/2011                               $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                         AMENDEMNT NO. 2 TO INTERNATIONAL MASTER AGREEMENT NO. 179 (GXT NO. 11107-00) DTD 12/06/2012                              $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                         AGREEMENT FO DELIVERY OF GATHERS FOR REPROCESSING DTD 5/20/2017                                                          $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                         LETTER, RE: CHEVRON SUPPLEMENTAL LEASES WITHIN ION GREENSBURG MULTI-CLIENT 3D SEISMIC SURVEY DTD                         $0.00
                                                                          11/20/2019
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      LETTER, RE: GULFSPAN PROPOSAL DTD 5/01/2006                                                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS POLAND BV                    MASTER GEOPHYSICAL DATA-USE LICENSE #11149                                                                               $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS SKANDINAVIA AS               MASTER GEOPHYSICAL DATA-USE LICENSE #52379                                                                               $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS SOUTH AMERICA VENTURES       MASTER GEOPHYSICAL DATA-USE LICENSE #11045                                                                               $0.00
GX TECHNOLOGY CORPORATION     CONTINENTAL RESOURCES, INC.                 CONT-0610/02                                                                                                             $0.00
GX TECHNOLOGY CORPORATION     DOMINION EXPLORATION AND PRODUCTION, INC.   LETTER, RE: NEW VENTURES PROPOSAL DTD 12/21/2004                                                                         $0.00
GX TECHNOLOGY CORPORATION     DOMINION TRANSMISSION, INC.                 FIRST AMENDMENT TO MASTER GEOPHYSICAL DATA-USE LICENSE #11533 DTD 7/23/2014                                              $0.00
GX TECHNOLOGY CORPORATION     EAST RESOURCES, INC.                        LETTER OF COMMITMENT DTD 5/30/2008                                                                                       $0.00
GX TECHNOLOGY CORPORATION     EAST RESOURCES, INC.                        AMENDMENT NO. 1 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10865 DTD 6/24/2010                                              $0.00
GX TECHNOLOGY CORPORATION     ENI AGIP S.P.A.                             ENI-9823                                                                                                                 $0.00
GX TECHNOLOGY CORPORATION     ENI PETROLEUM EXPLORATION CO. INC.          LETTER OF COMMITMENT DTD 9/29/2005                                                                                       $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                     LICENSE AGREEMENT FOR USE OF PROPRIETARY DATA NEW EXPLORATION OPPORTUNITES IN OFFSHORE TANZANIA-                         $0.00
                                                                          KENYA (35648-3500017803) DTD JULY 29, 2011
GX TECHNOLOGY CORPORATION     ENI SPA                                     LICENSE AGREEMENT FOR USE OF PROPRIETARY DATA 2D N.E. GREENLAND SPAN PHASE 1 AND PHASE 2 (35648-                         $0.00
                                                                          3500018588)
GX TECHNOLOGY CORPORATION     ENI SPA                                     AGREEMENT FOR USE OF PROPRIETARY GX TECHNOLOGY CORPORATION'S BASINSPANS (35648-2500007448) DTD FEB.                      $0.00
                                                                          21, 2012
GX TECHNOLOGY CORPORATION     ENI SPA                                     AMENDMENT 1 TO AGREEMENT FOR USE OF PROPRIETARY GX TECHNOLOGY CORPORATION'S BASINSPANS (35648-                           $0.00
                                                                          2500007448) DTD JUNE 29, 2013
GX TECHNOLOGY CORPORATION     ENI SPA                                     LICENSE AGREEMENT FOR USE OF PROPRIETARY DATA NEW EXPLORATION OPPORTUNITES IN OFFSHORE NORWAY                            $0.00
                                                                          (35648-3500021875) DTD JANUARY 5, 2012
ION GEOPHYSICAL CORPORATION   ENI SPA                                     LICENSE AGREEMENT FOR USE OF DATA ION LIBYASPAN (35648-3500044955) DTD SEPT. 28, 2017                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                 EQNR-1811/01                                                                                                             $0.00
GX TECHNOLOGY CORPORATION     ESSO AUSTRALIA PTY LTD                      SUPPLEMENTAL AGREEMENT (A4007358) (WESTRALIASPAN) GXT NO. 11968-01, DATED JAN. 31, 2020                                  $0.00
GX TECHNOLOGY CORPORATION     ESSO EXPLORATION INTERNATIONAL LTD          SUPPLEMENTAL AGREEMENTS (A4009924/LP-2020-JAPAN-250) DATED SEPT. 29, 2020                                                $0.00
GX TECHNOLOGY CORPORATION     EXCO RESOURCES (PA), LLC                    AMENDMENT NO. 1 TO SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11086                                         $0.00
GX TECHNOLOGY CORPORATION     EXCO RESOURCES (PA), LLC                    LETTER. RE: ADDITIONAL ACQUISITION SERVICES DTD 6/08/2011                                                                $0.00
GX TECHNOLOGY CORPORATION     EXCO RESOURCES (PA), LLC                    LETTER. RE: PARTNER DESIGNATION DTD 10/26/2011                                                                           $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPLORATION COMPANY              EPR-9302                                                                                                                 $0.00
GX TECHNOLOGY CORPORATION     GEO-COSL                                    LETTER, RE: NEW VENTURES PROPOSAL DTD 6/15/2005                                                                          $0.00
GX TECHNOLOGY CORPORATION     GEO-COSL                                    MASTER GEOPHYSICAL DATA-USE LICENSE #10410 DTD 6/30/2005                                                                 $0.00
GX TECHNOLOGY CORPORATION     GEO-COSL                                    SUPPLEMENT NO. 01 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10410 (GULFSPAN I)                                             $0.00
GX TECHNOLOGY CORPORATION     GEO-COSL                                    SUPPLEMENT NO. 01 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10410 (GULFSPAN II)                                            $0.00
GX TECHNOLOGY CORPORATION     GEOPHYSICAL PURSUIT, INC.                   TERMINATION AND ROYALTY AGREEMENT #10862 DTD 5/06/2008                                                                   $0.00
GX TECHNOLOGY CORPORATION     GMX RESOURCES INC.                          FIRST AMENDMENT TO MASTER GEOPHYSICAL DATA-USE LICENSE #11143 DTD 1/24/2014                                              $0.00
GX TECHNOLOGY CORPORATION     JAPAN PETROLEUM EXPLORATION, DOMESTIC       JAPEX-0604/03                                                                                                            $0.00
                              EXPLORATION
GX TECHNOLOGY CORPORATION     JAPEX - JGI                                 JGI-0108                                                                                                                 $0.00
ION GEOPHYSICAL CORPORATION   JAT ASSET INTEGRITY OFFSHORE &              AMENDMENT 2 TO CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11990                                                         $0.00
GX TECHNOLOGY CORPORATION     KERR-MCGEE OIL & GAS CORPORATION            MASTER GEOPHYSICAL DATA-USE LICENSE #10048 DTD 5/27/2003                                                                 $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL NORTH SEA UK LIMITED             SUPPLEMENTAL AGREEMENT NO 173711-01 DTD DEC. 12, 2012                                                                    $0.00
GX TECHNOLOGY CORPORATION     MAGNOLIA OIL & GAS OPERATING LLC            MASTER GEOPHYSICAL DATA-USE LICENSE #12068 DTD 6/24/2022                                                                 $0.00
GX TECHNOLOGY CORPORATION     MAGNOLIA OIL & GAS OPERATING LLC            SUPPLEMENT NO. 01 TO MASTER GEOPHYSICAL DATA-USE LICENSE #12068 (GulfSPAN Land (GSM3))                                   $0.00
GX TECHNOLOGY CORPORATION     MAGNOLIA OIL & GAS OPERATING LLC            MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 12068 DTD JUNE 24, 2022                                                      $0.00
GX TECHNOLOGY CORPORATION     MAGSEIS FAIRFIELD LLC                       FAIR-0107/01                                                                                                             $0.00
GX TECHNOLOGY CORPORATION     MAGSEIS FAIRFIELD LLC                       FAIR-1108/01                                                                                                             $0.00
GX TECHNOLOGY CORPORATION     MAGSEIS FAIRFIELD LLC                       MAGFAIR-1902                                                                                                             $0.00
ION GEOPHYSICAL CORPORATION   MAKAI OCEAN ENGINEERING INC.                MAKAI TESTING TERMS AND CONDITIONS                                                                                       $0.00
ION GEOPHYSICAL CORPORATION   MAKAI OCEAN ENGINEERING INC.                MAKAI OCEAN ENGINEERING - TERMS AND CONDITIONS                                                                           $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                        SUPPLEMENT NO. 03 TO MASTER GEOPHYSICAL DATA-USE LICENSE #1110834 (GULFSPAN LAND I)                                      $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                        SUPPLEMENT NO. 04 TO MASTER GEOPHYSICAL DATA-USE LICENSE #1110834 (GULFSPAN LAND II)                                     $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                        SUPPLEMENT NO. 05 TO MASTER GEOPHYSICAL DATA-USE LICENSE #1110834 (GULFSPAN OBC)                                         $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                        SUPPLEMENT NO. 06 TO MASTER GEOPHYSICAL DATA-USE LICENSE #1110834 (GULFSPAN II STREAMER)                                 $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                        SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 1110834-07 (CONGOSPAN I)                                          $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                        SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 1110834-07 (CONGOSPAN I (REPROCESSING))                           $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                        SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 1110834-07 (CONGOSPAN II)                                         $0.00
GX TECHNOLOGY CORPORATION     MARI PETROLEUM COMPANY LIMITED              MPCL/GXT/7100036733 (MARI-1709/01)                                                                                       $0.00
GX TECHNOLOGY CORPORATION     MOUNTAINEER KEYSTONE, LLC                   OPTION AGREEMENT DTD 2/24/2012                                                                                           $0.00
GX TECHNOLOGY CORPORATION     NORSK HYDRO PRODUKSJON A.S.                 MASTER GEOPHYSICAL DATA-USE LICENSE #10275 DTD 9/30/2004                                                                 $0.00
GX TECHNOLOGY CORPORATION     ONEO GMBH (WAS RDG)                         RAG-0217-01                                                                                                              $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          11318-00                                                                                                                 $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT 11318-02 (CongoSPAN II)                                           $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT 11318-02 (Gabon Deeptow)                                          $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 11318-04 (CongoSPAN I)                                            $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 11318-04 (CongoSPAN I (Reprocessing))                             $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT 11318-06 (EquatorSPAN - Gabon)                                    $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 11318-07 (CongoSPAN I)                                            $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 11318-07 (CongoSPAN I (Reprocessing))                             $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT 11318-08 (EquatorSPAN - Gabon)                                    $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                          SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT 11318-09 (Gabon Deeptow)                                          $0.00




                                                                                           Page 1 of 2
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 10 of 28


DEBTOR NAME                   COUNTERPARTY                              CONTRACT DESCRIPTION                                                                                 Cure Amount
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                        SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT 11318-10 (EquatorSPAN - Cameroon)                           $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                        SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT 11318-12 (CongoSPAN I)                                      $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                        SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT 11318-12 (CongoSPAN I (Reprocessing))                       $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                        SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT 11318-12 (EquatorSPAN - Gabon)                              $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                        SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT 11318-13 (EQUATORSPAN - GABON)                              $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                        SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT 11318-13 (NIGERIASPAN)                                      $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                        SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT 11318-13 (NIGERIASPAN II)                                   $0.00
GX TECHNOLOGY CORPORATION     PARAGON GEOPHYSICAL                       PRGN-0504                                                                                                          $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS COLOMBIA LTD                    LETTER OF COMMITMENT - COLOMBIASPAN                                                                                $0.00
GX TECHNOLOGY CORPORATION     PGNIG SA                                  PGNIG-1503                                                                                                         $0.00
GX TECHNOLOGY CORPORATION     PROSPECTIUNI S.A.                         PRTI-1803                                                                                                          $0.00
GX TECHNOLOGY CORPORATION     PTT EXPLORATION & PRODUCTION              PTT-0505                                                                                                           $0.00
GX TECHNOLOGY CORPORATION     RANGE RESOURCES CORPORATION               LETTER OF COMMITMENT DTD 7/29/2010                                                                                 $0.00
GX TECHNOLOGY CORPORATION     RELIANCE INDUSTRIES LIMITED               11107-00                                                                                                           $0.00
GX TECHNOLOGY CORPORATION     SEITEL, INC.                              SEIT-0506                                                                                                          $0.00
GX TECHNOLOGY CORPORATION     SHELL WESTERN EXPLORATION & PRODUCTION    LETTER, RE: ACQUISITION OF SURFACE AND MINERAL PERMITS DTD 6/07/2011                                               $0.00
                              INC.
GX TECHNOLOGY CORPORATION     SINOPEC INTERNATIONAL PETROLEUM SERVICE   SINO-IPSC-0906/03                                                                                                  $0.00
                              CORP
GX TECHNOLOGY CORPORATION     SINOPEC PETROLEUM SERVICE CO., LLC        SINO-PETSVCS-1603/03                                                                                               $0.00
GX TECHNOLOGY CORPORATION     SOUTHWESTERN ENERGY PRODUCTION COMPANY    LETTER OF COMMITMENT DTD 1/25/2011                                                                                 $0.00

GX TECHNOLOGY CORPORATION     SOUTHWESTERN ENERGY PRODUCTION COMPANY TERMINATION OF LETTER OF COMMITMENT DTD 9/07/2012                                                                     $0.00

GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT 10965-01 (BEAUFORTSPAN II)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT 10965-02 (BEAUFORTSPAN III)                                 $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT 10965-03 (BEAUFORTSPAN II)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 10965-04 (BEAUFORTSPAN)                                     $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 10965-04 (BEAUFORTSPAN II)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 10965-04 (BEAUFORTSPAN III)                                 $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT 10965-06 (ARAFURASPAN I)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 10965-07 (CHUKCHISPAN)                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT 10965-08 (NE GREENLANDSPAN)                                 $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT 10965-09 (NE ATLANTICSPAN)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT 10965-10 (NE GREENLANDSPAN III)                             $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT 10965-11 (ARAFURASPAN I)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT 10965-15 (COLOMBIASPAN)                                     $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT 10965-16 (INDIASPAN EAST)                                   $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT 10965-19 (BIGHTSPAN I)                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT 10965-20 (ARGENTINESPAN)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT 10965-21 (PELOTASSPAN)                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT 10965-21 (PELOTASSPAN)                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT 10965-22 (ARGENTINESPAN)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT 10965-23 (GUYANASPAN 1)                                     $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT 10965-24 (CARIBESPAN)                                       $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT 10965-24 (CARIBESPAN RE-IMAGING)                            $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT 10965-26 (INDIASPAN WEST)                                   $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT 10965-27 (YUCATANSPAN)                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT 10965-29 (INDIASPAN WEST)                                   $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT 10965-29 (INDIASPAN II WEST)                                $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT 10965-30 (CONGOSPAN II)                                     $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT 10965-30 (EQUATORSPAN - GABON)                              $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT 10965-30 (GABON DEEPTOW)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT 10965-32 (ARGENTINESPAN)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT 10965-32 (URUGUAY REPROCESSING)                             $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT 10965-32 (URUGUAYSPAN)                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT 10965-32 (URUGUAYSPAN RE-IMAGING)                           $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT 10965-33 (NOVASPAN)                                         $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT 10965-33 (NOVASPAN (RE-IMAGING))                            $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT 10965-34 (CONGOSPAN2 REPROCESSING1 (GC2R1))                 $0.00

GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT 10965-37 (GUYANASPAN 1)                                     $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT 10399-02 (CARIBESPAN)                                       $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT 10399-03 (TRINIDAD ULTRA DEEP)                              $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 10399-04 (CONGOSPAN II)                                     $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT 10399-05 (BEAUFORTSPAN)                                     $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT 10399-06 (BEAUFORTSPAN II)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               GLOBAL BASINSPAN ACCESS AGREEMENT DTD DEC. 21, 2012                                                                $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                               MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 10399, STATOIL NO. 4600007732, DATED JUNE 21, 2006                     $0.00
GX TECHNOLOGY CORPORATION     STATOIL GULF OF MEXICO, LLC               SUPPLEMENT NO. 07 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10399 (GULFSPAN OBC)                                     $0.00
GX TECHNOLOGY CORPORATION     STATOIL GULF OF MEXICO, LLC               SUPPLEMENT NO. 08 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10399 (GULFSPAN LAND)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL GULF OF MEXICO, LLC               SUPPLEMENT NO. 28 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10965 (GULFSPAN REPROCESSING)                            $0.00
GX TECHNOLOGY CORPORATION     STONE ENERGY                              SUPPLEMENT NO. 01 TO MASTER GEOPHYSICAL DATA-USE AGREEMENT #10495 (GULFSPAN I)                                     $0.00
GX TECHNOLOGY CORPORATION     STONE ENERGY                              LETTER, RE: NEW VENTURES PROPOSAL DTD 12/29/2005                                                                   $0.00
GX TECHNOLOGY CORPORATION     TGS-NOPEC GEOPHYSICAL CO ASA              MASTER LICENSE AGREEMENT #NL1207-304                                                                               $0.00
ION GEOPHYSICAL CORPORATION   TGS-NOPEC GEOPHYSICAL CO ASA              MASTER LICENSE AGREEMENT #NL1207-304                                                                               $0.00
GX TECHNOLOGY CORPORATION     TOTALFINAELF E&P USA, INC.                GULFSPAN REGIONAL SEISMIC PROGRAM LETTER OF COMMITMENT DTD 3/15/2002                                               $0.00
GX TECHNOLOGY CORPORATION     TOTALFINAELF E&P USA, INC.                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10462                                                      $0.00
GX TECHNOLOGY CORPORATION     TURKIYE PETROLLERI A.O                    TPAO-1103/01                                                                                                       $0.00
GX TECHNOLOGY CORPORATION     UNITED STATES GEOLOGICAL SURVEY           AWARD/CONTRACT (CONTRACT NO. G11PC00048) DTD 8/26/2011                                                             $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE        AMENDMENT 1 TO COOPERATIVE RESEARCH AGREEMENT DTD 3/09/2015                                                        $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE        MASTER GEOPHYSICAL DATA-USE LICENSE #11595 DTD 8/03/2006                                                           $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD.                  LETTER, RE: PROPOSAL TO COPY GULFSPAN II STREAMER DTD 1/31/2014                                                    $0.00
GX TECHNOLOGY CORPORATION     WINTERSHALL AG                            WINT-0508                                                                                                          $0.00
GX TECHNOLOGY CORPORATION     WINTERSHALL AG                            WINTER-1703                                                                                                        $0.00
GX TECHNOLOGY CORPORATION     XTO ENERGY INC.                           SUPPLEMENT NO. 60 TO MASTER LICENSE DATA-USE LICENSE #10789                                                        $0.00




                                                                                            Page 2 of 2
Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 11 of 28




                                Exhibit B

Redline to Assigned Contracts Schedule Filed With Supplemental Cure Notice
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 12 of 28


DEBTOR NAME                   COUNTERPARTY                             CONTRACT DESCRIPTION                                                                                 Cure Amount
ION GEOPHYSICAL CORPORATION   2800 PETERS ROAD LLC                     REAL ESTATE LEASE AGREEMENT RE: 2800 PETERS RD HARVEY                                                           $0.00
ION GEOPHYSICAL CORPORATION   3C RESOURCES                             CONTRACT FOR PLACEMENT OF PERSONNEL DTD 1/31/2018                                                               $0.00
GX TECHNOLOGY CORPORATION     3LEGS RESOURCES PLC                      MASTER GEOPHYSICAL DATA-USE LICENSE #12006                                                                      $0.00
GX TECHNOLOGY CORPORATION     3LEGS RESOURCES PLC                      SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11180                                                   $0.00
ION GEOPHYSICAL CORPORATION   ABCL TRANSPORATION SERVICES LLC          REAL ESTATE LEASE AGREEMENT                                                                                   $999.96
ION GEOPHYSICAL CORPORATION   ABOU-ISMAIL, NEZAR SALEH                 CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11833                                                               $0.00
ION GEOPHYSICAL CORPORATION   ACCEL SERVICES INC                       CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11967                                                               $0.00
GX TECHNOLOGY CORPORATION     ACREP SA EXPLORACAO PETROLIFERA          MASTER GEOPHYSICAL DATA-USE LICENSE #12006                                                                      $0.00
GX TECHNOLOGY CORPORATION     ACREP SA EXPLORACAO PETROLIFERA          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #12006                                                   $0.00
GX TECHNOLOGY CORPORATION     AGENCIA NACIONAL DE HIDROCARBUROS        2D OFFSHORE SEISMIC ACQUISITION AGREEMENT DTD 12/6/2019                                                         $0.00
GX TECHNOLOGY CORPORATION     AGENCIA NACIONAL DE HIDROCARBUROS        TECHNICAL PROPOSAL AND ATTACHMENTS OF MULTI-CLIENT PROJECTS IN THE COLOMBIAN CARIBBEAN DTD 11/2019                 $0.00
ION GEOPHYSICAL CORPORATION   AGUIRRE, ROBERTO R. E.                   CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11958 DTD 12/12/2019                                                $0.00
GX TECHNOLOGY CORPORATION     AIPN                                     SEISMIC LICENSE AGREEMENT                                                                                       $0.00
ION GEOPHYSICAL CORPORATION   AIPN                                     SEISMIC LICENSE AGREEMENT                                                                                       $0.00
GX TECHNOLOGY CORPORATION     AKER ENERGY GHANA LIMITED                MASTER GEOPHYSICAL DATA-USE LICENCE #11921                                                                      $0.00
ION GEOPHYSICAL CORPORATION   AKER EXPLORATION AS                      MASTER GEOPHYSICAL DATA-USE LICENCE #10778                                                                      $0.00
GX TECHNOLOGY CORPORATION     AKER EXPLORATION AS                      MASTER GEOPHYSICAL DATA-USE LICENCE #10778                                                                      $0.00
GX TECHNOLOGY CORPORATION     AKER EXPLORATION AS                      SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11921                                                   $0.00
ION GEOPHYSICAL CORPORATION   ALCONSULT INTERNATIONAL LTD              BRDP SUB-RESELLER LETTER AGREEMENT DTD 11/1/2013                                                                $0.00
ION GEOPHYSICAL CORPORATION   ALEX LAWRIE FACTORS LTD                  REAL ESTATE LEASE AGREEMENT                                                                                     $0.00
GX TECHNOLOGY CORPORATION     ALEX LAWRIE FACTORS LTD                  REAL ESTATE LEASE AGREEMENT                                                                                     $0.00
ION GEOPHYSICAL CORPORATION   ALLAN FILIPOV                            CONSULTING SERVICES AGREEMENT NO. 12013 DTD 4/26/2021                                                       $3,017.59
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                 LETTER OF COMMITMENT DTD 9/30/2005                                                                              $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                 MASTER GEOPHYSICAL DATA-USE LICENSE #10008.2 DTD 2/04/2003                                                      $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                 SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                 $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                 SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                 $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                 SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                 $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                 SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                 $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                 SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10008.1                                                 $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                 SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10008 (GREEN CANYON DEEP WATER VSO PILOT                $0.00
                                                                       STUDY)
ION GEOPHYSICAL CORPORATION   AMERADA HESS CORPORATION                 MASTER GEOPHYSICAL DATA-USE LICENSE #10008 DTD 12/31/2002                                                       $0.00
GX TECHNOLOGY CORPORATION     AMERADA HESS CORPORATION                 MASTER GEOPHYSICAL DATA-USE LICENSE #10008 DTD 12/31/2002                                                       $0.00
GX TECHNOLOGY CORPORATION     AMOCO BRAZIL INC                         MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                       $0.00
ION GEOPHYSICAL CORPORATION   AMWINS BROKERAGE OF TEXAS INC            INSURANCE AGREEMENT RE POLICY #ANV157681A                                                                       $0.00
GX TECHNOLOGY CORPORATION     ANADARKO INTERNATIONAL O&G COMPANY       MASTER GEOPHYSICAL DATA-USE LICENSE #10007 DTD 4/9/2002                                                         $0.00
GX TECHNOLOGY CORPORATION     ANADARKO INTL ENERGY COMPANY             SEISMIC LICENSE AGREEMENT                                                                                       $0.00
GX TECHNOLOGY CORPORATION     ANADARKO KENYAN COMPANY                  SEISMIC LICENSE AGREEMENT                                                                                       $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PERU BV SUCURSAL PERUANA        MASTER GEOPHYSICAL DATA-USE LICENSE #10007 DTD 4/9/2002                                                         $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           LETTER, RE: TRANSFER OF LICENSED DATA #10007 DTD 12/19/2006                                                     $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           TERMINATION AGREEMENT #10007 DTD 11/13/2019                                                                     $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           MASTER GEOPHYSICAL DATA-USE LICENSE #10007 DTD 4/9/2002                                                         $0.00
ION GEOPHYSICAL CORPORATION   ANADARKO PETROLEUM CORPORATION           MASTER GEOPHYSICAL DATA-USE LICENSE #10007 DTD 4/9/2002                                                         $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 25 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 28 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 31 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 35 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 36 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 38 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 39 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANADARKO PETROLEUM CORPORATION           SUPPLEMENT NO. 41 TO MASTER DATA-USE LICENSE AGREEMENT #10007                                                   $0.00
GX TECHNOLOGY CORPORATION     ANCAP (URUGUAY)                          CONTRACT FOR PERFORMANCE, LICENSING, & REVENUE SHARING                                                          $0.00
GX TECHNOLOGY CORPORATION     ANGOLA GEOSCIENCE SERVICES, LDA          AMENDMENT NO. 1 TO JOINT OPERATING AGREEMENT NO. E-AF-JOA0405 DTD2/1/2013                                       $0.00
GX TECHNOLOGY CORPORATION     ANGOLA GEOSCIENCES SERVICES LDA          JOINT OPERATING AGREEMENT DTD 2/1/2013                                                                  $1,024,799.05
GX TECHNOLOGY CORPORATION     APACHE CORPORATION                       MASTER GEOPHYSICAL DATA-USE LICENSE #10741                                                                      $0.00
GX TECHNOLOGY CORPORATION     APACHE CORPORATION                       SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10741                                                   $0.00
GX TECHNOLOGY CORPORATION     APACHE CORPORATION                       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10741                                                   $0.00
GX TECHNOLOGY CORPORATION     APACHE CORPORATION                       MASTER SERVICES CONTRACT DTD 2/24/2015                                                                          $0.00
ION GEOPHYSICAL CORPORATION   APACHE CORPORATION                       LICENSE AGREEMENT DTD 11/26/2014                                                                                $0.00
ION GEOPHYSICAL CORPORATION   APACHE CORPORATION                       TECHNOLOGY ALLIANCE AGREEMENT DTD 12/2/2009                                                                     $0.00
GX TECHNOLOGY CORPORATION     APACHE SURINAME CORP LDC                 MASTER GEOPHYISCAL DATA-USE LICENSE #11174 DTD 9/24/2013                                                        $0.00
GX TECHNOLOGY CORPORATION     APACHE SURINAME CORP LDC                 MASTER SERVICES CONTRACT DTD 1/14/2013                                                                          $0.00
GX TECHNOLOGY CORPORATION     APACHE SURINAME CORPORATION LDC          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11174                                                   $0.00
GX TECHNOLOGY CORPORATION     APEX ENERGY PA LLC                       MASTER GEOPHYISCAL DATA-USE LICENSE #11560 DTD 10/23/2014                                                       $0.00
GX TECHNOLOGY CORPORATION     APEX ENERGY PA LLC                       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11560                                                   $0.00
GX TECHNOLOGY CORPORATION     APEX ENERGY PA LLC                       SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11560                                                   $0.00
GX TECHNOLOGY CORPORATION     APEX ENERGY PA LLC                       SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11560                                                   $0.00
GX TECHNOLOGY CORPORATION     ARK GEOPHYSICS LTD                       SEISMIC LICENSE AGREEMENT                                                                                       $0.00
ION GEOPHYSICAL CORPORATION   ARKEX LTD                                ACCEPTANCE LETTER NE GREENLAND DTD 4/3/2012                                                                     $0.00
GX TECHNOLOGY CORPORATION     ARKEX LTD                                ACCEPTANCE LETTER NE GREENLAND DTD 4/3/2012                                                                     $0.00
ION GEOPHYSICAL CORPORATION   ARKEX LTD                                MASTER SERVICES AGREEMENT DTD 11/14/2008                                                                        $0.00
ION GEOPHYSICAL CORPORATION   ARKEX LTD.                               SUPPLEMENTAL AGREEMENT NO. 1 TO MASTER AGREEMENT DTD 11/14/2008                                                 $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION           AMENDMENT NO. 1 TO CONSULTING SERVICES AGREEMENT                                                                $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION           AMENDMENT NO. 2 TO CONSULTING SERVICES AGREEMENT                                                                $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION           AMENDMENT NO. 3 TO CONSULTING SERVICES AGREEMENT                                                                $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION           AMENDMENT NO. 4 TO CONSULTING SERVICES AGREEMENT                                                                $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION           AMENDMENT NO. 5 TO CONSULTING SERVICES AGREEMENT                                                                $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION           CONSULTING SERVICES AGREEMENT DTD 12/7/2015                                                                     $0.00
ION GEOPHYSICAL CORPORATION   ASPIRE GEOPHYSICAL CORPORATION           AMENDMENT NO. 6 TO CONSULTING SERVICES AGREEMENT                                                                $0.00
GX TECHNOLOGY CORPORATION     AUTORIDADE NATIONAL DO PETROLEO, THE     JOINT PETROLEUM DEVELOPMENT AREA AGREEMENT DTD 2/27/2014 [WESTRALIASPAN-TLEA]                            $165,631.11
GX TECHNOLOGY CORPORATION     AUTORIDADE NATIONAL DO PETROLEO, THE     JOINT PETROLEUM DEVELOPMENT AREA AGREEMENT DTD 2/27/2014 [WESTRALIASPAN-JPDA]                              $78,288.89
GX TECHNOLOGY CORPORATION     AVIATION TECHNICAL SUPPORT ATS LIMITED   REVENUE SHARE AGREEMENT DTD 4/14/2016                                                                       $3,083.90
GX TECHNOLOGY CORPORATION     AVIATION TECHNICAL SUPPORT LIMITED       ERAS 1 REVENUE SHARE AGREEMENT DTD 4/14/2016                                                                    $0.00
GX TECHNOLOGY CORPORATION     AVIATION TECHNICAL SUPPORT LIMITED       ERAS 2 REVENUE SHARE AGREEMENT DTD 4/14/2016                                                                    $0.00
GX TECHNOLOGY CORPORATION     AVIATION TECHNICAL SUPPORT LIMITED       ERAS 3 REVENUE SHARE AGREEMENT DTD 4/14/2016                                                                    $0.00
ION GEOPHYSICAL CORPORATION   AXA XL INSURANCE GROUP                   INSURANCE AGREEMENT RE POLICY #MTE903970502                                                                     $0.00
ION GEOPHYSICAL CORPORATION   AXIS INSURANCE COMPANY                   INSURANCE AGREEMENT RE POLICY #P-001-000427214-02                                                               $0.00
ION GEOPHYSICAL CORPORATION   BAGGAR, IBRAHIM                          CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11882                                                               $0.00
GX TECHNOLOGY CORPORATION     BAHARI RESOURCES LTD                     NON-EXCLUSIVE GEOPHYSICAL DATA USE LICENSE CONTRACT #11400 DTD 3/28/2014                                        $0.00
GX TECHNOLOGY CORPORATION     BAHARI RESOURCES LTD                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11400                                                   $0.00
GX TECHNOLOGY CORPORATION     BANGLADESH MINISTRY OF FOREIGN AFFAIRS   GEOPHYSICAL DATA-USE LICENSE #11114                                                                             $0.00
ION GEOPHYSICAL CORPORATION   BATE, STEVEN                             EMPLOYMENT AGREEMENT DTD 3/29/2022                                                                              $0.00
ION GEOPHYSICAL CORPORATION   BATE, STEVEN                             SEPARATION AND GENERAL RELEASE AGREEMENT                                                                        $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 13 of 28


DEBTOR NAME                   COUNTERPARTY                                  CONTRACT DESCRIPTION                                                                            Cure Amount
GX TECHNOLOGY CORPORATION     BAYERNGAS NORGE AS                            MASTER GEOPHYSICAL DATA-USE LICENSE #11042                                                                 $0.00
ION GEOPHYSICAL CORPORATION   BDO USA LLP                                   MASTER SERVICE AGREEMENT DTD 7/12/2021                                                                $13,320.00
ION GEOPHYSICAL CORPORATION   BEASLEY USA SERVICES, INC.                    INSURANCE AGREEMENT RE POLICY #W24CE1210401                                                                $0.00
ION GEOPHYSICAL CORPORATION   BEIJING CENTURY PEAK TECH. LTD.               CONSULTING SERVICES AGREEMENT DTD 7/1/2019                                                                 $0.00
ION GEOPHYSICAL CORPORATION   BEIJING PIONEER TRANSCEND CONSULTING LTD      CONSULTING/PROFESSIONAL SERVICES AGREEMENT DTD 5/1/2020                                                    $0.00
GX TECHNOLOGY CORPORATION     BENGAL ENERGY LTD                             MASTER GEOPHYSICAL DATA-USE LICENSE #11100                                                                 $0.00
GX TECHNOLOGY CORPORATION     BENGAL ENERGY LTD                             SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11100                                              $0.00
GX TECHNOLOGY CORPORATION     BG EXPLORATION & PRODUCTION INDIA LTD         MASTER GEOPHYSICAL DATA-USE LICENSE GXT 10474                                                              $0.00
GX TECHNOLOGY CORPORATION     BG EXPLORATION AND PRODUCTION INDIA LIMITED   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10474                                              $0.00
GX TECHNOLOGY CORPORATION     BG EXPLORATION AND PRODUCTION INDIA LIMITED   SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10474                                              $0.00
GX TECHNOLOGY CORPORATION     BG EXPLORATION AND PRODUCTION INDIA LIMITED   SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10474                                              $0.00
GX TECHNOLOGY CORPORATION     BG EXPLORATION AND PRODUCTION INDIA LIMITED   SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10474                                              $0.00
GX TECHNOLOGY CORPORATION     BG GROUP PLC                                  MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 10988-0; BG-107800CNT) DTD 6/29/2009                          $0.00
GX TECHNOLOGY CORPORATION     BG GROUP PLC                                  SECURE DATA ROOM DATA DISCLOSURE DTD 4/29/2014                                                             $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LIMITED                      SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10988                                              $0.00
GX TECHNOLOGY CORPORATION     BG INTERNATIONAL LTD                          MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 10988-0; BG-107800CNT) DTD 6/29/2009                          $0.00
ION GEOPHYSICAL CORPORATION   BG INTERNATIONAL LTD                          MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 10988-0; BG-107800CNT) DTD 6/29/2009                          $0.00
GX TECHNOLOGY CORPORATION     BGP INC CHINA NAT'L PETROLEUM CORP            MASTER COOPERATION AGREEMENT DTD 8/7/2014                                                          $2,664,050.00
ION GEOPHYSICAL CORPORATION   BGP INC CHINA NAT'L PETROLEUM CORP            JOINT VENTURE AGREEMENT - INVESTOR RIGHTS AGREEMENT DTD 3/25/2010                                          $0.00
ION GEOPHYSICAL CORPORATION   BGP INC CHINA NAT'L PETROLEUM CORP            MASTER COOPERATION AGREEMENT DTD 8/7/2014                                                                  $0.00
ION GEOPHYSICAL CORPORATION   BGP INC CHINA NAT'L PETROLEUM CORP            SEISMIC LICENSE AGREEMENT DTD 8/7/2014                                                                     $0.00
GX TECHNOLOGY CORPORATION     BGP INC CHINA NAT'L PETROLEUM CORP            SEISMIC LICENSE AGREEMENT DTD 8/7/2014                                                                     $0.00
ION GEOPHYSICAL CORPORATION   BGP INC CHINA NAT'L PETROLEUM CORP            SUPPLEMENTAL AGREEMENT NO. 001 TO MASTER COOPERATION AGREEMENT BGP/ION DTD 8/7/2014                        $0.00
ION GEOPHYSICAL CORPORATION   BGP INC CHINA NAT'L PETROLEUM CORP            AMENDMENT NO. 1 TO THE SUPPLEMENTAL AGREEMENT NO. 001 TO MASTER COOPERATION AGREEMENT BGP/ION              $0.00
                                                                            DTD 9/1/2014
ION GEOPHYSICAL CORPORATION   BGP INC CHINA NAT'L PETROLEUM CORP            AMENDMENT NO. 2 TO THE SUPPLEMENTAL AGREEMENT NO. 001 TO MASTER COOPERATION AGREEMENT BGP/ION                 $0.00
                                                                            DTD 11/21/2014
ION GEOPHYSICAL CORPORATION   BGP INC CHINA NAT'L PETROLEUM CORP            SUPPLEMENTAL AGREEMENT NO. 002 TO MASTER COOPERATION AGREEMENT BGP/ION DTD 9/1/2014                           $0.00
ION GEOPHYSICAL CORPORATION   BHP BILLITION PETROLEO OPERACIONES DE         MASTER LICENSE AGREEMTN DTD 2/27/2002                                                                         $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITION PETROLEO OPERACIONES DE         MASTER LICENSE AGREEMTN DTD 2/27/2002                                                                         $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON (AMERICAS) INC                   MASTER GEOPHYSICAL DATA-USE LICENSE DTD 6/25/2004                                                             $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         MASTER GEOPHYSICAL DATA-USE LICENSE DTD 5/30/2003                                                             $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10107                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10107                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10107                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10107                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 25 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 28 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 31 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 35 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 36 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 38 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 39 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 40 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 41 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 42 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 43 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (AMERICAS) INC         SUPPLEMENT NO. 44 TO MASTER DATA-USE LICENSE AGREEMENT #10074                                                 $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (DEEPWATER) INC        MASTER GEOPHYSICAL DATA-USE LICENSE DTD 5/30/2003                                                             $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (DEEPWATER) INC        MASTER SERVICES AGREEMENT DTD 6/29/2021                                                                       $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (DEEPWATER) INC.       BHP MASTER INNOVATION SERVICES AGREEMENT 9100059993                                                           $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (DEEPWATER) INC.       COMMERCIAL AGREEMENT FOR SEISMIC INNOVATION SERVICES 9100060027                                               $0.00
GX TECHNOLOGY CORPORATION     BHP BILLITON PETROLEUM (NEW VENTURES)         MASTER GEOPHYSICAL DATA-USE LICENSE DTD 5/30/2003                                                             $0.00
GX TECHNOLOGY CORPORATION     BHP PETROLEUM (AMERICAS) INC                  GULFSPAN REGIONAL SEISMIC PROGRAM LETTER OF COMMITMENT DTD 5/30/2003                                          $0.00
GX TECHNOLOGY CORPORATION     BHP PETROLEUM (NEW VENTURES) CORP             MASTER GEOPHYSICAL DATA-USE LICENSE DTD 5/30/2003                                                             $0.00
GX TECHNOLOGY CORPORATION     BLACK STONE MINERALS COMPANY LP               SEISMIC LICENSE AGREEMENT                                                                                     $0.00
ION GEOPHYSICAL CORPORATION   BLUE CROSS BLUE SHIELD OF TEXAS               GROUP MEDICAL POLICY 324779 324780 324781                                                                     $0.00
ION GEOPHYSICAL CORPORATION   BLUE CROSS BLUE SHIELD OF TEXAS               MANAGED HEALTH CARE AND PHARMACY BENEFITS                                                                     $0.00
ION GEOPHYSICAL CORPORATION   BLUE CROSS BLUE SHIELD OF TEXAS               GROUP VISION POLICY                                                                                           $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA INC                                MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                     $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA INC                                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #03109                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA INC                                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #03109                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA INC.                               BPAM-99273                                                                                                    $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                     $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY                 SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                 $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 14 of 28


DEBTOR NAME                   COUNTERPARTY                               CONTRACT DESCRIPTION                                                                                       Cure Amount
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 25 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 28 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 31 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 35 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 36 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 38 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 39 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 40 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 41 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 43 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 44 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 45 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 46 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 47 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 48 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 49 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 50 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 51 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 52 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 53 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 54 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 55 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 56 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 57 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 58 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 59 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 60 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 61 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 62 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 63 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 64 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 65 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 66 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 67 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 68 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 69 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 70 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP AMERICA PRODUCTION COMPANY              SUPPLEMENT NO. 71 TO MASTER DATA-USE LICENSE AGREEMENT #10157                                                            $0.00
GX TECHNOLOGY CORPORATION     BP BRASIL LTDA                             MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP CANADA ENERGY COMPANY                   MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP CARIBBEAN COMPANY                       MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP DEVELOPMENTS AUSTRALIA PTY LTD          MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP EGYPT COMPANY                           MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION (ANGOLA) LTD                MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 10226 DTD JULY 23, 2004                                                      $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION (ANGOLA) LTD                MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION (ANGOLA) LTD                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10226                                                            $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION (ANGOLA) LTD                SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10226                                                            $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION (ANGOLA) LTD                SUPPLEMENT NO. 31 TO MASTER DATA-USE LICENSE AGREEMENT #10226                                                            $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION (SOUTH ATLANTIC) INC        MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION COMPANY (COLOMBIA) LTD      MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION COMPANY LTD                 MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION INDONESIA LTD               MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION LIBYA LTD                   MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION OPERATING COMPANY LIMITED   GLOBAL SPAN PROGRAM MANAGEMENT SERVICES GLOBAL FRAMEWORK AGREEMENT DTD 4/03/2009                                         $0.00
GX TECHNOLOGY CORPORATION     BP EXPLORATION OPERATING COMPANY LTD       MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BP TRINIDAD AND TOBAGO LLC                 MASTER GEOPHYSICAL DATA-USE LICENSE #10157 DTD 10/30/2003                                                                $0.00
GX TECHNOLOGY CORPORATION     BRECKENRIDGE EXPLORATION CO. INC.          BRECK-0610/04                                                                                                            $0.00
GX TECHNOLOGY CORPORATION     BRGM - FRANCE                              GEOPHYSICAL DATE-USE AGREEMENT DTD 9/21/2020                                                                             $0.00
GX TECHNOLOGY CORPORATION     BRITISH GAS TRINIDAD AND TOBAGO LIMITED    MASTER GEOPHYSICAL DATA-USE LICENSE GXT 10152 DTD 2/10/2004                                                              $0.00
GX TECHNOLOGY CORPORATION     BRITISH GAS TRINIDAD AND TOBAGO LIMITED    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10152                                                            $0.00
GX TECHNOLOGY CORPORATION     BULWARK SERVICES LTD                       JOINT VENTURE AGREEMENT DTD 5/13/2005 & DELTASPAN COLLABROATION AGREEMENT DTD 4/9/2014                                   $0.00
ION GEOPHYSICAL CORPORATION   BULWARK SERVICES LTD                       AGREEMENT FOR THE DELTASPAN PROJECT                                                                                      $0.00
ION GEOPHYSICAL CORPORATION   BULWARK SERVICES LTD                       JOINT VENTURE AGREEMENT DTD 5/13/2005 & DELTASPAN COLLABROATION AGREEMENT DTD 4/9/2014                                   $0.00
GX TECHNOLOGY CORPORATION     BULWARK SERVICES LTD                       MASTER SERVICES AGREEMENT DTD 11/25/2021                                                                                 $0.00
ION GEOPHYSICAL CORPORATION   BUREAU OF OCEAN ENERGY MANAGEMENT          REQUEST FOR DIGITAL SEISMIC DATA AND AN INVOICE FOR REQUISITION NO. NPR17-38 DTD 6/12/2017 (GULFSPAN 2D)                 $0.00

GX TECHNOLOGY CORPORATION     BUREAU OF OCEAN ENERGY MANAGEMENT          MASTER GEOPHYSICAL DATA-USE LICENSE #11309 DTD 7/3/2012                                                                  $0.00
GX TECHNOLOGY CORPORATION     BUREAU OF OCEAN ENERGY MANAGEMENT          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11309                                                            $0.00
GX TECHNOLOGY CORPORATION     BUREAU OF OCEAN ENERGY MANAGEMENT          SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11309                                                            $0.00
GX TECHNOLOGY CORPORATION     BUREAU OF OCEAN ENERGY MANAGEMENT          SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11309                                                            $0.00
ION GEOPHYSICAL CORPORATION   BUREAU OF OCEAN ENERGY MANAGEMENT,         ORDER DIGITABLE DATA COLLECTED UNDER FEDERAL PERMIT NOS. L02-15, T03-08, AND L05-27, PURCHASE REQUEST                    $0.00
                              REGULATION, AND ENFORCEMENT                NO. PR 40014456 DTD 6/30/2011
GX TECHNOLOGY CORPORATION     BURNETT OIL CO INC                         MASTER GEOPHYSICAL DATA-USE LICENSE #11533 DTD 7/15/2014                                                                 $0.00
GX TECHNOLOGY CORPORATION     BURNETT OIL CO., INC.                      MASTER GEOPHYSICAL DATA-USE LICENSE #11529 DTD 3/24/2015                                                                 $0.00
GX TECHNOLOGY CORPORATION     BURNETT OIL CO., INC.                      AMENDMENT 1 OF CONFIDENTIALITY AND NON-DISCLOSURE AGREEMENT DTD 7/15/2014                                                $0.00
GX TECHNOLOGY CORPORATION     BURNETT OIL CO., INC.                      AMENDMENT 1 OF ATTACHMENT “C” FORM OF CONFIDENTIALITY AGREEMENT TO GEOPHYSICAL DATA-USE LICENSE                          $0.00
                                                                         #11533 DTD 10/28/2014
GX TECHNOLOGY CORPORATION     CAIRN INDIA LTD                            MASTER GEOPHYSICAL DATA-USE LICENSE #11128 DTD 2/1/2011                                                                  $0.00
GX TECHNOLOGY CORPORATION     CAIRN INDIA LTD                            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11128                                                            $0.00
GX TECHNOLOGY CORPORATION     CAIRN INDIA LTD                            SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11128                                                            $0.00
GX TECHNOLOGY CORPORATION     CAIRN INDIA LTD                            SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #25003                                                            $0.00
GX TECHNOLOGY CORPORATION     CALLON PETROLEUM COMPANY                   MASTER GEOPHYSICAL DATA-USE LICENSE #11054 DTD 10/6/2010                                                                 $0.00
GX TECHNOLOGY CORPORATION     CAMAC ENERGY INC                           MASTER GEOPHYSICAL DATA-USE LICENSE #11528 5/9/2014                                                                      $0.00
GX TECHNOLOGY CORPORATION     CAMAC ENERGY INC                           SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11528                                                            $0.00
ION GEOPHYSICAL CORPORATION   CAPITAL ASSOCIATED INDUSTRIES              AFFIRMATIVE ACTION PLAN SERVICES CONFIRMATION LETTER DTD 1/12/2021                                                       $0.00
GX TECHNOLOGY CORPORATION     CAPRICORN ENERGY LTD                       MASTER GEOPHYSICAL DATA-USE LICENSE #25003 DTD 5/12/2016                                                                 $0.00
GX TECHNOLOGY CORPORATION     CAPRICORN ENERGY LTD                       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #25003                                                            $0.00
GX TECHNOLOGY CORPORATION     CAPRICORN ENERGY LTD                       SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #25003                                                            $0.00
GX TECHNOLOGY CORPORATION     CARIZZO OIL & GAS INC                      MASTER GEOPHYSICAL DATA-USE LICENSE #11054 DTD 10/6/2010                                                                 $0.00
GX TECHNOLOGY CORPORATION     CARNARVON PETROLEUM LTD                    MASTER GEOPHYSICAL DATA-USE LICENSE #11467 DTD 3/10/2014                                                                 $0.00
GX TECHNOLOGY CORPORATION     CARNARVON PETROLEUM LTD                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11467                                                            $0.00
GX TECHNOLOGY CORPORATION     CARRIZO (MARCELLUS) LLC                    LETTER OF COMMITMENT DTD 8/24/2010                                                                                       $0.00
GX TECHNOLOGY CORPORATION     CARRIZO (MARCELLUS) LLC                    MASTER GEOPHYSICAL DATA-USE LICENSE #11054 DTD 10/6/2010                                                                 $0.00
GX TECHNOLOGY CORPORATION     CARRIZO (MARCELLUS) LLC                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11054                                                            $0.00
GX TECHNOLOGY CORPORATION     CEPSA EP S.A.                              CEPSA-0422                                                                                                               $0.00
GX TECHNOLOGY CORPORATION     CGG SERVICES (U.S.) INC.                   CGGUS-1808/01                                                                                                            $0.00
GX TECHNOLOGY CORPORATION     CHARIOT OIL & GAS LIMITED                  MASTER GEOPHYSICAL DATA-USE LICENSE GXT #11566 DTD 11/13/2014                                                            $0.00
GX TECHNOLOGY CORPORATION     CHARIOT OIL & GAS LIMITED                  SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11566                                                            $0.00
ION GEOPHYSICAL CORPORATION   CHARTERAMA BV                              INSURANCE AGREEMENT RE POLICY #A02861-2021                                                                               $0.00
ION GEOPHYSICAL CORPORATION   CHAVES, MILTON E                           CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11813                                                                        $0.00
GX TECHNOLOGY CORPORATION     CHESAPEAKE OPERATING LLC                   MASTER GEOPHYSICAL DATA-USE LICENSE GXT #11853 DTD 10/11/2018                                                            $0.00
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND     LICENSE ORDER NO. CW1165665-GOM-001 (GXT #11107-24) (GULFSPAN LAND I)                                                    $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND     LICENSE ORDER NO. CW1165665-GOM-001 (GXT #11107-24) (GULFSPAN LAND II)                                                   $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON AFRICA-LATIN AM EXPL & PROD CO     MASTER GEOPHYSICAL DATA-USE LICENSE DTD 10/29/2010                                                                       $0.00
GX TECHNOLOGY CORPORATION     CHEVRON ANGOLA (2006) LTD                  INTL MASTER AGREEMENT NO. 179 DTD 10/29/2010                                                                             $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 15 of 28


DEBTOR NAME                   COUNTERPARTY                               CONTRACT DESCRIPTION                                                                                   Cure Amount
GX TECHNOLOGY CORPORATION     CHEVRON AUSTRALIA PTY LTD                  INTL MASTER AGREEMENT NO. 179 DTD 10/29/2010                                                                         $0.00
GX TECHNOLOGY CORPORATION     CHEVRON CANADA LIMITED                     SUPPLEMENT NO. 1 TO MASTER DATA-USE LICENSE AGREEMENT #10534 DTD DECEMBER 13, 2007                                   $0.00
GX TECHNOLOGY CORPORATION     CHEVRON CANADA LTD                         INTL MASTER AGREEMENT NO. 179 DTD 10/29/2010                                                                         $0.00
GX TECHNOLOGY CORPORATION     CHEVRON CANADA RESOURCES                   GEOPHYSICAL DATA-USE LICENSE DTD 3/31/2006                                                                           $0.00
GX TECHNOLOGY CORPORATION     CHEVRON CNAEP (MIDCON)                     CHEV-9209                                                                                                            $0.00
GX TECHNOLOGY CORPORATION     CHEVRON EAST GREENLAND EXPLORATION A/S     MASTER GEOPHYSICAL DATA-USE LICENSE DTD 7/14/2006                                                                    $0.00
GX TECHNOLOGY CORPORATION     CHEVRON ENEREGY TECHNOLOGY CO              SEISMIC LICENSE AGREEMENT                                                                                            $0.00
GX TECHNOLOGY CORPORATION     CHEVRON ENERGIA DE MEXICO S DE RL DE CV    MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT NO. 120 DTD 11/13/2006                                                 $0.00
ION GEOPHYSICAL CORPORATION   CHEVRON ENERGIA DE MEXICO S DE RL DE CV    MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT NO. 120 DTD 11/13/2006                                                 $0.00
GX TECHNOLOGY CORPORATION     CHEVRON FEA INTERNATIONAL VENTURES LTD.    LICENSE ORDER NO. GXT SUPPLEMENT NO. 11107-32 CW1771319 DTD 11/26/2019                                               $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            LICENSE ORDER NO. CW993371 (GXT NO. 11107-20)                                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            INTERNATIONAL MASTER AGREEMENT NO 179 (GXT NO. 11107-00) DTD 10/29/2010                                              $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10522                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10534                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10585                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10598                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10701                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10598                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10598                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10598                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10598                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10598                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 25 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 28 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 35 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON GLOBAL UPSTREAM AND GAS            SUPPLEMENT NO. 36 TO MASTER DATA-USE LICENSE AGREEMENT #11107                                                        $0.00
GX TECHNOLOGY CORPORATION     CHEVRON INTL EXPLORATION & PRODUCTION CO   INTERNATIONAL MASTER AGREEMENT NO 179 (GXT NO. 11107-00) DTD 10/29/2010                                              $0.00
ION GEOPHYSICAL CORPORATION   CHEVRON NIGERIA LIMITED                    SEISMIC DATA PROCESSING SERVICES CONTRACT NO. ARTS-2021-CW1857240 DTD 6/1/2021                                       $0.00
ION GEOPHYSICAL CORPORATION   CHEVRON NIGERIA LIMITED                    WORK ORDER NO. 001 RELATING TO 3-D SEISMIC DATA PROCESSING SERVICES CONTRACT NO. ARTS-2021-CW1857240                 $0.00
                                                                         DTD 6/1/2021
GX TECHNOLOGY CORPORATION     CHEVRON NORGE AS                           MASTER GEOPHYSICAL DATA-USE LICENSE GXT #10701 DTD 5/29/2007                                                         $0.00
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND     LICENSE ORDER NO. CW837880 (GXT #11107-03) (GULFSPAN STREAMER DATA)                                                  $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND     LICENSE ORDER NO. CW837880 (GXT #11107-03) (GULFSPAN OBC DATA)                                                       $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON NORTH AMERICAN EXPLORATION AND     LICENSE ORDER NO. CW837880 (GXT #11107-03) (GULFSPAN RTM UPGRADE ONLY)                                               $0.00
                              PRODUCTION COMPANY
GX TECHNOLOGY CORPORATION     CHEVRON NORTH ASEAN VENTURES IV LTD        GEOPHYSICAL DATA-USE LICENSE #10585 DTD 12/6/2007                                                                    $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                        LICENSE ORDER NO. AMBU-01 (GXT #11107-13)                                                                            $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                        LICENSE ORDER NO. CW993371 (GXT #11107-21)                                                                           $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                        AMENDEMNT NO. 1 TO INTERNATIONAL MASTER AGREEMENT NO. 179 (GXT NO. 11107-00) DTD 1/24/2011                           $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                        AMENDEMNT NO. 2 TO INTERNATIONAL MASTER AGREEMENT NO. 179 (GXT NO. 11107-00) DTD 12/06/2012                          $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                        AGREEMENT FO DELIVERY OF GATHERS FOR REPROCESSING DTD 5/20/2017                                                      $0.00
GX TECHNOLOGY CORPORATION     CHEVRON U.S.A. INC.                        LETTER, RE: CHEVRON SUPPLEMENTAL LEASES WITHIN ION GREENSBURG MULTI-CLIENT 3D SEISMIC SURVEY DTD                     $0.00
                                                                         11/20/2019
GX TECHNOLOGY CORPORATION     CHEVRON USA INC                            INTERNATIONAL MASTER AGREEMENT NO 179 (GXT NO. 11107-00) DTD 10/29/2010                                           $0.00
GX TECHNOLOGY CORPORATION     CHEVRON USA INC                            MASTER GEOPHYSICAL DATA-USE LICENSE DTD 7/14/2006                                                                 $0.00
GX TECHNOLOGY CORPORATION     CHEVRON USA INC                            MASTER GEOPHYSICL DATA-USE LICENSE (GX NO. 10598) DTD 7/14/2006                                                   $0.00
GX TECHNOLOGY CORPORATION     CHEVRON USA INC                            MASTER SERVICES AGREEMENT DTD 3/1/2009                                                                            $0.00
ION GEOPHYSICAL CORPORATION   CHEVRONTEXACO TRINIDAD & TOBAGO            GEOPHYSICAL DATA-USE LICENSE #1052 DTD 3/31/2006                                                                  $0.00
GX TECHNOLOGY CORPORATION     CHEVRONTEXACO TRINIDAD & TOBAGO            GEOPHYSICAL DATA-USE LICENSE #1052 DTD 3/31/2006                                                                  $0.00
GX TECHNOLOGY CORPORATION     CHRYSAOR LIMITED                           MASTER GEOPHYSICAL DATA-USE LICENSE GXT #10913 DTD 10/23/2008                                                     $0.00
ION GEOPHYSICAL CORPORATION   CHUBB                                      INSURANCE AGREEMENT RE POLICY #D94888323                                                                          $0.00
ION GEOPHYSICAL CORPORATION   CHUBB EUROPEAN GROUP SE                    INSURANCE AGREEMENT RE POLICY #UKBBBD29609                                                                        $0.00
ION GEOPHYSICAL CORPORATION   CHUBB EUROPEAN GROUP SE                    INSURANCE AGREEMENT RE POLICY #UKCAND19219                                                                        $0.00
ION GEOPHYSICAL CORPORATION   CHUBB GLOBAL CASUALTY                      INSURANCE AGREEMENT RE POLICY #PHFD38690115 003                                                                   $0.00
ION GEOPHYSICAL CORPORATION   CHUBB GROUP OF INSURANCE COMPANIES         INSURANCE AGREEMENT RE POLICY #6803-6055                                                                          $0.00
ION GEOPHYSICAL CORPORATION   CHUBB GROUP OF INSURANCE COMPANIES         INSURANCE AGREEMENT RE POLICY #8248-3322                                                                          $0.00
ION GEOPHYSICAL CORPORATION   CHUBB INSURANCE COMPANY OF CANADA          INSURANCE AGREEMENT RE POLICY #36062128                                                                           $0.00
ION GEOPHYSICAL CORPORATION   CJSC RN-SHELF-FAR EAST                     DATA SERVICES AGREEMENT #0441413/0354D DTD 12/23/2013                                                             $0.00
ION GEOPHYSICAL CORPORATION   CLEARGISTIX LLC                            MUTUAL REFERRAL AGREEMENT DTD 2/1/2021                                                                            $0.00
GX TECHNOLOGY CORPORATION     CNOOC INTERNATIONAL LTD                    MASTER GEOPHYSICAL DATA-USE LICENSE GXT #11480 DTD 11/28/2013                                                     $0.00
ION GEOPHYSICAL CORPORATION   CNOOC INTERNATIONAL LTD                    MASTER GEOPHYSICAL DATA-USE LICENSE GXT #11480 DTD 11/28/2013                                                     $0.00
GX TECHNOLOGY CORPORATION     CNOOC INTERNATIONAL LTD                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11480                                                     $0.00
GX TECHNOLOGY CORPORATION     CNOOC INTERNATIONAL LTD                    SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11480                                                     $0.00
GX TECHNOLOGY CORPORATION     CNOOC INTERNATIONAL LTD                    SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11480                                                     $0.00
GX TECHNOLOGY CORPORATION     CNOOC INTERNATIONAL LTD                    SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11480                                                     $0.00
GX TECHNOLOGY CORPORATION     CNOOC INTERNATIONAL LTD                    SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #11480                                                     $0.00
GX TECHNOLOGY CORPORATION     CNOOC NEXEN PETROLEUM GUYANA LTD           MASTER GEOPHYSICAL DATA-USE LICENSE GXT #11480 DTD 11/28/2013                                                     $0.00
GX TECHNOLOGY CORPORATION     CNX RESOURCES CORPORATION                  MASTER GEOPHYSICAL DATA-USA LICENSE #11918 DTD 5/28/2019                                                          $0.00
GX TECHNOLOGY CORPORATION     CNX RESOURCES CORPORATION                  SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11918                                                     $0.00
GX TECHNOLOGY CORPORATION     CNX RESOURCES CORPORATION                  SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11918                                                     $0.00
GX TECHNOLOGY CORPORATION     COBALT INTERNATIONAL ENERGY LP             MASTER GEOPHYSICAL DATA-USE LICENSE #10501 DTD 5/7/2006                                                           $0.00
GX TECHNOLOGY CORPORATION     COBALT INTERNATIONAL ENERGY LP             SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10501                                                     $0.00
GX TECHNOLOGY CORPORATION     COBALT INTERNATIONAL ENERGY LP             SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10501                                                     $0.00
GX TECHNOLOGY CORPORATION     COBALT INTERNATIONAL ENERGY LP             SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10501                                                     $0.00
GX TECHNOLOGY CORPORATION     COBALT INTERNATIONAL ENERGY LP             SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10501                                                     $0.00
GX TECHNOLOGY CORPORATION     COBALT INTERNATIONAL ENERGY LP             SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10501                                                     $0.00
GX TECHNOLOGY CORPORATION     COBALT INTERNATIONAL ENERGY LP             SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10501                                                     $0.00
GX TECHNOLOGY CORPORATION     COBRA ENERGY SERVICES, LLC                 MASTER DATA-USE LICENSE AGREEMENT #10409 DTD 6/30/2005                                                            $0.00
GX TECHNOLOGY CORPORATION     COBRA ENERGY SERVICES, LLC                 SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10409                                                     $0.00
GX TECHNOLOGY CORPORATION     COLOMBIA NATIONAL HYDROCARBONS AGENCY      SPAN AGREEMENT DTD 11/8/2004                                                                                      $0.00
ION GEOPHYSICAL CORPORATION   COMPUTERSHARE INC.                         FEE AND SERVICE SCHEDULE FOR STOCK TRANSFER SERVICES DTD 11/1/2019                                           $12,009.67
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS (EAST INDONESIA) LTD        MASTER GEOPHYSICAL DATA-USE LICENSE #10857 DTD 4/18/2008                                                          $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS (UK) LTD                    SEISMIC LICENSE AGREEMENT                                                                                         $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS AFRICA NEW VENTURES LTD     MASTER GEOPHYSICAL DATA-USE LICENSE #11462 DTD 3/13/2014                                                          $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS ASIA PACIFIC NEW VENTURES   MASTER GEOPHYSICAL DATA-USE LICENSE #11461 DTD 12/17/2013                                                         $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS ATLANTIC MARGINS LTD        MASTER GEOPHYSICAL DATA-USE LICENSE #10867 DTD 5/30/2008                                                          $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS CANADA RESOURCES CORP       MASTER GEOPHYSICAL DATA-USE LICENSE #11104 DTD 9/30/2010                                                          $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                     LETTER, RE: GULFSPAN PROPOSAL DTD 5/01/2006                                                                       $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                     MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO 10499 DTD 5/5/2006                                                     $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                                     $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10867                                                     $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11045                                                     $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11102                                                     $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11112                                                     $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 16 of 28


DEBTOR NAME                   COUNTERPARTY                                CONTRACT DESCRIPTION                                                                            Cure Amount
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11149                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11207                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11222                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11461                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11462                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10867                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11045                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11102                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11112                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11222                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11461                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11112                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11461                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11112                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11461                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11112                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11461                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11112                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11461                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #11112                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #11461                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #11461                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #11461                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS COMPANY                      SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10499                                              $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS E&P POLAND SP Z.O.O          MASTER GEOPHYSICAL DATA-USE LICENSE #11207 DTD 9/29/2011                                                   $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS EAST AFRICA VENTURES LTD     MASTER GEOPHYSICAL DATA-USE LICENSE #11112 DTD 11/17/2010                                                  $0.00
ION GEOPHYSICAL CORPORATION   CONOCOPHILLIPS EAST AFRICA VENTURES LTD     MASTER GEOPHYSICAL DATA-USE LICENSE #11112 DTD 11/17/2010                                                  $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS EAST GREENLAND EXPL LTD      MASTER GEOPHYSICAL DATA-USE LICENSE #11222 DTD 11/18/2011                                                  $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS GLOBAL NVE GREENLAND LTD     MASTER GEOPHYSICAL DATA-USE LICENSE #11102 DTD 9/29/2010                                                   $0.00
ION GEOPHYSICAL CORPORATION   CONOCOPHILLIPS MEXICO B V                   DATA USE LICENSE AGREEMENT DTD 11/21/1989                                                                  $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS MEXICO B V                   DATA USE LICENSE AGREEMENT DTD 11/21/1989                                                                  $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS NEW VENTURES LTD             MASTER GEOPHYSICAL DATA-USE LICENSE #11461 DTD 12/17/2013                                                  $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS POLAND BV                    MASTER GEOPHYSICAL DATA-USE LICENSE #11149                                                                 $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS POLAND BV                    MASTER GEOPHYSICAL DATA-USE LICENSE #11149 DTD 6/20/2011                                                   $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS SKANDINAVIA AS               MASTER GEOPHYSICAL DATA-USE LICENSE #52379                                                                 $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS SKANDINAVIA AS               MASTER GEOPHYSICAL DATA-USE LICENSE #52379 DTD 5/29/2007                                                   $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS SOUTH AMERICA VENTURES       MASTER GEOPHYSICAL DATA-USE LICENSE #11045                                                                 $0.00
GX TECHNOLOGY CORPORATION     CONOCOPHILLIPS SOUTH AMERICA VENTURES       MASTER GEOPHYSICAL DATA-USE LICENSE #11045 DTD 3/26/2010                                                   $0.00
GX TECHNOLOGY CORPORATION     CONTINENTAL RESOURCES, INC.                 CONT-0610/02                                                                                               $0.00
ION GEOPHYSICAL CORPORATION   CORNERSTONE ONDEMAND INC.                   ON DEMAND ORDER Q-00108375 DTD 9/29/2020                                                              $64,653.05
GX TECHNOLOGY CORPORATION     CORPORACION VENEZOLANA DE PETROLEO SA       GEOPHYSICAL DATA-USE LICENSE #10745 DTD 11/20/2007                                                         $0.00
GX TECHNOLOGY CORPORATION     COUGAR LAND SERVICES LLC                    PERMIT NO. BCM1043 DTD 2/25/2013                                                                           $0.00
ION GEOPHYSICAL CORPORATION   COUPA SOFTWARE INC.                         ORDER FORM #86738 DTD 10/26/2021                                                                           $0.00
ION GEOPHYSICAL CORPORATION   CPA GLOBAL                                  HOSTED SERVICES ORDER - FOUNDATIONIP DTD 12/18/2014                                                    $2,248.00
GX TECHNOLOGY CORPORATION     CPC CORPORATION, TAIWAN                     MASTER GEOPHYSICAL DATA-USE LICENSE #11105 DTD 4/14/2011                                                   $0.00
GX TECHNOLOGY CORPORATION     CPC CORPORATION, TAIWAN                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11105                                              $0.00
ION GEOPHYSICAL CORPORATION   CSS LIMITED                                 MASTER GEOPHYSICAL SERVICES AGREEMENT #11779 DTD 9/27/2017                                                 $0.00
GX TECHNOLOGY CORPORATION     DALHOUSIE UNIVERSITY                        GEOPHYSICAL DATA-USE LICENSE #11544 DTD 8/4/2015                                                           $0.00
GX TECHNOLOGY CORPORATION     DALHOUSIE UNIVERSITY                        SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10687                                              $0.00
I/O MARINE SYSTEMS, INC.      DAVID ORECK LLC                             REAL ESTATE LEASE AGREEMENT RE: 200 PLANTATION RD JEFFERSON PARISH                                         $0.00
GX TECHNOLOGY CORPORATION     DAVID ORECK LLC                             REAL ESTATE LEASE AGREEMENT RE: 200 PLANTATION RD JEFFERSON PARISH                                         $0.00
ION GEOPHYSICAL CORPORATION   DAVID ORECK LLC                             REAL ESTATE LEASE AGREEMENT RE: 200 PLANTATION RD JEFFERSON PARISH                                         $0.00
I/O MARINE SYSTEMS, INC.      DAVID ORECK LLC                             REAL ESTATE LEASE AGREEMENT RE: 5000 RIVER RD HARAHAN                                                      $0.00
ION GEOPHYSICAL CORPORATION   DAVIES, MARK                                CONSULTING/PROFESSIONAL SERVICES AGREEMENT DTD 11/1/2011                                                   $0.00
ION GEOPHYSICAL CORPORATION   DCH SOFTWARE                                CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11886                                                          $0.00
ION GEOPHYSICAL CORPORATION   DELL MARKETING L.P.                         PROGRAM SIGNATURE FORM #E7714156 DTD 8/6/2020                                                              $0.00
GX TECHNOLOGY CORPORATION     DELTIC ENERGY PLC                           MASTER GEOPHYSICAL DATA-USE LICENSE                                                                        $0.00
GX TECHNOLOGY CORPORATION     DET NORSKE OIJESELSKAP ASA                  MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 10707 DTD 5/29/2007                                            $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY (DELAWARE) LIMITED             MASTER GEOPHYSICAL DATA-USE LICENSE #10159 DTD 11/13/2003                                                  $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY CORPORATION                    MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT DTD 11/5/2003                                                $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY CORPORATION                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10159                                              $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY CORPORATION                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11436                                              $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY CORPORATION                    SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10196                                              $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY CORPORATION                    SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10196                                              $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY CORPORATION                    SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10196                                              $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY CORPORATION                    SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10196                                              $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY CORPORATION                    SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10196                                              $0.00
GX TECHNOLOGY CORPORATION     DEVON ENERGY PRODUCTION COMPANY LP          MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT GXT NO. 11436 DTD 10/16/2013                                 $0.00
ION GEOPHYSICAL CORPORATION   DIGICOURSE INC                              REAL ESTATE LEASE AGREEMENT                                                                                $0.00
GX TECHNOLOGY CORPORATION     DIGICOURSE INC                              REAL ESTATE LEASE AGREEMENT                                                                                $0.00
ION GEOPHYSICAL CORPORATION   DIGITAL GREENSPOINT LP                      TURN-KEY FLEX DATACENTER LEASE AGREEMENT RE: 12231 NORTH FREEWAY HOUSTON                            $416,727.23
ION GEOPHYSICAL CORPORATION   DIGITAL GREENSPOINT LP                      VIDEO RECORDING AGREEMENT DTD 5/29/2020 RELATED TO 12231 NORTH FREEWAY HOUSTON                             $0.00
GX TECHNOLOGY CORPORATION     DIRECTORATE GENERAL OF HYDROCARBONS         AGREEMENT TO CARRY OUT A SPECULATIVE GEOPHYSICAL SURVEY IN WEST COAST AND EAST COAST OF INDIA      $2,214,752.57
GX TECHNOLOGY CORPORATION     DISCOVER EXPLORATION COMOROS B V            MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT (GX NO. 11468) DTD 3/31/2014                                 $0.00
GX TECHNOLOGY CORPORATION     DISCOVER EXPLORATION COMOROS B V            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11468                                              $0.00
GX TECHNOLOGY CORPORATION     DISCOVER EXPLORATION COMOROS B V            SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11468                                              $0.00
GX TECHNOLOGY CORPORATION     DISCOVER EXPLORATION COMOROS B V            SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11468                                              $0.00
GX TECHNOLOGY CORPORATION     DISCOVER EXPLORATION COMOROS B V            SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11468                                              $0.00
GX TECHNOLOGY CORPORATION     DIV OF ENERGY & TELECOMMUNICATIONS, THE     GEOLOGICAL STUDY AGREEMENT                                                                                 $0.00
GX TECHNOLOGY CORPORATION     DOLPHIN GEOPHYSICAL AS                      MASTER GEOPHYSICAL SERVICES AGREEMENT DTD 3/29/2011                                                 $569,112.21
GX TECHNOLOGY CORPORATION     DOMINION EXPLORATION & PRODUCTION INC       MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT DTD 12/22/2004                                               $0.00
GX TECHNOLOGY CORPORATION     DOMINION EXPLORATION & PRODUCTION INC       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10316                                              $0.00
GX TECHNOLOGY CORPORATION     DOMINION EXPLORATION AND PRODUCTION, INC.   LETTER, RE: NEW VENTURES PROPOSAL DTD 12/21/2004                                                           $0.00
GX TECHNOLOGY CORPORATION     DOMINION TRANSMISSION INC                   MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT #11533 DTD 7/15/2014                                         $0.00
GX TECHNOLOGY CORPORATION     DOMINION TRANSMISSION, INC.                 FIRST AMENDMENT TO MASTER GEOPHYSICAL DATA-USE LICENSE #11533 DTD 7/23/2014                                $0.00
GX TECHNOLOGY CORPORATION     DONG E&P NORGE AS                           MASTER GEOPHYSICAL DATA-USE LICENSE #10710 DTD 5/29/2007                                                   $0.00
GX TECHNOLOGY CORPORATION     DONG E&P NORGE AS                           SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11169                                              $0.00
GX TECHNOLOGY CORPORATION     DONG EXPLORATION & PRODUCTION A/S           MASTER GEOPHYSICAL DATA-USE LICENSE #11169 DTD 6/29/2011                                                   $0.00
GX TECHNOLOGY CORPORATION     DRAUPNER ENERGY LTD                         GEOPHYSICAL DATA LOAN AGREEMENT DTD 5/28/2021                                                              $0.00
GX TECHNOLOGY CORPORATION     E.ON RUHRGAS NORGE AS                       MASTER GEOPHYSICAL DATA-USE LICENSE #10949                                                                 $0.00
GX TECHNOLOGY CORPORATION     EAST RESOURCES INC                          KRAUSE 3D PROJECT DATA OWNERSHIP & USE AGREEMENT                                                           $0.00
GX TECHNOLOGY CORPORATION     EAST RESOURCES INC                          MASTER GEOPHYSICAL DATA-USE LICENSE #10865 DTD 6/24/2010                                                   $0.00
GX TECHNOLOGY CORPORATION     EAST RESOURCES, INC.                        LETTER OF COMMITMENT DTD 5/30/2008                                                                         $0.00
GX TECHNOLOGY CORPORATION     EAST RESOURCES, INC.                        AMENDMENT NO. 1 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10865 DTD 6/24/2010                                $0.00
GX TECHNOLOGY CORPORATION     EAST RESOURCES, INC.                        KRAUSE 3D PROJECT DATA OWNERSHIP AND USE AGREEMENT DTD 4/19/2010                                           $0.00
ION GEOPHYSICAL CORPORATION   EASTERN ECHO DMCC                           MASTER COLLABORATION AGREEMENT DTD 7/27/2016                                                               $0.00
GX TECHNOLOGY CORPORATION     EASTERN ECHO DMCC                           MASTER COLLABORATION AGREEMENT DTD 7/27/2016                                                               $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL AMERICA INC                       MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11475 DTD 11/1/2013                                            $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                MASTER GEOPHYSICAL DATA-USE LICENSE #10495 DTD 1/15/2007                                                   $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11475                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     ECOPETROL SA                                SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10495                                              $0.00
GX TECHNOLOGY CORPORATION     EDS                                         REAL ESTATE LEASE AGREEMENT                                                                                $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 17 of 28


DEBTOR NAME                   COUNTERPARTY                               CONTRACT DESCRIPTION                                                                                  Cure Amount
ION GEOPHYSICAL CORPORATION   ENDURANCE AMERICAN INSURANCE COMPANY       INSURANCE AGREEMENT RE POLICY #DOX30000794303                                                                       $0.00
GX TECHNOLOGY CORPORATION     ENERGIA ARGENTINA SOCIEDAD ANONIMA         GOVERNMENTAL ROYALTY AGREEMENT                                                                                      $0.00
ION GEOPHYSICAL CORPORATION   ENERGIA DE SEPTIEMBRE LLC                  TAPE COPYING, REPROCESSING AND COOPERATION AGREEMENT DTD 5/3/2018                                                   $0.00
GX TECHNOLOGY CORPORATION     ENERGY PARTNERS LTD                        MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11206 DTD 2/3/2012                                                      $0.00
GX TECHNOLOGY CORPORATION     ENERGY PARTNERS LTD                        SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11206                                                       $0.00
GX TECHNOLOGY CORPORATION     ENERGY WORLD DEVELOPMENT LTD               MASTER GEOPHYSICAL DATA-USE LICENSE DTD 6/1/2006                                                                    $0.00
GX TECHNOLOGY CORPORATION     ENERGY WORLD DEVELOPMENT LTD               SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10534                                                       $0.00
GX TECHNOLOGY CORPORATION     ENERGY XXI USA INC                         LETTER OF INTENT TO TRANSFER DATA DTD 6/5/2014                                                                      $0.00
GX TECHNOLOGY CORPORATION     ENERMAD CORP                               MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 10762 DTD 8/31/2007                                                     $0.00
GX TECHNOLOGY CORPORATION     ENERMAD CORP                               SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10762                                                       $0.00
GX TECHNOLOGY CORPORATION     ENERPLUS RESOURCES (USA) CORPORATION       MASTER GEOPHYSICAL DATA-USE LICENSE GXT #11181 DTD 7/12/2011                                                        $0.00
GX TECHNOLOGY CORPORATION     ENERPLUS RESOURCES (USA) CORPORATION       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11181                                                       $0.00
GX TECHNOLOGY CORPORATION     ENI AGIP S.P.A.                            ENI-9823                                                                                                            $0.00
GX TECHNOLOGY CORPORATION     ENI DEEPWATER LLC                          SEISMIC LICENSE AGREEMENT                                                                                           $0.00
GX TECHNOLOGY CORPORATION     ENI INDIA LTD                              MASTER GEOPHYSICAL DATA-USE LICENSE GXT #10599 DTD 7/17/2006                                                        $0.00
GX TECHNOLOGY CORPORATION     ENI IRELAND BV                             CONTRACT FOR THE PROVISION OF PORCUPINE SPX14 2D SEISMIC DATA                                                       $0.00
GX TECHNOLOGY CORPORATION     ENI PETROLEUM EXPLORATION CO INC           MASTER GEOPHYSICAL DATA-USE LICENSE GXT #10420 DTD 9/29/2005                                                        $0.00
GX TECHNOLOGY CORPORATION     ENI PETROLEUM EXPLORATION CO. INC.         LETTER OF COMMITMENT DTD 9/29/2005                                                                                  $0.00
GX TECHNOLOGY CORPORATION     ENI PETROLEUM US LLC                       SEISMIC LICENSE AGREEMENT                                                                                           $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    LICENSE AGREEMENT FOR USE OF PROPRIETARY DATA NEW EXPLORATION OPPORTUNITES IN OFFSHORE TANZANIA-                    $0.00
                                                                         KENYA (35648-3500017803) DTD JULY 29, 2011
GX TECHNOLOGY CORPORATION     ENI SPA                                    LICENSE AGREEMENT FOR USE OF PROPRIETARY DATA 2D N.E. GREENLAND SPAN PHASE 1 AND PHASE 2 (35648-                    $0.00
                                                                         3500018588)
GX TECHNOLOGY CORPORATION     ENI SPA                                    AGREEMENT FOR USE OF PROPRIETARY GX TECHNOLOGY CORPORATION'S BASINSPANS (35648-2500007448) DTD FEB.                 $0.00
                                                                         21, 2012
GX TECHNOLOGY CORPORATION     ENI SPA                                    AMENDMENT 1 TO AGREEMENT FOR USE OF PROPRIETARY GX TECHNOLOGY CORPORATION'S BASINSPANS (35648-                      $0.00
                                                                         2500007448) DTD JUNE 29, 2013
GX TECHNOLOGY CORPORATION     ENI SPA                                    LICENSE AGREEMENT FOR USE OF PROPRIETARY DATA NEW EXPLORATION OPPORTUNITES IN OFFSHORE NORWAY                       $0.00
                                                                         (35648-3500021875) DTD JANUARY 5, 2012
ION GEOPHYSICAL CORPORATION   ENI SPA                                    LICENSE AGREEMENT FOR USE OF DATA ION LIBYASPAN (35648-3500044955) DTD SEPT. 28, 2017                            $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    MASTER GEOPHYSICAL DATA-USE LICENSE DTD 9/29/2005                                                                $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    MASTER SERVICES AGREEMENT NO 2500018558                                                                          $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    MASTER SERVICES AGREEMENT NO 4600000460                                                                          $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    MASTER SERVICES AGREEMENT NO 4600000491                                                                          $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #07448                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10420                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10599                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11807                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #07448                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10420                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10599                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #07448                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10420                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10599                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #07448                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10420                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10599                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #07448                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10599                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #07448                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10420                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #07448                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #07448                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #07448                                                    $0.00
GX TECHNOLOGY CORPORATION     ENI SPA                                    SUPPLEMENT NO. XX TO MASTER DATA-USE LICENSE AGREEMENT #3500044955                                               $0.00
GX TECHNOLOGY CORPORATION     ENI US OPERATING CO INC                    MASTER GEOPHYSICAL DATA-USE LICENSE DTD 9/29/2005                                                                $0.00
GX TECHNOLOGY CORPORATION     ENIGMA OIL AND GAS EXPLORATION (PTY) LTD   MASTER LICENSE GEOPHYSICAL DATA USE LICENSE #11566 DTD 11/13/2014                                                $0.00
GX TECHNOLOGY CORPORATION     ENIGMA-CHARIOT                             SEISMIC LICENSE AGREEMENT                                                                                        $0.00
GX TECHNOLOGY CORPORATION     EOG RESOURCES INC                          MASTER GEOPHYSICAL DATA-USE LICENSE #11793 DTD 5/16/2018                                                         $0.00
GX TECHNOLOGY CORPORATION     EOG RESOURCES INC                          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11793                                                    $0.00
GX TECHNOLOGY CORPORATION     EOG RESOURCES INC                          SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11793                                                    $0.00
GX TECHNOLOGY CORPORATION     EOG RESOURCES INC                          SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11793                                                    $0.00
ION GEOPHYSICAL CORPORATION   EPI GROUP US INC                           MASTER GEOPHYSICAL SERVICES AGREEMENT #11553 DTD 10/1/2014                                                       $0.00
ION GEOPHYSICAL CORPORATION   EPI LIMITED                                SUPPLEMENTAL AGREEMENT NO. 7 TO MASTER GEOLOGICAL SERVICES AGREEMENT 11553 DTD 8/31/2021                         $0.00
ION GEOPHYSICAL CORPORATION   EPI LTD                                    MASTER GEOPHYSICAL SERVICES AGREEMENT #11553 DTD 10/1/2014                                                       $0.00
GX TECHNOLOGY CORPORATION     EPI LTD                                    MASTER GEOPHYSICAL SERVICES AGREEMENT #11553 DTD 10/1/2014                                                       $0.00
GX TECHNOLOGY CORPORATION     EQT PRODUCTION COMPANY                     MASTER GEOPHYSICAL DATA-USE LICENSE #11238 DTD 3/19/2012                                                         $0.00
GX TECHNOLOGY CORPORATION     EQT PRODUCTION COMPANY                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11238                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINIX INC.                               DIGITAL SERVICES AGREEMENT DTD 8/28/2020                                                                    $19,228.18
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                EQNR-1811/01                                                                                                     $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                MASTER GEOPHYSICAL DATA-USE AGREEMENT DTD 3/30/2009                                                              $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10960                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10399                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10960                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10399                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10399                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10399                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10399                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10399                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10399                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 25 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 28 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 31 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 35 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 36 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR ASA                                SUPPLEMENT NO. 38 TO MASTER DATA-USE LICENSE AGREEMENT #10965                                                    $0.00
GX TECHNOLOGY CORPORATION     EQUINOR SURNAME B60 B V                    MASTER GEOPHYSICAL DATA-USE AGREEMENT DTD 3/30/2009                                                              $0.00
ION GEOPHYSICAL CORPORATION   ESENTIRE INC                               ORDER FORM DTD 1/11/2022                                                                                    $17,733.34
GX TECHNOLOGY CORPORATION     ESSO AUSTRALIA PTY LTD                     SUPPLEMENTAL AGREEMENT (A4007358) (WESTRALIASPAN) GXT NO. 11968-01, DATED JAN. 31, 2020                          $0.00
GX TECHNOLOGY CORPORATION     ESSO AUSTRALIA PTY LTD                     MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                                   $0.00
GX TECHNOLOGY CORPORATION     ESSO EXPL & PROD ANGOLA (NEARSHORE) LTD    MASTER GEOPHYSICAL DATA-USE LICENSE W-2002-9755102-006 DTD 11/19/2002                                            $0.00
GX TECHNOLOGY CORPORATION     ESSO EXPLORATION & PRODUCTION GUYANA LTD   MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                                   $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 18 of 28


DEBTOR NAME                   COUNTERPARTY                               CONTRACT DESCRIPTION                                                               Cure Amount
GX TECHNOLOGY CORPORATION     ESSO EXPLORATION INC                       MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                   $0.00
ION GEOPHYSICAL CORPORATION   ESSO EXPLORATION INC C/O EXXONMOBILE       MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                   $0.00
GX TECHNOLOGY CORPORATION     ESSO EXPLORATION INC C/O EXXONMOBILE       MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                   $0.00
GX TECHNOLOGY CORPORATION     ESSO EXPLORATION INTERNATIONAL LTD         SUPPLEMENTAL AGREEMENTS (A4009924/LP-2020-JAPAN-250) DATED SEPT. 29, 2020                        $0.00
GX TECHNOLOGY CORPORATION     ESSO EXPLORATION INTERNATIONAL LTD         MASTER LICENSE AGREEMENT A4003906 DTD 12/18/2019                                                 $0.00
GX TECHNOLOGY CORPORATION     ESSONMOBIL EXPLORATIO CO C/O EXXONMOBIIL   MASTER LICENSE AGREEMENT #W-2002-9755102-006 DTD 11/19/2002                                      $0.00
GX TECHNOLOGY CORPORATION     ESSONMOBIL EXPLORATION COMPANY             MASTER LICENSE AGREEMENT #W-2002-9755102-006 DTD 11/19/2002                                      $0.00
ION GEOPHYSICAL CORPORATION   EULER HERMES NORTH AMERICA                 INSURANCE AGREEMENT RE POLICY #5129316                                                           $0.00
GX TECHNOLOGY CORPORATION     EUROPA INTERNATIONAL HOLDINGS LTD          GEOPHYSICAL SERVICES CONSULTING COMPANY AGREEMENT DTD 10/20/2005                                 $0.00
GX TECHNOLOGY CORPORATION     EUROPA INTERNATIONAL HOLDINGS LTD.         CONSULTING COMPANY AGREEMENT DTD 10/14/2005                                                      $0.00
GX TECHNOLOGY CORPORATION     EXCO RESOURCES (PA) LLC                    MASTER GEOPHYSICAL DATA-USE LICENSE #11086 DTD 11/19/2010                                        $0.00
GX TECHNOLOGY CORPORATION     EXCO RESOURCES (PA) LLC                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11086                                    $0.00
GX TECHNOLOGY CORPORATION     EXCO RESOURCES (PA), LLC                   AMENDMENT NO. 1 TO SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11086                 $0.00
GX TECHNOLOGY CORPORATION     EXCO RESOURCES (PA), LLC                   LETTER. RE: ADDITIONAL ACQUISITION SERVICES DTD 6/08/2011                                        $0.00
GX TECHNOLOGY CORPORATION     EXCO RESOURCES (PA), LLC                   LETTER. RE: PARTNER DESIGNATION DTD 10/26/2011                                                   $0.00
GX TECHNOLOGY CORPORATION     EXPLOITER PTE LTD                          MASTER GEOPHYSICAL SERVICE AGREEMENT DTD 12/6/2010                                               $0.00
GX TECHNOLOGY CORPORATION     EXXO EXPLORATION GREENLAND LIMITED         MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                   $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                   $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11968                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11968                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10104                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 25 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 28 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 31 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 35 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 36 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 38 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 39 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 40 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 41 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 42 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 44 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 45 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 46 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 47 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 48 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 49 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 50 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 51 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 52 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 53 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 54 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 55 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 56 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 57 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 58 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 60 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 61 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 62 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 63 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 64 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 65 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 66 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 67 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 68 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 69 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 70 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 71 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 72 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 73 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 74 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 75 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL CORPORATION                     SUPPLEMENT NO. 76 TO MASTER DATA-USE LICENSE AGREEMENT #10789                                    $0.00
ION GEOPHYSICAL CORPORATION   EXXONMOBIL E&P IRELAND (OFFSHORE) LTD      LICENSE AGREEMENT LP-2014-IRELAND-010                                                            $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL E&P IRELAND (OFFSHORE) LTD      LICENSE AGREEMENT LP-2014-IRELAND-010                                                            $0.00
ION GEOPHYSICAL CORPORATION   EXXONMOBIL EXPL & PROD IRELAND (OFFSHORE   LICENSE AGREEMENT LP-2014-IRELAND-010                                                            $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPL & PROD IRELAND (OFFSHORE   LICENSE AGREEMENT LP-2014-IRELAND-010                                                            $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPL & PROD IRELAND-OFFSHORE    LICENSE AGREEMENT LP-2014-IRELAND-010                                                            $0.00
ION GEOPHYSICAL CORPORATION   EXXONMOBIL EXPL & PROD IRELAND-OFFSHORE    LICENSE AGREEMENT LP-2014-IRELAND-010                                                            $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPL & PROD MADAGASCAR          LETTER AGREEMENT - EAST AFRICASPAN REGIONAL SEISMIC PROGRAM DTD 1/15/2007                        $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPL & PROD MADAGASCAR LTD      LETTER AGREEMENT - EAST AFRICASPAN REGIONAL SEISMIC PROGRAM DTD 1/15/2007                        $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPL & PROD MOZAMBIQUE          MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                   $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPLORATION COMPANY             EPR-9302                                                                                         $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPLORATION COMPANY             MASTER GEOPHYSICAL DATA-USE LICENSE W-2002-9755102-006 DTD 11/19/2002                            $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPLORATION CORPORATION         MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                   $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL EXPLORATION, COLOMBIA LTD       LETTER OF COMMITMENT DTD 9/3/2004                                                                $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 19 of 28


DEBTOR NAME                   COUNTERPARTY                               CONTRACT DESCRIPTION                                                                             Cure Amount
ION GEOPHYSICAL CORPORATION   EXXONMOBIL GLOBAL SERVICES COMPANY         MASTER LICENSE AGREEMENT A4003906 DTD 12/18/2019                                                               $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL GLOBAL SERVICES COMPANY         MASTER PROCESSING AGREEMENT #1928761 DTD 2/23/2005                                                             $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL UPSTREAM RESEARCH COMPANY       MASTER LICENSE AGREEMENT #W-2002-9755102-006 DTD 11/19/2002                                                    $0.00
GX TECHNOLOGY CORPORATION     EXXONMOBIL VENTURES MEXICO LTD             MASTER LICENSE AGREEMENT DTD 11/21/2007                                                                        $0.00
ION GEOPHYSICAL CORPORATION   FIDELITY MANAGEMENT TRUST COMPANY          FIDELITY INVESTMENTS RETIREMENT PLAN SERVICE AGREEMENT DTD 12/11/2019                                          $0.00
GX TECHNOLOGY CORPORATION     FIELDWOOD ENERGY E&P MEXICO DE RL DE CV    MASTER AGREEMENT FOR TECHNICAL SERVICES IN MEXICO DTD 4/23/2020                                                $0.00
GX TECHNOLOGY CORPORATION     FINDER EXPLORATION PTY LTD                 MASTER GEOPHYSICAL DATA-USE LICENSE #11448 DTD 10/1/2013                                                       $0.00
ION GEOPHYSICAL CORPORATION   FIRST EXECUTIVE CENTRE LTD                 REAL ESTATE LEASE AGREEMENT RE: #2800, 350 - 7TH AVE SW CALGARY CANADA                                         $0.00
GX TECHNOLOGY CORPORATION     FUNDACAO DE ESTUDOS DO MAR - FEMAR         NON-EXCLUSIVE GEOPHYSICAL DATA-USE LICENSE DTD 9/28/2012                                                       $0.00
GX TECHNOLOGY CORPORATION     GABONESE REPUBLIC                          GEOPHYSICAL SERVICES CONTRACT                                                                                  $0.00
ION GEOPHYSICAL CORPORATION   GALLAGHER BENEFITS SERVICES INC.           ONGOING RETIREMENT PLAN CONSULTING AGREEMENT DTD 4/1/2022                                                      $0.00
ION GEOPHYSICAL CORPORATION   GALLAGHER BENEFITS SERVICES INC.           HEALTH & WELFARE CONSULTING AGREEMENT                                                                          $0.00
GX TECHNOLOGY CORPORATION     GALP ENERGIA SA                            MASTER GEOPHYSICAL DATA-USE LICENSE #11448 DTD 7/18/2017                                                       $0.00
GX TECHNOLOGY CORPORATION     GALP ENERGIA SA                            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11458                                                  $0.00
GX TECHNOLOGY CORPORATION     GALVEZ ENERGY INC                          MASTER GEOPHYSICAL DATA-USE LICENSE #10416 DTD 8/30/2005                                                       $0.00
GX TECHNOLOGY CORPORATION     GALVEZ ENERGY INC                          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10416                                                  $0.00
ION GEOPHYSICAL CORPORATION   GATES CAPITAL MANAGEMENT INC               RELEASE DTD 4/20/2021                                                                                          $0.00
GX TECHNOLOGY CORPORATION     GAZ DE FRANCE NORGE AS                     MASTER GEOPHYSICAL DATA-USE LICENSE #10891 DTD 8/11/2008                                                       $0.00
GX TECHNOLOGY CORPORATION     GAZPROM EP INTERNATIONAL BV                MASTER GEOPHYSICAL DATA-USE LICENSE #11617 DTD 4/20/2015                                                       $0.00
GX TECHNOLOGY CORPORATION     GAZPROM EP INTERNATIONAL BV                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11313                                                  $0.00
GX TECHNOLOGY CORPORATION     GAZPROM EP INTERNATIONAL BV                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11617                                                  $0.00
GX TECHNOLOGY CORPORATION     GAZPROM EP INTERNATIONAL BV                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11700                                                  $0.00
GX TECHNOLOGY CORPORATION     GDF SUEZ                                   MASTER GEOPHYSICAL DATA-USE LICENSE #11197 DTD 10/6/2011                                                       $0.00
GX TECHNOLOGY CORPORATION     GDF SUEZ                                   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11197                                                  $0.00
GX TECHNOLOGY CORPORATION     GEO-COSL                                   LETTER, RE: NEW VENTURES PROPOSAL DTD 6/15/2005                                                                $0.00
GX TECHNOLOGY CORPORATION     GEO-COSL                                   MASTER GEOPHYSICAL DATA-USE LICENSE #10410 DTD 6/30/2005                                                       $0.00
GX TECHNOLOGY CORPORATION     GEO-COSL                                   SUPPLEMENT NO. 01 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10410 (GULFSPAN I)                                   $0.00
GX TECHNOLOGY CORPORATION     GEO-COSL                                   SUPPLEMENT NO. 01 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10410 (GULFSPAN II)                                  $0.00
GX TECHNOLOGY CORPORATION     GEO-COSL                                   MASTER GEOPHYSICAL DATA-USE LICENSE #11197 DTD 10/6/2011                                                       $0.00
ION GEOPHYSICAL CORPORATION   GEOEX INTERNATIONAL LTD.                   SUPPLEMENTAL AGREEMENT NO. 1 TO COLLABORATION AGREEMENT CONCERNING WEST EQUATORIAL AFRICA SPAN                 $0.00
                                                                         DTD 4/13/2018
GX TECHNOLOGY CORPORATION     GEOLOGICAL & GEOPHYSICAL TECHNOLOGIES      MASTER GEOPHYSICAL DATA-USE LICENSE #11313 DTD 12/20/2013                                                      $0.00
ION GEOPHYSICAL CORPORATION   GEOLOGICAL SURVEY OF CANADA                MASTER GEOPHYSICAL DATA-USE LICENSE DTD 11/18/2015                                                             $0.00
GX TECHNOLOGY CORPORATION     GEOLOGICAL SURVEY OF CANADA                MASTER GEOPHYSICAL DATA-USE LICENSE DTD 11/18/2015                                                             $0.00
GX TECHNOLOGY CORPORATION     GEOLOGICAL SURVEY OF CANADA                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11643                                                  $0.00
ION GEOPHYSICAL CORPORATION   GEOLOGICAL SURVEY OF DENMARK & GREENLAND   CONTRACT FOR MULTI-CLIENT SEISMIC DATA REPROCESSING, SALES AND MARKETING DTD 3/11/2019                         $0.00

GX TECHNOLOGY CORPORATION     GEOPHYSICAL PURSUIT INC                    LANDSPAN 2 D DATA REPROCEESSING SIDE LETTER DTD 1/26/2006                                                   $0.00
GX TECHNOLOGY CORPORATION     GEOPHYSICAL PURSUIT INC                    ROYALTY AGREEMENT DTD 5/6/2008                                                                              $0.00
GX TECHNOLOGY CORPORATION     GEOPHYSICAL PURSUIT INC                    ROYALTY AGREEMENT DTD 11/17/2010                                                                            $0.00
GX TECHNOLOGY CORPORATION     GEOPHYSICAL PURSUIT, INC.                  TERMINATION AND ROYALTY AGREEMENT #10862 DTD 5/06/2008                                                      $0.00
GX TECHNOLOGY CORPORATION     GEOPOST CONSULT. EM GEOLOGIA E GEOFISICA   CONSULTING/PROFESSIONAL SERVICES AGREEMENT DTD 6/6/2017                                                $53,812.50
ION GEOPHYSICAL CORPORATION   GEOPUBLISHING LTD                          SERVICE AGREEMENT                                                                                           $0.00
ION GEOPHYSICAL CORPORATION   GEOSYS INC                                 CONSULTING/PROFESSIONAL SERVICES AGREEMENT DTD 6/22/2020                                                    $0.00
GX TECHNOLOGY CORPORATION     GESES LTD                                  GEOPHYSICAL AGENTS AGREEMENT DTD 12/29/2003                                                                 $0.00
GX TECHNOLOGY CORPORATION     GHANA GEOPHYSICAL COMPANY LTD              OFFSHORE GHANA, SPAN STUDY AGREEMENT DTD 9/21/2015                                                     $73,778.00
I/O MARINE SYSTEMS, INC.      GLOBAL DYNAMICS INC                        PROCUREMENT AGREEMENT DTD 9/15/2020                                                                         $0.00
GX TECHNOLOGY CORPORATION     GLOBAL GEOSCIENCE SERVICES LDA             JOINT OPERATING AGREEMENT #ANG-GGS-GXT-100                                                           $134,133.54
GX TECHNOLOGY CORPORATION     GLOBAL GEOSCIENCE SERVICES LTD             JOINT OPERATING AGREEMENT #ANG-GGS-GXT-100                                                                  $0.00
GX TECHNOLOGY CORPORATION     GLOBAL PETROLEUM GROUP                     MASTER GEOPHYSICAL DATA-USE LICENSE #11386 DTD 3/11/2013                                                    $0.00
GX TECHNOLOGY CORPORATION     GLOBAL PETROLEUM GROUP                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11386                                               $0.00
GX TECHNOLOGY CORPORATION     GLOBO SERVICE, SA                          JOINT OPERATING AGREEMENT DTD 2/1/2013                                                                 $17,756.46
GX TECHNOLOGY CORPORATION     GMX RESOURCES INC                          MASTER GEOPHYSICAL DATA-USE LICENSE #11143 DTD 3/17/2011                                                    $0.00
ION GEOPHYSICAL CORPORATION   GMX RESOURCES INC                          MASTER GEOPHYSICAL DATA-USE LICENSE #11143 DTD 3/17/2011                                                    $0.00
GX TECHNOLOGY CORPORATION     GMX RESOURCES INC                          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11143                                               $0.00
GX TECHNOLOGY CORPORATION     GMX RESOURCES INC.                         FIRST AMENDMENT TO MASTER GEOPHYSICAL DATA-USE LICENSE #11143 DTD 1/24/2014                                 $0.00
GX TECHNOLOGY CORPORATION     GNT INTERNATIONAL INC                      GEOPHYSICAL DATA-USE LICENSE #10409A                                                                        $0.00
ION GEOPHYSICAL CORPORATION   GOODWIN, MIKE                              CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11947 DTD 8/1/2019                                              $0.00
ION GEOPHYSICAL CORPORATION   GOVAN, DON                                 CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11889 DTD 1/1/2019                                              $0.00
GX TECHNOLOGY CORPORATION     GOVERNMENT OF BARBADOS, THE                GEOLOGICAL STUDY AGREEMENT DTD 9/5/2017                                                              $767,585.05
GX TECHNOLOGY CORPORATION     GOVERNMENT OF KENYA                        EASTAFRICASPAN GEOLOGICAL STUDY AGREEMENT DTD 6/15/2006                                             $1,127,605.12
GX TECHNOLOGY CORPORATION     GOVERNMENT OF THE UNION OF COMOROS         EASTFRICANSPAN GEOLOGICAL STUDY AGREEMENT DTD 7/10/2007                                                $96,346.54
GX TECHNOLOGY CORPORATION     GOVERNMENT OF THE UNION OF COMOROS         GEOLOGICAL STUDY AGREEMENT DTD 7/10/2007                                                                    $0.00
GX TECHNOLOGY CORPORATION     GREENLAND OIL SPILL RESPONSE A/S           COOPERATION AGREEMENT DTD 8/12/2015 - LICENCE #2013/10                                                      $0.00
GX TECHNOLOGY CORPORATION     GREENLAND PETROLEUM EXPLORATION CO LTD     MASTER GEOPHYSICAL DATA-USE LICENSE #11193 DTD 9/30/2011                                                    $0.00
GX TECHNOLOGY CORPORATION     GREENLAND PETROLEUM EXPLORATION CO LTD     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11193                                               $0.00
GX TECHNOLOGY CORPORATION     GREENLAND PETROLEUM EXPLORATION CO LTD     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11193                                               $0.00
ION GEOPHYSICAL CORPORATION   GRENADA MINISTRY OF FINANCE                AIDE-MEMOIRE OF MEETING DTD 10/4/2012                                                                $308,462.32
ION GEOPHYSICAL CORPORATION   GRENADA MINISTRY OF FINANCE                AIDE-MEMOIRE DTD 11/16/2012                                                                                 $0.00
GX TECHNOLOGY CORPORATION     GREYCO SEISMIC PERSONNEL SERVICES LLC      REAL ESTATE LEASE AGREEMENT RE: 14710 PARK ALMEDA DR HOUSTON                                                $0.00
GX TECHNOLOGY CORPORATION     GRMR OIL AND GAS LLC                       MASTER GEOPHYSICAL DATA-USE LICENSE #11710 DTD 4/28/2016                                                    $0.00
GX TECHNOLOGY CORPORATION     GRMR OIL AND GAS LLC                       SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11710                                               $0.00
GX TECHNOLOGY CORPORATION     GRUPO DAV INTERNATIONAL                    CONSULTING SERVICES AGREEMENT DTD 7/15/2019                                                             $4,532.12
GX TECHNOLOGY CORPORATION     GUJARAT STATE PETROLEUM CORPORATION LTD    MASTER GEOPHYSICAL DATA-USE LICENSE #10600 DTD 5/14/2008                                                    $0.00
GX TECHNOLOGY CORPORATION     GUJARAT STATE PETROLEUM CORPORATION LTD    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10600                                               $0.00
ION GEOPHYSICAL CORPORATION   GULF COAST CENTER, THE                     ION-GCCC COLLABORATION PROPOSAL- GULFSPAN CCS PHASE 1                                                       $0.00
GX TECHNOLOGY CORPORATION     GVK ENERGY LTD                             MASTER GEOPHYSICAL DATA-USE LICENSE #10835 DTD 4/4/2008                                                     $0.00
GX TECHNOLOGY CORPORATION     GVK ENERGY LTD                             SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10835                                               $0.00
GX TECHNOLOGY CORPORATION     GWL OVERSEAS LTD.                          MASTER GEOLOGICAL STUDY AGREEMENT DTD 5/3/2011                                                       $655,065.33
GX TECHNOLOGY CORPORATION     HAMRA OIL HOLDINGS LTD                     MASTER GEOPHYSICAL DATA-USE LICENSE #11861 DTD 12/6/2018                                                    $0.00
GX TECHNOLOGY CORPORATION     HAMRA OIL HOLDINGS LTD                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11861                                               $0.00
ION GEOPHYSICAL CORPORATION   HELLENIC HYDROCARBON RESOURCES MGMT        GEOPHYSICAL DATA-USE AGREEMENT DTD 2/6/2019                                                                 $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           GLOBAL SUPPLEMENT AGREEMENT CONTRACT #10915 DTD 6/1/2008                                                    $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           MASTER DATA-USE LICENSE AGREEMENT GXT#10008 CONTRACT #8038 DTD 2/4/2003                                     $0.00
ION GEOPHYSICAL CORPORATION   HESS CORPORATION                           MASTER GEOPHYSICAL DATA-USE LICENSE #10008 DTD 12/31/2002                                                   $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           MASTER GEOPHYSICAL DATA-USE LICENSE #10008 DTD 12/31/2002                                                   $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 25 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 28 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 31 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 35 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 36 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 38 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 39 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 40 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                           SUPPLEMENT NO. 41 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 20 of 28


DEBTOR NAME                   COUNTERPARTY                                  CONTRACT DESCRIPTION                                                                             Cure Amount
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 42 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 43 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 44 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 45 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 46 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 47 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 48 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 51 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 52 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 53 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 55 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 56 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 58 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 59 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 61 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS CORPORATION                              SUPPLEMENT NO. 62 TO MASTER DATA-USE LICENSE AGREEMENT #10008                                               $0.00
GX TECHNOLOGY CORPORATION     HESS NEW VENTURES EXPLORATION LTD             MASTER GEOPHYSICAL DATA-USE LICENSE (CONTRACT #8038) DTD 2/4/2003                                           $0.00
GX TECHNOLOGY CORPORATION     HESSS CANADA OIL & GAS ULC                    MASTER GEOPHYSICAL DATA-USE LICENSE (CONTRACT #8038) DTD 2/4/2003                                           $0.00
GX TECHNOLOGY CORPORATION     HIGHMOUNT EXPLORATION & PRODUCTION LLC        MASTER GEOPHYSICAL DATA-USE LICENSE #11362 DTD DTD 12/13/2012                                               $0.00
GX TECHNOLOGY CORPORATION     HIGHMOUNT EXPLORATION & PRODUCTION LLC        SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11362                                               $0.00
ION GEOPHYSICAL CORPORATION   HIRERIGHT LLC                                 MASTER SERVICE AGREEMENT DTD 12/19/2017                                                                     $0.00
GX TECHNOLOGY CORPORATION     HORIZON ENERGY PARTNERS LLC                   MASTER GEOPHYSICAL DATA-USE LICENSE #12004 DTD 3/15/2021                                                    $0.00
GX TECHNOLOGY CORPORATION     HORIZON ENERGY PARTNERS LLC                   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #12004                                               $0.00
ION GEOPHYSICAL CORPORATION   HORIZON GLOBAL ENERGY & ADVANCED              CONSULTING/PROFESSIONAL SERVICES AGREEMENT DTD 1/20/2021                                                    $0.00
ION GEOPHYSICAL CORPORATION   HORSCROFT, THOMAS RICHARD                     CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11851 DTD 11/1/2018                                             $0.00
GX TECHNOLOGY CORPORATION     HOSNY HASSAN KANDIL, AHMED AMR ALI            REAL ESTATE LEASE AGREEMENT RE: APT 4, BLDG 32, 253 ST DEGLA, MAADI CAIRO EGYPT                             $0.00
GX TECHNOLOGY CORPORATION     HUNT OVERSEAS OIL COMPANY                     MASTER GEOPHYSICAL DATA-USE LICENSE #11854 DTD 11/5/2018                                                    $0.00
GX TECHNOLOGY CORPORATION     HUNT OVERSEAS OIL COMPANY                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11854                                               $0.00
GX TECHNOLOGY CORPORATION     HUSKY ENERGY INTERNATIONAL CORP               MASTER GEOPHYSICAL DATA-USE LICENSE #10785 DTD 11/28/2006                                                   $0.00
GX TECHNOLOGY CORPORATION     HUSKY ENERGY INTERNATIONAL CORP               PROPOSAL TO PURCHASE TIME GATHERS FROM JAVASPAN DTD 4/22/2008                                               $0.00
GX TECHNOLOGY CORPORATION     HUSKY OIL CHINA LTD                           MASTER GEOPHYSICAL DATA-USE LICENSE #10635 DTD 1/31/2007                                                    $0.00
GX TECHNOLOGY CORPORATION     HYDROTANZ LIMITED                             MASTER GEOPHYSICAL DATA-USE LICENSE #11173 DTD 7/24/2011                                                    $0.00
GX TECHNOLOGY CORPORATION     HYDROTANZ LIMITED                             SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11173                                               $0.00
GX TECHNOLOGY CORPORATION     IDEMITSU OIL & GAS CO LTD                     MASTER GEOPHYSICAL DATA-USE LICENSE DTD 9/30/2011                                                           $0.00
GX TECHNOLOGY CORPORATION     IDEMITSU OIL & GAS CO LTD                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11201                                               $0.00
GX TECHNOLOGY CORPORATION     IDEMITSU OIL & GAS CO LTD                     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10777                                               $0.00
GX TECHNOLOGY CORPORATION     IDEMITSU PETROLEUM NORGE AS                   MASTER GEOPHYSICAL DATA-USE LICENSE #10777 DTD 10/8/2007                                                    $0.00
ION GEOPHYSICAL CORPORATION   IDM INDUSTRIES                                CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11970                                                           $0.00
ION GEOPHYSICAL CORPORATION   IDRIA OIL & GAS COMPANY NV                    TAPE COPYING, REPROCESSING AND COOPERATION AGREEMENT                                                        $0.00
ION GEOPHYSICAL CORPORATION   IFREMER                                       SUPPLY OF SEISMIC DATA FROM CARAMBA DTD 3/20/2014                                                           $0.00
ION GEOPHYSICAL CORPORATION   IHS MARKIT                                    GENERAL PRODUCTS & SERVICES AGREEMENT DTD 3/29/2019                                                         $0.00
ION GEOPHYSICAL CORPORATION   IKATECH EQUIPMENT & REPAIR LLC                LICENSE AGREEMENT DTD 2/25/2022                                                                         $2,315.00
GX TECHNOLOGY CORPORATION     IMPERIAL OIL RESOURCES LTD                    MASTER LICENSE AGREEMENT #10789 DTD 11/21/2007                                                              $0.00
GX TECHNOLOGY CORPORATION     IMPERIAL OIL RESOURCES LTD                    MASTER LICENSE AGREEMENT #W-2002-9755102-006 DTD 11/19/2002                                                 $0.00
GX TECHNOLOGY CORPORATION     IN-DEPTH GEOPHYSICAL INC                      AGREEMENT FOR DELIVERY OF GATHERS FOR REPROCESSING                                                          $0.00
GX TECHNOLOGY CORPORATION     INDIA MINISTRY OF PETROLEUM & NAT GAS         AGREEMENT TO CARRY OUT A SPECULATIVE GEOPHYSICAL SURVEY IN WEST COAST & EAST COAST OF INDIA                 $0.00
GX TECHNOLOGY CORPORATION     INEOS                                         MASTER LICENSE AGREEMENT #11169 DTD 6/29/2011                                                               $0.00
ION GEOPHYSICAL CORPORATION   INFOR (US) LLC                                SERVICE AGREEMENT                                                                                           $0.00
ION GEOPHYSICAL CORPORATION   INFOR US INC.                                 SOFTWARE AS A SEVICE AGREEMENT DTD 12/29/2020                                                           $3,861.94
ION GEOPHYSICAL CORPORATION   INFOTERRA UK                                  BRDP SELLER LETTER AGREEMENT DTD 10/15/2013                                                                 $0.00
ION GEOPHYSICAL CORPORATION   INFOTERRA UK                                  LETTER AGREEMENT FOR LAKE TANGANYIKA DTD 10/15/2013                                                         $0.00
ION GEOPHYSICAL CORPORATION   INFOTERRA UK                                  LETTER AGREEMENT FOR OFFSHORE BID ROUND DATA PACKAGE DTD 10/15/2013                                         $0.00
GX TECHNOLOGY CORPORATION     INNATE INC                                    HOSTED SOFTWARE & PROVISION OF MANAGED SOLUTION SERVICES DTD 12/29/2014                                 $1,835.00
ION GEOPHYSICAL CORPORATION   INNATE MANAGEMENT SYSTEMS LTD                 INNATE HOSTED SOFTWARE & PROVISION OF MANAGED SOLUTION SERVICES                                             $0.00
ION GEOPHYSICAL CORPORATION   INOVA GEOPHYSICAL EQUIPMENT LTD               JOINT VENTURE AGREEMENT DTD 3/24/2010                                                                       $0.00
GX TECHNOLOGY CORPORATION     INOVA GEOPHYSICAL EQUIPMENT LTD               REVENUE SHARING AGREEMENT DTD 4/13/2010                                                                     $0.00
GX TECHNOLOGY CORPORATION     INPEX BROWSE E&P PTY LTD                      MASTER GEOPHYSICAL DATA-USE LICENSE #11161 DTD 9/30/2011                                                    $0.00
GX TECHNOLOGY CORPORATION     INPEX BROWSE LTD                              ACCESS AUTHORITY TO INGRESS INTO VARIOUS TITLES DTD 12/12/2012                                              $0.00
GX TECHNOLOGY CORPORATION     INPEX CORPORATION                             MASTER GEOPHYSICAL DATA-USE LICENSE #11161 DTD 9/30/2011                                                    $0.00
GX TECHNOLOGY CORPORATION     INPEX CORPORATION                             SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11161                                               $0.00
GX TECHNOLOGY CORPORATION     INPEX CORPORATION                             SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11161                                               $0.00
GX TECHNOLOGY CORPORATION     INPEX GROUP                                   GUYANA SPAN PROGRAM PROPOSAL DTD 2/23/2012                                                                  $0.00
GX TECHNOLOGY CORPORATION     INSTITUTO NAC'L DE PETROLEO - MOZAMBIQUE      EASTAFRICASPAN GEOLOGICAL STUDY & SIESMIC DATA ACQUISITION AGREEMENT DTD 2/23/2011                    $926,379.53
ION GEOPHYSICAL CORPORATION   INT'L ENERGY CLUSTER OF MEXICO                CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11988 DTD 6/15/2020                                             $0.00
ION GEOPHYSICAL CORPORATION   INTRADO DIGITAL MEDIA LLC                     MASTER SERVICES AGREEMENT #00004626.0                                                                  $25,216.03
I/O MARINE SYSTEMS, INC.      INTRALOX LLC                                  REAL ESTATE LEASE AGREEMENT RE: 200 PLANTATION RD JEFFERSON PARISH                                          $0.00
I/O MARINE SYSTEMS, INC.      INTRALOX LLC                                  REAL ESTATE LEASE AGREEMENT RE: 5000 RIVER RD HARAHAN                                                       $0.00
ION GEOPHYSICAL CORPORATION   IPFS CORPORATION                              PREMIUM FINANCE AGREEMENT DTD 12/15/21                                                                      $0.00
ION GEOPHYSICAL CORPORATION   IPFS CORPORATION                              PREMIUM FINANCE AGREEMENT - ADDITIONAL PREMIUM DISCLOSURE                                                   $0.00
ION GEOPHYSICAL CORPORATION   IPFS CORPORATION                              PREMIUM FINANCE AGREEMENT DTD 9/29/21                                                                       $0.00
ION GEOPHYSICAL CORPORATION   IRON MOUNTAIN, CORP.                          THREE-PARTY MASTER DEPOSITOR ESCROW SERVICE AGREEMENT DTD 8/24/2015                                        $50.00
ION GEOPHYSICAL CORPORATION   ISLAMIC REPUBLIC OF MAURITANIA, THE           AGREEMENT FOR THE PSTM & PSDM PROCESSING OF 3D & 2D DATA, LOGGING DATA & THE MARKETING OF DATA        $275,629.05
GX TECHNOLOGY CORPORATION     IVORY ACQUISITIONS PARTNERS LP                GEOPHYSICAL PERMIT                                                                                          $0.00
GX TECHNOLOGY CORPORATION     JAPAN OIL GAS & METALS NATIONAL CORP          MASTER GEOPHYSICAL DATA-USE LICENSE #11118 DTD 1/31/2011                                                    $0.00
GX TECHNOLOGY CORPORATION     JAPAN OIL GAS & METALS NATIONAL CORP          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11118                                               $0.00
GX TECHNOLOGY CORPORATION     JAPAN OIL GAS & METALS NATIONAL CORP          SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11118                                               $0.00
GX TECHNOLOGY CORPORATION     JAPAN OIL GAS & METALS NATIONAL CORP          SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11118                                               $0.00
GX TECHNOLOGY CORPORATION     JAPAN OIL GAS & METALS NATIONAL CORP          SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11118                                               $0.00
GX TECHNOLOGY CORPORATION     JAPAN OIL GAS & METALS NATIONAL CORP          SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11118                                               $0.00
GX TECHNOLOGY CORPORATION     JAPAN OIL GAS & METALS NATIONAL CORP          SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11118                                               $0.00
GX TECHNOLOGY CORPORATION     JAPAN PETROLEUM EXPLORATION, DOMESTIC         JAPEX-0604/03                                                                                               $0.00
                              EXPLORATION
GX TECHNOLOGY CORPORATION     JAPEX - JGI                                   JGI-0108                                                                                                    $0.00
ION GEOPHYSICAL CORPORATION   JASCO APPLIED SCIENCES (USA) INC              MASTER SERVICE AGREEMENT DTD 11/12/2020                                                                $17,073.75
ION GEOPHYSICAL CORPORATION   JAT ASSET INTEGRITY OFFSHORE &                AMENDMENT 2 TO CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11990                                            $0.00
ION GEOPHYSICAL CORPORATION   JAT ASSET INTEGRITY OFFSHORE &                CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11990 DTD 4/28/2020                                             $0.00
GX TECHNOLOGY CORPORATION     JOINT TEAM STUDY                              CONGOSPAN PHASE II SEISMIC PROGRAM AGREEMENT DTD 7/2006                                                $44,712.13
ION GEOPHYSICAL CORPORATION   JOURNYX INC.                                  JOURNYX MASTER SERVICES, SUBSCRIPTION AND LICENSE AGREEMENT DTD 3/16/2020                                   $0.00
GX TECHNOLOGY CORPORATION     JX NIPPON OIL & GAS EXLORATION CORP           MASTER GEOPHYSICAL DATA-USE LICENSE #11202 DTD 9/30/2011                                                    $0.00
GX TECHNOLOGY CORPORATION     JX NIPPON OIL & GAS EXLORATION CORP           SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11202                                               $0.00
GX TECHNOLOGY CORPORATION     JX NIPPON OIL & GAS EXLORATION CORP           SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11202                                               $0.00
GX TECHNOLOGY CORPORATION     KANDIL, MAHMOUD HESHAM ALI HOSNY HASSAN       REAL ESTATE LEASE AGREEMENT RE: APT 2, BLDG 32, 253 ST DEGLA, MAADI CAIRO EGYPT                             $0.00
ION GEOPHYSICAL CORPORATION   KENMORE INVESTMENTS LTD                       REAL ESTATE LEASE AGREEMENT                                                                                 $0.00
GX TECHNOLOGY CORPORATION     KENMORE INVESTMENTS LTD                       REAL ESTATE LEASE AGREEMENT                                                                                 $0.00
GX TECHNOLOGY CORPORATION     KERR-MCGEE OIL & GAS CORPORATION              MASTER GEOPHYSICAL DATA-USE LICENSE #10048 DTD 5/27/2003                                                    $0.00
GX TECHNOLOGY CORPORATION     KERR-MCGEE OIL & GAS CORPORATION              MASTER GEOPHYSICAL DATA-USE LICENSE #10209 DTD 3/1/2004                                                     $0.00
GX TECHNOLOGY CORPORATION     KERR-MCGEE OIL & GAS CORPORATION              MASTER GEOPHYSICAL DATA-USE LICENSE #11317 DTD 5/27/2003                                                    $0.00
GX TECHNOLOGY CORPORATION     KERR-MCGEE OIL & GAS CORPORATION              PROPOSAL FOR THE QCQUISITION OF SEISMIC DATASET DTD 6/5/2006                                                $0.00
GX TECHNOLOGY CORPORATION     KERR-MCGEE OIL & GAS CORPORATION              SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10048                                               $0.00
GX TECHNOLOGY CORPORATION     KERR-MCGEE OIL & GAS CORPORATION              SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10209                                               $0.00
GX TECHNOLOGY CORPORATION     KERR-MCGEE OIL & GAS CORPORATION              SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10048                                               $0.00
GX TECHNOLOGY CORPORATION     KOREA NATIONAL OIL CORPORATION                MASTER GEOPHYSICAL DATA-USE LICENSE #11317 DTD 9/17/2012                                                    $0.00
GX TECHNOLOGY CORPORATION     KOREA NATIONAL OIL CORPORATION                MASTER SERVICES AGREEMENT DTD 8/30/2010                                                                     $0.00
GX TECHNOLOGY CORPORATION     KOREA NATIONAL OIL CORPORATION                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11317                                               $0.00
GX TECHNOLOGY CORPORATION     KOSMOS ENERGY VENTURES                        MASTER GEOPHYSICAL DATA-USE LICENSE DTD 8/17/2012                                                           $0.00
GX TECHNOLOGY CORPORATION     KOSMOS ENERGY VENTURES                        SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11336                                               $0.00
GX TECHNOLOGY CORPORATION     KOSMOS ENERGY VENTURES                        SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11336                                               $0.00
GX TECHNOLOGY CORPORATION     KOSMOS ENERGY VENTURES                        SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11336                                               $0.00
GX TECHNOLOGY CORPORATION     KOSMOS ENERGY VENTURES                        SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11336                                               $0.00
GX TECHNOLOGY CORPORATION     KOSMOS ENERGY VENTURES                        SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11336                                               $0.00
GX TECHNOLOGY CORPORATION     LA ADMINISTRACION NACIONAL DE COMBUSTIBLES,   GEOPHYSICAL - GEOLOGICAL STUDY CONTRACT DTD 1/2010                                                          $0.00
                              ALCOHOL Y PORTLAND
ION GEOPHYSICAL CORPORATION   LACUSTRINE SYSTEMS ANALYSIS LLC               BRDP SUB-RESELLER/SUB-RELICENSOR LETTER AGREEMENT DTD 10/14/2013                                            $0.00
ION GEOPHYSICAL CORPORATION   LACUSTRINE SYSTEMS ANALYSIS LLC               LETTER AGREEMENT DTD 10/2/2013                                                                              $0.00
ION GEOPHYSICAL CORPORATION   LAMBERT, DALE                                 RESTRICTED STOCK AGREEMENT DTD 12/1/2018                                                                    $0.00
GX TECHNOLOGY CORPORATION     LANE ENERGY HOLDINGS PLC                      MASTER GEOPHYSICAL DATA-USE LICENSE DTD 9/7/2011                                                            $0.00
GX TECHNOLOGY CORPORATION     LE GOUVERNEMENT DE L'UNION DES COMORES        PREMIER AVENANT AU CONTRAT D'ETUDE GEOLOGIQUE EAST AFRICA SPAN DTD 6/23/2013                                $0.00
ION GEOPHYSICAL CORPORATION   LEBANON MINISTRY OF ENERGY & WATER            SPAN LEBANON AGREEMENT DTD 4/3/2013                                                                         $0.00
ION GEOPHYSICAL CORPORATION   LIFE INSUANCE COMPANY OF NORTH AMERICA        GROUP ACCIDENTAL DEATH AND DISMEMBERMENT POLICY #SOK 0608437 DTD 1/1/2021                                   $0.00
ION GEOPHYSICAL CORPORATION   LIFE INSUANCE COMPANY OF NORTH AMERICA        LONG TERM DISABILITY POLICY #SGD 0612449 DTD 1/1/2021                                                       $0.00
ION GEOPHYSICAL CORPORATION   LIFE INSUANCE COMPANY OF NORTH AMERICA        BASIC/VOLUNTARY LIFE INSURANCE POLICY #SGM 0611309 DTD 1/1/2021                                             $0.00
ION GEOPHYSICAL CORPORATION   LIFE INSUANCE COMPANY OF NORTH AMERICA        AGREEMENT FOR ADMINISTRATIVE SERVICES ONLY (STD) #SHD 0500497 DTD 1/1/2021                                  $0.00
ION GEOPHYSICAL CORPORATION   LINKEDIN CORPORATION                          MARKETING SERVICES AGREEMENT - #10111301891                                                                 $0.00
ION GEOPHYSICAL CORPORATION   LINKEDIN CORPORATION                          RECRUITING SERVICES CONTRACT - #FLD5877963266                                                               $0.00
ION GEOPHYSICAL CORPORATION   LOGIC SOLUTIONS GROUP                         MASTER SERVICES AGREEEMENT                                                                             $21,090.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 21 of 28


DEBTOR NAME                   COUNTERPARTY                                    CONTRACT DESCRIPTION                                                                             Cure Amount
ION GEOPHYSICAL CORPORATION   LOGIX FIBER NETWORKS                            SERVICE AGREEMENT DTD 3/23/2020                                                                         $5,543.41
GX TECHNOLOGY CORPORATION     LPR LAND SERVICES LLC                           MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11087 DTD 8/10/2012                                             $0.00
GX TECHNOLOGY CORPORATION     LPR LAND SERVICES LLC                           SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11087                                               $0.00
GX TECHNOLOGY CORPORATION     LPR LAND SERVICES LLC                           SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11087                                               $0.00
GX TECHNOLOGY CORPORATION     LPR LAND SERVICES LLC                           SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11087                                               $0.00
ION GEOPHYSICAL CORPORATION   LUCAS GROUP                                     CONTRACT FOR PLACEMENT OF PERSONNEL DTD 3/11/2019                                                           $0.00
GX TECHNOLOGY CORPORATION     LUKOIL ENGINEERING - LONDON BRANCH              MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11534 DTD 2/7/2018                                              $0.00
ION GEOPHYSICAL CORPORATION   LUKOIL-ENGINEERING LLC                          MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11534 DTD 2/7/2018                                              $0.00
GX TECHNOLOGY CORPORATION     LUKOIL-ENGINEERING LLC                          MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11534 DTD 2/7/2018                                              $0.00
GX TECHNOLOGY CORPORATION     LUKOIL-ENGINEERING LLC                          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11534                                               $0.00
GX TECHNOLOGY CORPORATION     LUKOIL-ENGINEERING LLC                          SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11534                                               $0.00
GX TECHNOLOGY CORPORATION     LUKOIL-ENGINEERING LLC                          SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11534                                               $0.00
GX TECHNOLOGY CORPORATION     LUNDIN NORWAY AS                                MASTER GEOPHYSICAL DATA-USE LICENSE GXT#10709 DTD 5/29/2007                                                 $0.00
ION GEOPHYSICAL CORPORATION   LYNX GEOGRAPHIC INFORMATION SYSTEMS LTD         BRDP SUB-RESELLER LETTER AGREEMENT DTD 12/10/2013                                                           $0.00
ION GEOPHYSICAL CORPORATION   LYNX GEOGRAPHIC INFORMATION SYSTEMS LTD.        LETTER AGREEMENT DTD 12/10/2013                                                                             $0.00
ION GEOPHYSICAL CORPORATION   LYNX GEOGRAPHIC INFORMATION SYSTEMS LTD.        AMENDING CONTRACT DTD 8/17/2012                                                                             $0.00
ION GEOPHYSICAL CORPORATION   LYNX GEOGRAPHIC INFORMATION SYSTEMS LTD.        CONFIDENTIALITY AND DATA PURCHASE AGREEMENT DTD 6/18/2012                                                   $0.00
GX TECHNOLOGY CORPORATION     LYNX INFORMATION SYSTEMS INC                    SEISMIC LICENSE AGREEMENT - #GIS0585 - TANZANIA BR4 - BRDP LAKES                                            $0.00
ION GEOPHYSICAL CORPORATION   LYNX INFORMATION SYSTEMS INC                    SEISMIC LICENSE AGREEMENT - #GIS0585 - TANZANIA BR4 - BRDP LAKES                                            $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          MASTER GEOPHYSICAL DATA-USE LICENSE #10643 DTD 1/31/2007                                                    $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11364                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #12068                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL AMERICA INC                          SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10643                                               $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL ANGOLA A/S                           MASTER GEOPHYSICAL DATA-USE LICENSE #10643 DTD 1/31/2007                                                    $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL HOUSTON INC                          MASTER SERVICES CONTRACT #2012-565                                                                          $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL NORTH SEA UK LIMITED                 SUPPLEMENTAL AGREEMENT NO 173711-01 DTD DEC. 12, 2012                                                       $0.00
GX TECHNOLOGY CORPORATION     MAERSK OIL NORTH SEA UK LTD                     MASTER GEOPHYSICAL DATA-USE LICENSE #11364 DTD 12/12/2012                                                   $0.00
GX TECHNOLOGY CORPORATION     MAERSK OLIE OG GAS A/S                          MASTER GEOPHYSICAL DATA-USE LICENSE #10643 DTD 1/31/2007                                                    $0.00
GX TECHNOLOGY CORPORATION     MAGNOLIA OIL & GAS OPERATING LLC                MASTER GEOPHYSICAL DATA-USE LICENSE #12068 DTD 6/24/2022                                                    $0.00
GX TECHNOLOGY CORPORATION     MAGNOLIA OIL & GAS OPERATING LLC                SUPPLEMENT NO. 01 TO MASTER GEOPHYSICAL DATA-USE LICENSE #12068 (GULFSPAN LAND (GSM3))                      $0.00
GX TECHNOLOGY CORPORATION     MAGNOLIA OIL & GAS OPERATING LLC                MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 12068 DTD JUNE 24, 2022                                         $0.00
GX TECHNOLOGY CORPORATION     MAGSEIS FAIRFIELD LLC                           FAIR-0107/01                                                                                                $0.00
GX TECHNOLOGY CORPORATION     MAGSEIS FAIRFIELD LLC                           FAIR-1108/01                                                                                                $0.00
GX TECHNOLOGY CORPORATION     MAGSEIS FAIRFIELD LLC                           MAGFAIR-1902                                                                                                $0.00
ION GEOPHYSICAL CORPORATION   MAKAI OCEAN ENGINEERING INC.                    MAKAI TESTING TERMS AND CONDITIONS                                                                          $0.00
ION GEOPHYSICAL CORPORATION   MAKAI OCEAN ENGINEERING INC.                    MAKAI OCEAN ENGINEERING - TERMS AND CONDITIONS                                                              $0.00
GX TECHNOLOGY CORPORATION     MARATHON INT'L PETROLEUM LTD                    MASTER GEOPHYSICAL DATA-USE LICENSE                                                                         $0.00
GX TECHNOLOGY CORPORATION     MARATHON INT'L PETROLEUM VENTURES LTD           SEISMIC LICENSE AGREEMENT #1106907 DTD 12/31/2007                                                           $0.00
GX TECHNOLOGY CORPORATION     MARATHON OFFSHORE INVESTMENT LTD                SEISMIC LICENSE AGREEMENT #1110834 DTD 3/21/2011                                                            $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 03 TO MASTER GEOPHYSICAL DATA-USE LICENSE #1110834 (GULFSPAN LAND I)                         $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 04 TO MASTER GEOPHYSICAL DATA-USE LICENSE #1110834 (GULFSPAN LAND II)                        $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 05 TO MASTER GEOPHYSICAL DATA-USE LICENSE #1110834 (GULFSPAN OBC)                            $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 06 TO MASTER GEOPHYSICAL DATA-USE LICENSE #1110834 (GULFSPAN II STREAMER)                    $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 1110834-07 (CONGOSPAN I)                             $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 1110834-07 (CONGOSPAN I (REPROCESSING))              $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 1110834-07 (CONGOSPAN II)                            $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            MASTER GEOPHYSICAL DATA-USE LICENSE #1106907 DTD 12/31/2007                                                 $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            MASTER GEOPHYSICAL DATA-USE LICENSE DTD 3/21/2011                                                           $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            MASTER SERVICES CONTRACT #0403 DTD 2/15/2002                                                                $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10918                                               $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10834                                               $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10918                                               $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10834                                               $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10918                                               $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10834                                               $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10834                                               $0.00
GX TECHNOLOGY CORPORATION     MARATHON OIL COMPANY                            SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10834                                               $0.00
GX TECHNOLOGY CORPORATION     MAREX PETROLEUM CORPORATION                     MASTER GEOPHYSICAL DATA-USE LICENSE #10909                                                                  $0.00
GX TECHNOLOGY CORPORATION     MAREX PETROLEUM CORPORATION                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10908                                               $0.00
GX TECHNOLOGY CORPORATION     MARI PETROLEUM COMPANY LIMITED                  MPCL/GXT/7100036733 (MARI-1709/01)                                                                          $0.00
ION GEOPHYSICAL CORPORATION   MARINTEL LLC                                    CONSULTING/PROFESSIONAL SERVICES AGREEMENT DTD 11/1/2020                                                    $0.00
ION GEOPHYSICAL CORPORATION   MARITIMA DEL MEDITERRANEO SAU                   CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11765                                                           $0.00
ION GEOPHYSICAL CORPORATION   MARKIT GROUP LTD                                GENERAL PRODUCTS & SERVICES AGREEMENT                                                                       $0.00
GX TECHNOLOGY CORPORATION     MDC OIL & GAS HOLDING COMPANY LLC               MASTER GEOPHYSICAL DATA-USE LICENSE #11283                                                                  $0.00
ION GEOPHYSICAL CORPORATION   MDC OIL & GAS HOLDING COMPANY LLC               MASTER GEOPHYSICAL DATA-USE LICENSE #11283                                                                  $0.00
GX TECHNOLOGY CORPORATION     MDC OIL & GAS HOLDING COMPANY LLC               SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11283                                               $0.00
GX TECHNOLOGY CORPORATION     MDC OIL & GAS HOLDING COMPANY LLC               SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11283                                               $0.00
GX TECHNOLOGY CORPORATION     MDC OIL & GAS HOLDING COMPANY LLC               SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11283                                               $0.00
GX TECHNOLOGY CORPORATION     MDC OIL & GAS HOLDING COMPANY LLC               SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11283                                               $0.00
GX TECHNOLOGY CORPORATION     MDC OIL & GAS HOLDING COMPANY LLC               SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11283                                               $0.00
GX TECHNOLOGY CORPORATION     MDC OIL & GAS HOLDING COMPANY LLC               SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #11283                                               $0.00
GX TECHNOLOGY CORPORATION     MDC OIL & GAS HOLDING COMPANY LLC               SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #11283                                               $0.00
GX TECHNOLOGY CORPORATION     MDC OIL & GAS HOLDING COMPANY LLC               SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #11283                                               $0.00
ION GEOPHYSICAL CORPORATION   MEDIANT COMMUNICATIONS                          SERVICE AGREEMENT                                                                                        $404.68
ION GEOPHYSICAL CORPORATION   MERIDIAN NAVIGATION                             CONSULTING/PROFESSIONAL SERVICES AGREEMENT DTD 1/14/2020                                                    $0.00
GX TECHNOLOGY CORPORATION     MEXICO NATIONAL HYDROCARBON COMMISSION          MEXICO ROYALTY SCHEDULE DTD 3/23/2017                                                                       $0.00
ION GEOPHYSICAL CORPORATION   MEXICO NATIONAL HYDROCARBON COMMISSION          MEXICO ROYALTY SCHEDULE DTD 3/23/2017                                                                       $0.00
GX TECHNOLOGY CORPORATION     MGAI LLP                                        SUPPLEMENTAL AGREEMENT NO. 001 TO MASTER GEOLOGICAL STUDY AGREEMENT DTD 5/3/2011                            $0.00
GX TECHNOLOGY CORPORATION     MGAI LLP                                        AMENDMENT NO 1 TO SUPPLEMENT NO. 1 DTD 8/25/2011                                                            $0.00
GX TECHNOLOGY CORPORATION     MGAI LLP                                        MASTER GEOLOGICAL STUDY AGREEMENT DTD 5/3/2011                                                              $0.00
GX TECHNOLOGY CORPORATION     MGAI LLP                                        SUPPLEMENT NO. 1 TO MASTER GEOLOGICAL STUDY AGREEMENT DTD 4/2011                                            $0.00
GX TECHNOLOGY CORPORATION     MINERALS MANAGEMENT SERVICE                     MASTER GEOPHYSICAL DATA-USE LICENSE #11034                                                                  $0.00
GX TECHNOLOGY CORPORATION     MINERALS MANAGEMENT SERVICE                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11034                                               $0.00
ION GEOPHYSICAL CORPORATION   MINISTER OF ENERGY AND ENERGY INDUSTRIES        DATA USE AGREEMENT DTD 11/30/2005                                                                           $0.00
GX TECHNOLOGY CORPORATION     MINISTER OF ENERGY AND ENERGY INDUSTRIES        DATA USE AGREEMENT DTD 11/30/2005                                                                           $0.00
ION GEOPHYSICAL CORPORATION   MINISTER OF FINANCE, PLANNING, ECONOMY          2D SEISMIC DATA ACQUIRED AGREEMENT DTD 10/4/2012                                                            $0.00
GX TECHNOLOGY CORPORATION     MINISTERE DES MINES DE L'ENERGIE DU-            GEOPHYSICAL SERVICES CONTRACT                                                                       $1,029,052.39
GX TECHNOLOGY CORPORATION     MINISTERE DES MINES, DE L'ENERGIE, DU PETROLE   GEOPHYSICAL SERVICES CONTRACT                                                                               $0.00
                              ET DES RESSOURCES HYRDRAULIQUES
GX TECHNOLOGY CORPORATION     MINISTERIO DE LA PRESIDENCIA PANAMA             AGREEMENT ON GEOPHYSICAL SURVEYS IN MODALITY MULTI-CLIENT                                                   $0.00
GX TECHNOLOGY CORPORATION     MINISTRY OF ENERGY & ENERGY AFFAIRS             MASTER GEOPHYSICAL DATA-USE LICENSE #11429                                                                  $0.00
GX TECHNOLOGY CORPORATION     MINISTRY OF ENERGY AND ENERGY INDUSTRIES        DATA USE AGREEMENT DTD 5/23/2006                                                                            $0.00
ION GEOPHYSICAL CORPORATION   MINISTRY OF ENERGY AND ENERGY INDUSTRIES        DATA USE AGREEMENT DTD 5/23/2006                                                                            $0.00
GX TECHNOLOGY CORPORATION     MINISTRY OF ENERGY AND ENERGY INDUSTRIES        AMENDMENT NO. 1 TO CARIBESPAN SEISMIC PROGRAMME AGREEMENT DTD 9/28/2005                                     $0.00
GX TECHNOLOGY CORPORATION     MINISTRY OF ENERGY AND ENERGY INDUSTRIES        AMENDMENT NO. 2 TO CARIBESPAN SEISMIC PROGRAMME AGREEMENT DTD 9/28/2005                                     $0.00
GX TECHNOLOGY CORPORATION     MINISTRY OF ENERGY AND ENERGY INDUSTRIES        AMENDMENT NO. 3 TO CARIBESPAN SEISMIC PROGRAMME AGREEMENT DTD 9/28/2005                                     $0.00
GX TECHNOLOGY CORPORATION     MINISTRY OF ENERGY AND ENERGY INDUSTRIES        AMENDMENT NO. 4 TO CARIBESPAN SEISMIC PROGRAMME AGREEMENT DTD 9/28/2005                                     $0.00
ION GEOPHYSICAL CORPORATION   MINISTRY OF PETROLEUM RESOURCES,THE             MEGACUBE AGREEMENT DTD 3/22/2021                                                                            $0.00
I/O MARINE SYSTEMS, INC.      MLD APS                                         PROCUREMENT AGREEMENT DTD 9/15/2020                                                                    $14,940.00
ION GEOPHYSICAL CORPORATION   MOODY'S INVESTORS SERVICE                       SERVICE AGREEMENT                                                                                      $20,250.00
ION GEOPHYSICAL CORPORATION   MORGAN STANLEY                                  STOCK PLAN SERVICES AGREEMENT DTD 11/15/2007                                                           $50,149.19
ION GEOPHYSICAL CORPORATION   MORRISON, MICHAEL L                             RESTRICTED STOCK AGREEMENT DTD 3/5/2020                                                                     $0.00
ION GEOPHYSICAL CORPORATION   MORRISON, MICHAEL L                             EMPLOYMENT AGREEMENT DTD 12/22/2020                                                                         $0.00
GX TECHNOLOGY CORPORATION     MOUNTAIN ENERGY CORPORATION                     GEOPHYSICAL DATA-USE LICENSE #11381 DTD 2/26/2013                                                           $0.00
GX TECHNOLOGY CORPORATION     MOUNTAINEER KEYSTONE LLC                        MASTER GEOPHYSICAL DATA-USE LICENSE DTD 7/1/2011                                                            $0.00
GX TECHNOLOGY CORPORATION     MOUNTAINEER KEYSTONE LLC                        SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11179                                               $0.00
GX TECHNOLOGY CORPORATION     MOUNTAINEER KEYSTONE LLC                        SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11179                                               $0.00
GX TECHNOLOGY CORPORATION     MOUNTAINEER KEYSTONE, LLC                       OPTION AGREEMENT DTD 2/24/2012                                                                              $0.00
GX TECHNOLOGY CORPORATION     MUBADALA                                        SEISMIC LICENSE AGREEMENT                                                                                   $0.00
GX TECHNOLOGY CORPORATION     MURPHY EXPLORATION & PRODUCTION CO              MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 10639) DTD 12/23/2013                                          $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 22 of 28


DEBTOR NAME                   COUNTERPARTY                               CONTRACT DESCRIPTION                                                                                 Cure Amount
ION GEOPHYSICAL CORPORATION   MURPHY EXPLORATION & PRODUCTION CO         MASTER PROFESSIONAL TECHNICAL SERVICES AGREEMENT #MPTS-0092-MEPU                                                   $0.00
GX TECHNOLOGY CORPORATION     MURPHY EXPLORATION & PRODUCTION CO         SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10639                                                      $0.00
GX TECHNOLOGY CORPORATION     MURPHY EXPLORATION & PRODUCTION CO         SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10639                                                      $0.00
ION GEOPHYSICAL CORPORATION   NAMCOR EXPLORATION & PRODUCTION PTY LTD    MULTI-CLIENT SEISMIC SERVICES, REVENUE SHARING AND BROKERAGE AGREEMENT DTD 8/31/2020                               $0.00
GX TECHNOLOGY CORPORATION     NATIONAL HYDROCARBONS COMMISION            CONTRACT TO PERFORM SURVEY & SURFACE EXPLORATION ACTIVITIES DTD 5/14/2015                                          $0.00
ION GEOPHYSICAL CORPORATION   NATIONAL OIL COMPANY OF THE CONGO, THE     CONTRACT RELATING TO PSTM AND PSDM REPORCESSING, RTM PROCESSING OF THE SEISMIC DATA OF THE                         $0.00
                                                                         CONGOSPAN I AND CONGOSPAN II CAMPAIGNS AND THEIR MARKETING DTD 12/21/2018
GX TECHNOLOGY CORPORATION     NATIONAL OIL CORPORATION                   LETTER OF UNDERSTANDING FOR DATA REPROCESSING DTD 2/16/2015                                             $3,718,055.09
GX TECHNOLOGY CORPORATION     NATIONAL OIL CORPORATION                   LETTER OF UNDERSTANDING DTD 2/16/2015                                                                           $0.00
ION GEOPHYSICAL CORPORATION   NATIONAL PETROLEUM CORP OF NAMIBIA         AGREEMENT FOR THE ACQUISITION & REVENUE SHARING OF EXCLUSIVE SURVEY FOR NAMBIESPAN PHASE I PROJECT       $655,811.78

GX TECHNOLOGY CORPORATION     NATIONAL SECRETARIAT OF ENERGY             GEOPHYSICAL SURVEYS AGREEMENT MULTICLIENT MODE                                                                  $0.00
ION GEOPHYSICAL CORPORATION   NATL PETROLEUM CORP OF NAMIBIA (PTY) LTD   MULTI-CLIENT SEISMIC SERVICES, REVENUE SHARING AND BROKERAGE AGREEMENT DTD 4/22/2013                            $0.00
ION GEOPHYSICAL CORPORATION   NATL UNION FIRE INS. CO OF PITTSBURGH PA   INSURANCE AGREEMENT RE POLICY #01-701-09-91                                                                     $0.00
ION GEOPHYSICAL CORPORATION   NATL UNION FIRE INS. CO OF PITTSBURGH PA   INSURANCE AGREEMENT RE POLICY #01-701-28-89                                                                     $0.00
GX TECHNOLOGY CORPORATION     NBL CONGO LTD                              MASTER GEOPHYSICAL DATA-USE LICENSE #10531 DTD 8/12/2011                                                        $0.00
GX TECHNOLOGY CORPORATION     NBL SURINAME BV                            MASTER GEOPHYSICAL DATA-USE LICENSE #10531 DTD 8/12/2011                                                        $0.00
GX TECHNOLOGY CORPORATION     NEXEN ENERGY ULC                           MASTER GEOPHYSICAL DATA-USE LICENSE #11409 DTD 8/1/2013                                                         $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM INTERNATIONAL CO           MASTER GEOPHYSICAL DATA-USE LICENSE #10521 DTD 3/17/2006                                                        $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM INTERNATIONAL CO.          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10521                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM INTERNATIONAL CO.          SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10521                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM U.S.A. INC.                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11538                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     MASTER GEOPHYSICAL DATA-USE LICENSE #11409 DTD 8/1/2013                                                         $0.00
ION GEOPHYSICAL CORPORATION   NEXEN PETROLEUM UK LTD                     MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA DTD 7/28/2015                                                    $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA DTD 7/28/2015                                                    $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11409                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11409                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11409                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11409                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11409                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11409                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #11409                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM UK LTD                     SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #11409                                                   $0.00
GX TECHNOLOGY CORPORATION     NEXEN PETROLEUM USA INC                    MASTER GEOPHYSICAL DATA-USE LICENSE #11538 DTD 7/31/2014                                                        $0.00
ION GEOPHYSICAL CORPORATION   NIGERIAN MINISTRY OF PETROLEUM RESOURCES   JOINT VENTURE AGREEMENT - AGREEMENT (DELTASPAN PROJECT) DTD 11/14/2013                                          $0.00
ION GEOPHYSICAL CORPORATION   NIGERIA-SAO TOME JOINT DEV AUTH            AGREEMENT IN RESPECT OF THE WESTAFRICAN SPAN EXPERIMENTAL PROGRAMME                                             $0.00
GX TECHNOLOGY CORPORATION     NIGERIA-SAO TOME JOINT DEV AUTH            AGREEMENT IN RESPECT OF THE WESTAFRICAN SPAN EXPERIMENTAL PROGRAMME                                             $0.00
GX TECHNOLOGY CORPORATION     NIGERIA-SAO TOME JOINT DEV AUTH            WEST AFRICAN SPAN EXPERIMENTAL PROGRAMME                                                                        $0.00
ION GEOPHYSICAL CORPORATION   NINO DE GUZMAN DE LOCK, LUZ FANY           CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11963                                                               $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY CANADA ULC                    MASTER GEOPHYSICAL DATA-USE LICENSE #10531 DTD 8/12/2011                                                        $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           DOMESTIC MASTER SEISMIC PROCESSING AGREEMENT DTD 12/1/2011                                                      $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           MASTER GEOPHYSICAL DATA-USE LICENSE #10531 DTD 8/12/2011                                                        $0.00
ION GEOPHYSICAL CORPORATION   NOBLE ENERGY INC                           MASTER GEOPHYSICAL DATA-USE LICENSE #10531 DTD 8/12/2011                                                        $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 25 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 28 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 31 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 35 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 36 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 38 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE ENERGY INC                           SUPPLEMENT NO. 39 TO MASTER DATA-USE LICENSE AGREEMENT #10531                                                   $0.00
GX TECHNOLOGY CORPORATION     NOBLE PETROLEUM CORPORATION                MASTER SERVICES AGREEMENT FOR GUNFLINT PSDM                                                                     $0.00
GX TECHNOLOGY CORPORATION     NORSK HYDRO PRODUKSJON A.S.                MASTER GEOPHYSICAL DATA-USE LICENSE #10275 DTD 9/30/2004                                                        $0.00
GX TECHNOLOGY CORPORATION     NORSK HYDRO PRODUKSJON A.S.                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10275                                                   $0.00
GX TECHNOLOGY CORPORATION     NORSK HYDRO PRODUKSJON A.S.                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10275                                                   $0.00
GX TECHNOLOGY CORPORATION     NORSK HYDRO PRODUKSJON A.S.                SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10275                                                   $0.00
GX TECHNOLOGY CORPORATION     NORSK HYDRO PRODUKSJON A.S.                SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10275                                                   $0.00
GX TECHNOLOGY CORPORATION     NORSK HYDRO PRODUKSJON A.S.                SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10275                                                   $0.00
GX TECHNOLOGY CORPORATION     NORSK HYDRO PRODUKSJON A.S.                SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10275                                                   $0.00
GX TECHNOLOGY CORPORATION     NORSK HYDRO PRODUKSJON A.S.                SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10275                                                   $0.00
GX TECHNOLOGY CORPORATION     NORTH AFRICA GEOPHYSICAL EXPLORATION CO    AGREEMENT FOR NON-EXCLUSIVE GEOPHYSICAL SURVEY OF THE LIBYAN TERRITORIES                                 $184,205.87
ION GEOPHYSICAL CORPORATION   NORTH AMERICAN SPECIALTY INSURANCE CO      GENERAL INDEMNITY AGREEMENT DTD 11/15/2013                                                                      $0.00
ION GEOPHYSICAL CORPORATION   NORTH OIL COMPANY                          PARENT COMPANY GUARANTEE RE: CONTRACT #4600000391 DTD 8/15/2018                                                 $0.00
GX TECHNOLOGY CORPORATION     NORTH SEA NATURAL RESOURCES LTD            MASTER DATA-USE LICENSE AGREEMENT #12012                                                                        $0.00
GX TECHNOLOGY CORPORATION     NORTH SEA NATURAL RESOURCES LTD            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #12012                                                   $0.00
GX TECHNOLOGY CORPORATION     NORTHEAST NATURAL ENERGY LLC               MASTER GEOPHYSICAL DATA-USE LICENSE #11165 DTD 6/6/2011                                                         $0.00
GX TECHNOLOGY CORPORATION     NORTHEAST NATURAL ENERGY LLC               SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11165                                                   $0.00
ION GEOPHYSICAL CORPORATION   NORTHWESTERN MUTUAL LIFE INSURANCE CO      REAL ESTATE LEASE AGREEMENT                                                                                     $0.00
GX TECHNOLOGY CORPORATION     NORWEGIAN ENERGY COMPANY ASA               MASTER GEOPHYSICAL DATA-USE LICENSE #11026 DTD 1/15/2010                                                        $0.00
GX TECHNOLOGY CORPORATION     NORWEGIAN PETROLEUM DIRECTORATE            MASTER GEOPHYSICAL DATA-USE LICENSE #10708 DTD 5/29/2007                                                        $0.00
GX TECHNOLOGY CORPORATION     NOVA SCOTIA DEPT OF ENERGY                 MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT DTD #10688 4/2/2007                                               $0.00
GX TECHNOLOGY CORPORATION     OFFICE DES MINES ET DES INDUSTRIES         EASTAFRICASPAN GEOLOGICAL STUDY AGREEMENT DTD 12/14/2005                                                $1,306,789.91
ION GEOPHYSICAL CORPORATION   OFFICE NATIONAL DES HYDROCARBURES          GEOPHYSICAL RECONNAISSANCE AGREEMENT                                                                            $0.00
GX TECHNOLOGY CORPORATION     OIL & NATURAL GAS CORPORATION LTD          MASTER GEOPHYSICAL DATA USE LICENSE #10275 DTD 11/3/2005                                                        $0.00
GX TECHNOLOGY CORPORATION     OIL INDIA LTD                              ASSIGNMENT & ASSUMPTION AGREEMENT DTD 6/4/2007                                                                  $0.00
GX TECHNOLOGY CORPORATION     OIL INDIA LTD                              MASTER GEOPHYSICAL DATA-USE LICENSE #10601 DTD 8/7/2006                                                         $0.00
GX TECHNOLOGY CORPORATION     OIL INDIA LTD                              MASTER GEOPHYSICAL DATA-USE LICENSE #10713 DTD 6/7/2007                                                         $0.00
GX TECHNOLOGY CORPORATION     OIL INDIA LTD                              SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10713                                                   $0.00
ION GEOPHYSICAL CORPORATION   OJSC NK ROSNEFT                            MASTER GEOPHYSICAL DATA-USE LICENSE #100013/05528D DTD 12/31/2013                                               $0.00
GX TECHNOLOGY CORPORATION     OMV (NORGE) AS                             MASTER GEOPHYSICAL DATA-USE LICENSE #11044 DTD 3/15/2010                                                        $0.00
GX TECHNOLOGY CORPORATION     OMV (NORGE) AS                             SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11044                                                   $0.00
GX TECHNOLOGY CORPORATION     OMV (NORGE) AS                             SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11044                                                   $0.00
GX TECHNOLOGY CORPORATION     OMV (NORGE) AS                             SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11044                                                   $0.00
GX TECHNOLOGY CORPORATION     OMV EXPLORATION AND PRODUCTION GMBH        MASTER GEOPHYSICAL DATA-USE LICENSE DTD 3/2/2010                                                                $0.00
GX TECHNOLOGY CORPORATION     OMV PETROM GEORGIA LLC                     MASTER GEOPHYSICAL DATA-USE LICENSE #12046 DTD 12/13/2021                                                       $0.00
GX TECHNOLOGY CORPORATION     OMV PETROM SA                              MASTER GEOPHYSICAL DATA-USE LICENSE #12046 DTD 12/13/2021                                                       $0.00
GX TECHNOLOGY CORPORATION     ONEO GMBH (WAS RDG)                        RAG-0217-01                                                                                                     $0.00
GX TECHNOLOGY CORPORATION     ONGC LIMITED                               MASTER DATA USE LICENSE AGREEMENT DTD 11/3/2005                                                                 $0.00
GX TECHNOLOGY CORPORATION     ONGC VIDESH LTD                            MASTER GEOPHYSICAL DATA USE LICENSE #10275 DTD 11/3/2005                                                        $0.00
ION GEOPHYSICAL CORPORATION   OOO LUKOIL-ENGINEERING                     MASTER GEOPHYSICAL DATA-USE LICENSE #11534 DTD 2/7/2018                                                         $0.00
GX TECHNOLOGY CORPORATION     OOO LUKOIL-ENGINEERING                     MASTER GEOPHYSICAL DATA-USE LICENSE #11534 DTD 2/7/2018                                                         $0.00
GX TECHNOLOGY CORPORATION     OPHIR GABON (MANGA) LTD                    MASTER GEOPHYSICAL DATA-USE LICENSE #10632 DTD 12/19/2016                                                       $0.00
GX TECHNOLOGY CORPORATION     OPHIR HOLDINGS & SERVICES (UK) LTD         MASTER GEOPHYSICAL DATA USE LICENSE #10632 DTD 8/11/2016                                                        $0.00
GX TECHNOLOGY CORPORATION     OPHIR HOLDINGS & SERVICES (UK) LTD         SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10632                                                   $0.00
GX TECHNOLOGY CORPORATION     OPHIR HOLDINGS & SERVICES (UK) LTD         SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10632                                                   $0.00
GX TECHNOLOGY CORPORATION     OPHIR HOLDINGS & SERVICES (UK) LTD         SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10632                                                   $0.00
ION GEOPHYSICAL CORPORATION   ORACLE AMERICA, INC.                       ORACLE LICENSE AND SERVICES AGREEMENT DTD 5/24/2012                                                             $0.00
GX TECHNOLOGY CORPORATION     ORX EXPLORATION INC                        MASTER GEOPHYSICAL DATA-USE LICENSE #11081                                                                      $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 23 of 28


DEBTOR NAME                   COUNTERPARTY                             CONTRACT DESCRIPTION                                                                                   Cure Amount
GX TECHNOLOGY CORPORATION     ORX EXPLORATION INC                      SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11081                                                     $0.00
GX TECHNOLOGY CORPORATION     OVL                                      LETTER OF COMMITMENT DTD 12/13/2005                                                                               $0.00
GX TECHNOLOGY CORPORATION     OXY USA INC                              MASTER GEOPHYSICAL DATA-USE LICENSE #11948 DTD 8/8/2019                                                           $0.00
GX TECHNOLOGY CORPORATION     OXY USA INC                              MASTER SERVICES AGREEMENT DTD 10/12/2011                                                                          $0.00
GX TECHNOLOGY CORPORATION     OXY USA INC                              SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11948                                                     $0.00
ION GEOPHYSICAL CORPORATION   P.T. CHANDRA BUMI SAKTI                  AMENDMENT NO. 2 TO CONSULTING AGREEMENT #11879 DTD 12/10/2021                                                     $0.00
GX TECHNOLOGY CORPORATION     PACIFIC BRASIL EXPL E PROD DE OLEO E     MASTER GEOPHYSICAL DATA-USE LICENSE #11477 DTD 12/27/2013                                                         $0.00
GX TECHNOLOGY CORPORATION     PACIFIC BRASIL EXPL E PROD DE OLEO E     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11477                                                     $0.00
GX TECHNOLOGY CORPORATION     PACIFIC BRASIL EXPL E PROD DE OLEO E     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11477                                                     $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       11318-00                                                                                                          $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT 11318-02 (CONGOSPAN II)                                    $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT 11318-02 (GABON DEEPTOW)                                   $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 11318-04 (CONGOSPAN I)                                     $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 11318-04 (CONGOSPAN I (REPROCESSING))                      $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT 11318-06 (EQUATORSPAN - GABON)                             $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 11318-07 (CONGOSPAN I)                                     $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 11318-07 (CONGOSPAN I (REPROCESSING))                      $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT 11318-08 (EQUATORSPAN - GABON)                             $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT 11318-09 (GABON DEEPTOW)                                   $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT 11318-10 (EQUATORSPAN - CAMEROON)                          $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT 11318-12 (CONGOSPAN I)                                     $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT 11318-12 (CONGOSPAN I (REPROCESSING))                      $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT 11318-12 (EQUATORSPAN - GABON)                             $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT 11318-13 (EQUATORSPAN - GABON)                             $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT 11318-13 (NIGERIASPAN)                                     $0.00
GX TECHNOLOGY CORPORATION     PAN ATLANTIC GROUP                       SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT 11318-13 (NIGERIASPAN II)                                  $0.00
GX TECHNOLOGY CORPORATION     PARAGON GEOPHYSICAL                      PRGN-0504                                                                                                         $0.00
ION GEOPHYSICAL CORPORATION   PARKER LYNCH                             CONTRACT FOR PLACEMENT OF PERSONNEL DTD 8/21/2018                                                            $43,700.00
GX TECHNOLOGY CORPORATION     PEARLOIL (K) LIMITED                     GEOPHYSICAL DATA-USE LICENSE #10985                                                                               $0.00
ION GEOPHYSICAL CORPORATION   PEARLOIL (K) LIMITED                     GEOPHYSICAL DATA-USE LICENSE #10985                                                                               $0.00
GX TECHNOLOGY CORPORATION     PENNENERGY RESOURCES LLC                 MASTER LICENSE AGREEMENT #11739 DTD 09/25/2017                                                                    $0.00
GX TECHNOLOGY CORPORATION     PENNENERGY RESOURCES LLC                 SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11739                                                     $0.00
ION GEOPHYSICAL CORPORATION   PEREZ, GLADYS                            CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11845                                                                 $0.00
GX TECHNOLOGY CORPORATION     PERUPETRO SA                             AGREEMENT ON THE PERUSPAN PROGRAM DTD 1/17/2008                                                                   $0.00
GX TECHNOLOGY CORPORATION     PERUPETRO SA                             ADDENDUM TO THE PERUSPAN PROGRAM AGREEMENT DTD 1/17/2008                                                          $0.00
GX TECHNOLOGY CORPORATION     PETRO RIO JAGUAR PETROLEO LTDA           MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT (GXT NO. 12001) DTD 12/29/2020                                      $0.00
GX TECHNOLOGY CORPORATION     PETRO RIO JAGUAR PETROLEO LTDA           SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #12001                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS AMERICA INC                    MASTER GEOPHYSICAL DATA-USE LICENSE #10425 DTD 10/3/2005                                                          $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS AMERICA INC                    MASTER GEOPHYSICAL DATA-USE LICENSE DTD 10/3/2005                                                                 $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS COLOMBIA LTD                   LETTER OF COMMITMENT - COLOMBIASPAN                                                                               $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS ENERGIA SA                     MASTER GEOPHYSICAL DATA-USE LICENSE #10744 DTD 7/16/2007                                                          $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     MASTER GEOPHYSICAL DATA-USE LICENSE #10425 DTD 10/3/2005                                                          $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10425                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10425                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10425                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10425                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10425                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10425                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10425                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10425                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROBRAS INTERNATIONAL BRASPETRO BV     SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10425                                                     $0.00
GX TECHNOLOGY CORPORATION     PETROLEO BRASILEIRO SA                   MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 10743) DTD 7/16/2007                                                 $0.00
ION GEOPHYSICAL CORPORATION   PETROLEO BRASILEIRO SA                   NON-EXCLUSIVE GEOPHYSICAL DATA USE LICENSE AGREEMENT                                                              $0.00
GX TECHNOLOGY CORPORATION     PETROLEO BRASILEIRO SA                   NON-EXCLUSIVE GEOPHYSICAL DATA USE LICENSE AGREEMENT                                                              $0.00
GX TECHNOLOGY CORPORATION     PETROLEUM COMMISION GHANA                OFFSHORE GHANA, SPAN STUDY AGREEMENT DTD 9/21/2015                                                                $0.00
GX TECHNOLOGY CORPORATION     PETROLEUM COMMISSION GHANA               OFFSHORE GHANA SPAN STUDY AGREEMENT                                                                               $0.00
ION GEOPHYSICAL CORPORATION   PETROLEUM GEO-SERVICES                   MASTER SERVICES AGREEMENT DTD 6/4/2019                                                                            $0.00
ION GEOPHYSICAL CORPORATION   PETROLEUM RESOURCES                      FIRST PROJECT SUPPLEMENT AGREEMENT PERTAINING TO THE AGREEMENT FOR THE DELTASPAN PROJECT                          $0.00
GX TECHNOLOGY CORPORATION     PETRONAS CARIGALI SDN BHD                MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT #10465 DTD 11/30/2005                                               $0.00
GX TECHNOLOGY CORPORATION     PETRONAS CARIGALI SDN BHD                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10465                                                     $0.00
GX TECHNOLOGY CORPORATION     PETRONAS CARIGALI SDN BHD                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10465                                                     $0.00
GX TECHNOLOGY CORPORATION     PETRONAS CARIGALI SDN BHD                SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10465                                                     $0.00
GX TECHNOLOGY CORPORATION     PETRONAS CARIGALI SDN BHD                SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10465                                                     $0.00
GX TECHNOLOGY CORPORATION     PETRONAS CARIGALI SDN BHD                SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10465                                                     $0.00
GX TECHNOLOGY CORPORATION     PETRONAS CARIGALI SDN BHD                SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10465                                                     $0.00
GX TECHNOLOGY CORPORATION     PETRONAS CARIGALI SDN BHD                SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10465                                                     $0.00
GX TECHNOLOGY CORPORATION     PETRONAS SURINAME EXPLORATION &          MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT #10465 DTD 11/30/2005                                               $0.00
GX TECHNOLOGY CORPORATION     PETROSEYCHELLES COMPANY LTD              BROKERAGE OF EASTAFRICASPAN DATA SET AGREEMENT                                                                    $0.00
GX TECHNOLOGY CORPORATION     PGNIG SA                                 PGNIG-1503                                                                                                        $0.00
ION GEOPHYSICAL CORPORATION   PGS EXPLORATION (UK) LTD                 HARMONISAITON AGREEMENT DTD 8/18/2016                                                                             $0.00
ION GEOPHYSICAL CORPORATION   PGS GEOPHYSICAL AS                       MASTER SERVICES AGREEMENT DTD 5/4/2022                                                                            $0.00
I/O MARINE SYSTEMS, INC.      PITNEY BOWES INC.                        ORDER #0040773524 DTD 11/2/2018                                                                                   $0.00
GX TECHNOLOGY CORPORATION     PLUSPETROL RESOURCES CORPORATION B V     MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT GXT NO. 11802 DTD 11/12/2018                                        $0.00
GX TECHNOLOGY CORPORATION     PLUSPETROL SA                            MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT GXT NO. 11443 DTD 9/16/2013                                         $0.00
GX TECHNOLOGY CORPORATION     PLUSPETROL SA                            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11802                                                     $0.00
ION GEOPHYSICAL CORPORATION   POLAR MARINE LTD                         CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11898                                                                 $0.00
ION GEOPHYSICAL CORPORATION   POLARCUS DMMC                            PROJECT AGREEMENT NO 2 TO THE MULTI-CLIENT STRATEGIC OPERATING ALLIANCE AGREEMENT DTD 9/13/2014                   $0.00
ION GEOPHYSICAL CORPORATION   POLARCUS MC LTD                          MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA #1104 DTD 9/20/2011                                                $0.00
GX TECHNOLOGY CORPORATION     POLARCUS MC LTD                          MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA #1104 DTD 9/20/2011                                                $0.00
ION GEOPHYSICAL CORPORATION   POLARCUS MC LTD                          MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA #1401 DTD 2/14/2014                                                $0.00
GX TECHNOLOGY CORPORATION     POLARCUS MC LTD                          MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA #1401 DTD 2/14/2014                                                $0.00
GX TECHNOLOGY CORPORATION     POLARCUS MC LTD                          MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA #1409 DTD 10/30/2014                                               $0.00
ION GEOPHYSICAL CORPORATION   POLARCUS MC LTD                          MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA #1409 DTD 10/30/2014                                               $0.00
GX TECHNOLOGY CORPORATION     POLARCUS MC LTD                          MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA DTD 10/21/2011                                                     $0.00
ION GEOPHYSICAL CORPORATION   POLARCUS MC LTD                          MASTER LICENSE AGREEMENT FOR MULTI-CLIENT DATA DTD 10/21/2011                                                     $0.00
ION GEOPHYSICAL CORPORATION   POLARCUS MC LTD                          MULTI-CLIENT STRATEGIC OPERATING ALLIANCE AGREEMENT DTD 6/25/2013                                                 $0.00
ION GEOPHYSICAL CORPORATION   POLARCUS MC LTD                          MULTI-CLIENT STRATEGIC OPERATING ALLIANCE AGREEMENT DTD 7/25/2013                                                 $0.00
ION GEOPHYSICAL CORPORATION   POLARCUS MC LTD                          PROJECT AGREEMENT NO. 1 TO THE MULTI-CLIENT STRATEGIC OPERATING ALLIANCE AGREEMENT DTD 6/28/2014                  $0.00
GX TECHNOLOGY CORPORATION     PREMIER OIL HOLDINGS LTD.                MASTER DATA-USE LICENSE AGREEMENT #11360                                                                          $0.00
GX TECHNOLOGY CORPORATION     PREMIER OIL HOLDINGS LTD.                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11360                                                     $0.00
GX TECHNOLOGY CORPORATION     PREMIER OIL HOLDINGS LTD.                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11360                                                     $0.00
GX TECHNOLOGY CORPORATION     PREMIER OIL HOLDINGS LTD.                SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11360                                                     $0.00
GX TECHNOLOGY CORPORATION     PREMIER OIL HOLDINGS LTD.                SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11360                                                     $0.00
GX TECHNOLOGY CORPORATION     PREMIER OIL HOLDINGS LTD.                SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11360                                                     $0.00
ION GEOPHYSICAL CORPORATION   PRICE FORBES & PARTNERS LTD              INSURANCE AGREEMENT RE POLICY #B0507CG2101822                                                                     $0.00
ION GEOPHYSICAL CORPORATION   PRICE FORBES & PARTNERS LTD              INSURANCE AGREEMENT RE POLICY #B0507RA2100016                                                                     $0.00
ION GEOPHYSICAL CORPORATION   PRICE FORBES & PARTNERS LTD              INSURANCE AGREEMENT RE POLICY #B0507TE2100490                                                                     $0.00
ION GEOPHYSICAL CORPORATION   PRINCIPAL CUSTODY SOLUTIONS              INPUT/OUTPUT, INC SUPPLEMENTAL EXECUTIVE RETIREMENT PLAN DTD 11/24/2020                                        $890.00
GX TECHNOLOGY CORPORATION     PROSPECTIUNI S.A.                        PRTI-1803                                                                                                         $0.00
GX TECHNOLOGY CORPORATION     PROSPECTOR PTE LTD                       MASTER GEOPHYSICAL SERVICE AGREEMENT DTD 5/11/2012                                                                $0.00
GX TECHNOLOGY CORPORATION     PROVIDENCE RESOURCES PLC                 MASTER GEOPHYSICAL DATA-USE LICENSE #10742 DTD 7/3/2007                                                           $0.00
ION GEOPHYSICAL CORPORATION   PROVIDENCE RESOURCES PLC                 MASTER GEOPHYSICAL DATA-USE LICENSE #10742 DTD 7/3/2007                                                           $0.00
ION GEOPHYSICAL CORPORATION   PT CHANDRA BUMI SAKTI                    GEOPHYSICAL DATA-USE LICENSE #10985 DTD 08/01/2007                                                                $0.00
GX TECHNOLOGY CORPORATION     PT CHANDRA BUMI SAKTI                    GEOPHYSICAL DATA-USE LICENSE #10985 DTD 08/01/2007                                                                $0.00
ION GEOPHYSICAL CORPORATION   PTT EXPLORATION & PROD PUBLIC CO LTD     GEOPHYSICAL DATA-USE LICENSE #11457 DTD 11/7/2013                                                                 $0.00
GX TECHNOLOGY CORPORATION     PTT EXPLORATION & PROD PUBLIC CO LTD     GEOPHYSICAL DATA-USE LICENSE #11457 DTD 11/7/2013                                                                 $0.00
GX TECHNOLOGY CORPORATION     PTT EXPLORATION & PRODUCTION             PTT-0505                                                                                                          $0.00
GX TECHNOLOGY CORPORATION     PUNTLAND PETROLEUM & MINERALS AGENCY     AGREEMENT FOR THE ACQUISITION, PROCESSING, IMAGING, INTERPRETATION, MARKETING, LICENSING AND REVENUE              $0.00
                                                                       SHARING OF NON-EXCLUSIVE 2D OFFSHORE SEISMIC DATA IN PUTLAND STATE OF SOMALIA
GX TECHNOLOGY CORPORATION     PUNTLAND PETROLEUM AND MINERALS AGENCY   PUNTLANDSPAN SEISMIC PROGRAM AGREEMENT DTD 12/14/2014                                                                $0.00
GX TECHNOLOGY CORPORATION     PUNTLAND PETROLEUM AND MINERALS AGENCY   AMENDMENT NO. 4 TO PUNTLANDSPAN SEISMIC PROGRAM AGREEMENT DTD 12/14/2014                                             $0.00
GX TECHNOLOGY CORPORATION     PUNTLAND PETROLEUM AND MINERALS AGENCY   AMENDMENT NO. 1 TO PUNTLANDSPAN SEISMIC PROGRAM AGREEMENT DTD 12/14/2014                                             $0.00
GX TECHNOLOGY CORPORATION     QATAR PETROLEUM INTERNATIONAL LTD        MASTER GEOPHYSICAL & GEOLOGICAL NON-EXCLUSIVE DATA-USE LICENSE #11731 DTD 2/10/2021                                  $0.00
GX TECHNOLOGY CORPORATION     QATAR PETROLEUM INTERNATIONAL LTD        SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11731                                                        $0.00
GX TECHNOLOGY CORPORATION     QATAR PETROLEUM INTERNATIONAL LTD        SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11731                                                        $0.00
GX TECHNOLOGY CORPORATION     QUIVER OIL & GAS (PTY) LTD               MASTER GEOPHYSICAL DATA-USE LICENSE #11567 DTD 11/13/2014                                                            $0.00
GX TECHNOLOGY CORPORATION     QUIVER OIL & GAS (PTY) LTD               SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11567                                                        $0.00
ION GEOPHYSICAL CORPORATION   RADIX TECHNOLOGIES                       CONSULTING SERVICES AGREEMENT DTD 7/29/2010                                                                          $0.00
GX TECHNOLOGY CORPORATION     RADIX TECHNOLOGIES INDIA LTD             GEOPHYSICAL SERVICES AGENTS AGREEMENT DTD 4/8/2005                                                                   $0.00
GX TECHNOLOGY CORPORATION     RAK GAS MB45 LTD                         MASTER GEOPHYSICAL DATA-USE LICENSE #11860 DTD 12/6/2018                                                             $0.00
GX TECHNOLOGY CORPORATION     RAKGAS LLC                               MASTER GEOPHYSICAL DATA-USE LICENSE #11860 DTD 12/6/2018                                                             $0.00
ION GEOPHYSICAL CORPORATION   RAKGAS LLC                               MASTER GEOPHYSICAL DATA-USE LICENSE #11860 DTD 12/6/2018                                                             $0.00
GX TECHNOLOGY CORPORATION     RAKGAS LLC                               SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11860                                                        $0.00
GX TECHNOLOGY CORPORATION     RAKGAS LLC                               SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11860                                                        $0.00
GX TECHNOLOGY CORPORATION     RAKGAS ZANZIBAR LTD                      MASTER GEOPHYSICAL DATA-USE LICENSE #11860 DTD 12/6/2018                                                             $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 24 of 28


DEBTOR NAME                   COUNTERPARTY                              CONTRACT DESCRIPTION                                                                                     Cure Amount
ION GEOPHYSICAL CORPORATION   RAMTECH SOFTWARE SOLUTIONS INC            CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11907 DTD 2/7/2020                                                 $14,700.00
GX TECHNOLOGY CORPORATION     RANGE RESOURCES CORPORATION               LETTER OF COMMITMENT DTD 7/29/2010                                                                                  $0.00
GX TECHNOLOGY CORPORATION     RANGE RESOURCES CORPORATION               MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11088 DTD 7/29/2010                                                     $0.00
GX TECHNOLOGY CORPORATION     RANGE RESOURCES CORPORATION               SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11088                                                       $0.00
GX TECHNOLOGY CORPORATION     RATIO PETROLEUM LTD                       MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 11772) DTD 11/28/2017                                                  $0.00
GX TECHNOLOGY CORPORATION     RATIO PETROLEUM LTD                       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11772                                                       $0.00
ION GEOPHYSICAL CORPORATION   RDG FILINGS                               EDGAR CONVERSION AND FILING PORTAL, XBRL TAGGING AND CONSULTATION, & RELATED SERVICES CONTRACT DTD                  $0.00
                                                                        9/16/2020
ION GEOPHYSICAL CORPORATION   REIGH-SHORE ENERGY SERVICES LIMITED       MEGACUBE AGREEMENT DTD 3/22/2021                                                                                    $0.00
ION GEOPHYSICAL CORPORATION   REINSURANCE AMERICA CORP                  GENERAL INDEMNITY AGREEMENT                                                                                         $0.00
GX TECHNOLOGY CORPORATION     RELIANCE INDUSTRIES LIMITED               11107-00                                                                                                            $0.00
GX TECHNOLOGY CORPORATION     RELIANCE INDUSTRIES LTD                   MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 10539) DTD 5/29/2006                                                   $0.00
GX TECHNOLOGY CORPORATION     RELIANCE INDUSTRIES LTD                   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10539                                                       $0.00
GX TECHNOLOGY CORPORATION     RELIANCE INDUSTRIES LTD                   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11101                                                       $0.00
GX TECHNOLOGY CORPORATION     RELIANCE INDUSTRIES LTD                   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11302                                                       $0.00
GX TECHNOLOGY CORPORATION     RELIANCE INDUSTRIES LTD                   SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10539                                                       $0.00
GX TECHNOLOGY CORPORATION     RELIANCE INDUSTRIES LTD                   SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10539                                                       $0.00
GX TECHNOLOGY CORPORATION     RELIANCE INDUSTRIES LTD                   SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10539                                                       $0.00
GX TECHNOLOGY CORPORATION     RELIANCE MARCELLUS I LLC                  MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 11302) DTD 6/11/2012                                                   $0.00
GX TECHNOLOGY CORPORATION     RELIANCE MARCELLUS II LLC                 MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 11101) DTD 2/15/2012                                                   $0.00
GX TECHNOLOGY CORPORATION     REPSOL E&P T&T LTD                        MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 10477) DTD 11/30/2005                                                  $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION COLOMBIA SA            MASTER SERVICE AGREEMENT #10467 DTD 11/1/2005                                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION IRLANDA SA             MASTER GEOPHYSICAL DATA-USE LICENSE #10743 DTD 11/8/2007                                                            $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     MASTER GEOPHYSICAL DATA-USE LICENSE #10743 DTD 11/8/2007                                                            $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10467                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL EXPLORACION SA                     SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10743                                                       $0.00
GX TECHNOLOGY CORPORATION     REPSOL LOUISIANA CORP                     MASTER GEOPHYSICAL DATA-USE LICENSE #10743 DTD 11/8/2007                                                            $0.00
GX TECHNOLOGY CORPORATION     REPSOL SERVICES COMPANY                   MASTER GEOPHYSICAL DATA-USE LICENSE #10743 DTD 11/8/2007                                                            $0.00
GX TECHNOLOGY CORPORATION     REPSOL YPF SA                             SEISMIC LICENSE AGREEMENT                                                                                           $0.00
ION GEOPHYSICAL CORPORATION   REPSOL YPF SA                             SEISMIC LICENSE AGREEMENT                                                                                           $0.00
GX TECHNOLOGY CORPORATION     REPUBLIC OF BENIN - MINISTRY OF ENERGY    GOVERNMENTAL ROYALTY AGREEMENT - REGIONAL GEOPHYSICAL AND GEOLOGICAL SURVEY CONTRACT                                $0.00
GX TECHNOLOGY CORPORATION     REPUBLIC OF CONGO                         GOVERNMENTAL ROYALTY AGREEMENT RELATING TO PSTM AND PSDM REPORCESSING, RTM PROCESSING OF THE                   $53,424.00
                                                                        SEISMIC DATA OF THE CONGOSPAN I AND CONGOSPAN II CAMPAIGNS AND THEIR MARKETING
ION GEOPHYSICAL CORPORATION   REPUBLIC OF CONGO                         GOVERNMENTAL ROYALTY AGREEMENT RELATING TO PSTM AND PSDM REPORCESSING, RTM PROCESSING OF THE                           $0.00
                                                                        SEISMIC DATA OF THE CONGOSPAN I AND CONGOSPAN II CAMPAIGNS AND THEIR MARKETING
GX TECHNOLOGY CORPORATION     REPUBLIC OF KENYA                         AGREEMENT FOR ACQUISITION OF 3D MULTI-CLIENT SEISMIC DATA, REPROCESSING 3D & 2D SEISMIC DATA ET AL DTD                 $0.00
                                                                        3/23/2021
ION GEOPHYSICAL CORPORATION   REPUBLIC OF PANAMA                        GOVERNMENTAL ROYALTY AGREEMENT DTD 7/24/2017                                                                  $278,556.92
GX TECHNOLOGY CORPORATION     REPUBLIC OF PANAMA                        GOVERNMENTAL ROYALTY AGREEMENT DTD 7/24/2017                                                                        $0.00
GX TECHNOLOGY CORPORATION     REPUBLIC OF PANAMA - MINISTRY OF THE      GEOPHYSICAL SURVEYS AGREEMENT MULTICLIENT MODE                                                                      $0.00
                              PRESIDENCY
GX TECHNOLOGY CORPORATION     REPUBLIC OF TRINIDAD & TOBAGO, THE        CARIBESPAN SEISMIC PROGRAMEE AGREEMENT DTD 9/28/2005                                                         $522,280.39
GX TECHNOLOGY CORPORATION     REPUBLIC OF TRINIDAD & TOBAGO, THE        CARIBESPAN SEISMIC PROGRAMEE AGREEMENT DTD 9/28/2005                                                                $0.00
GX TECHNOLOGY CORPORATION     RHINO RESOURCES LTD                       MASTER GEOPHYSICAL DATA-USE LICENSE #11699 DTD 3/10/2017                                                            $0.00
ION GEOPHYSICAL CORPORATION   RICHARD WAYNE & ROBERTS INC               CONTRACT FOR PLACEMENT OF PERSONNEL DTD 3/7/2019                                                                    $0.00
ION GEOPHYSICAL CORPORATION   ROBERT HALF INTERNATIONAL INC.            CONTRACT FOR THE PLACEMENT OF PERSONNEL DTD 3/1/2018                                                                $0.00
GX TECHNOLOGY CORPORATION     ROC OIL (MADAGASCAR) PTY LTD              MASTER GEOPHYSICAL DATA-USE LICENSE #10903 DTD 11/20/2008                                                           $0.00
GX TECHNOLOGY CORPORATION     ROC OIL COMPANY LTD                       MASTER GEOPHYSICAL DATA-USE LICENSE #10903 DTD 11/20/2008                                                           $0.00
GX TECHNOLOGY CORPORATION     ROC OIL COMPANY LTD                       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10903                                                       $0.00
ION GEOPHYSICAL CORPORATION   RODERMUND, SHELIA                         GRANT AGREEMENT FOR NON-STATUTORY STOCK OPTION DTD 12/1/2019                                                        $0.00
ION GEOPHYSICAL CORPORATION   RODERMUND, SHELIA                         RESTRICTED STOCK AGREEMENT                                                                                          $0.00
ION GEOPHYSICAL CORPORATION   ROMICA KOREA CO                           CONSULTING/PROFESSIONAL SERVICES AGREEMENT #11719                                                                   $0.00
GX TECHNOLOGY CORPORATION     ROSNEFT BRASIL E&P LTDA                   MASTER GEOPHYSICAL DATA-USE LICENSE #10794 DTD 3/31/2017                                                            $0.00
GX TECHNOLOGY CORPORATION     ROSNEFT BRASIL E&P LTDA                   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10794                                                       $0.00
GX TECHNOLOGY CORPORATION     ROSNEFT BRASIL E&P LTDA                   SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #00013                                                       $0.00
GX TECHNOLOGY CORPORATION     ROSNEFT BRASIL E&P LTDA                   SUPPLEMENT NO. XX TO MASTER DATA-USE LICENSE AGREEMENT #10795                                                       $0.00
GX TECHNOLOGY CORPORATION     RSTACK WALNUT LLC                         MASTER GEOPHYSICAL DATA-USE LICENSE #11975 DTD 10/19/2020                                                           $0.00
GX TECHNOLOGY CORPORATION     RSTACK WALNUT LLC                         SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11975                                                       $0.00
GX TECHNOLOGY CORPORATION     RWE DEA AG                                MASTER GEOPHYSICAL DATA-USE LICENSE #11307 DTD 12/18/2013                                                           $0.00
GX TECHNOLOGY CORPORATION     RWE DEA AG                                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11307                                                       $0.00
GX TECHNOLOGY CORPORATION     RWE DEA NORGE AS                          MASTER GEOPHYSICAL DATA-USE LICENSE #11032 DTD 9/10/2010                                                            $0.00
ION GEOPHYSICAL CORPORATION   SAFESITE INC                              SAFEKEEPING AGREEMENT (ACCOUNT #005649) DTD 2/5/2014                                                                $3.00
GX TECHNOLOGY CORPORATION     SANTOS INTERNATIONAL OPERATIONS PTY LTD   MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 10607) DTD 8/4/2006                                                    $0.00
GX TECHNOLOGY CORPORATION     SANTOS INTERNATIONAL OPERATIONS PTY LTD   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10607                                                       $0.00
GX TECHNOLOGY CORPORATION     SANTOS INTERNATIONAL OPERATIONS PTY LTD   SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10607                                                       $0.00
GX TECHNOLOGY CORPORATION     SANTOS LTD                                MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 10607) DTD 8/4/2006                                                    $0.00
GX TECHNOLOGY CORPORATION     SASOL PETROLEUM AUSTRALIA LTD             MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 11452) DTD 10/15/2013                                                  $0.00
GX TECHNOLOGY CORPORATION     SASOL PETROLEUM AUSTRALIA LTD             SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11539                                                       $0.00
GX TECHNOLOGY CORPORATION     SASOL PETROLEUM AUSTRALIA LTD             SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11539                                                       $0.00
GX TECHNOLOGY CORPORATION     SASOL PETROLEUM AUSTRALIA LTD             SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11539                                                       $0.00
GX TECHNOLOGY CORPORATION     SASOL PETROLEUM INTERNATIONAL (PTY) LTD   MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 11539) DTD 12/11/2014                                                  $0.00
ION GEOPHYSICAL CORPORATION   SASOL UK LTD                              MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 11539) DTD 12/11/2014                                                  $0.00
GX TECHNOLOGY CORPORATION     SASOL UK LTD                              MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 11539) DTD 12/11/2014                                                  $0.00
ION GEOPHYSICAL CORPORATION   SCOTIA OIL & GAS EXPLORATION LTD          MASTER GEOPHYSICAL DATA-USE LICENSE #11384 DTD 2/28/2013                                                            $0.00
ION GEOPHYSICAL CORPORATION   SCOTTISH ENTERPRISE                       GRANT TO CONCEPT SYSTEMS CONTRACT DTD 1/10/2020                                                                     $0.00
ION GEOPHYSICAL CORPORATION   SCOTTISH ENTERPRISE                       GRANT TO CONCEPT SYSTEMS CONTRACT DTD 2/9/2017                                                                      $0.00
ION GEOPHYSICAL CORPORATION   SCOTTISH ENTERPRISE                       GRANT TO CONCEPT SYSTEMS CONTRACT DTD 8/6/2018                                                                      $0.00
ION GEOPHYSICAL CORPORATION   SEAMAP USA LTD                            MASTER GEOPHYSICAL SERVICE AGREEMENT DTD 4/7/2020                                                                   $0.00
I/O MARINE SYSTEMS, INC.      SEAPORT SHIPPING (PVT) LTD                CONSULTING/PROFESSIONAL SERVICES AGREEMENT DTD 2/25/2021                                                            $0.00
ION GEOPHYSICAL CORPORATION   SEISGADGET LIMITED                        CONSULTING SERVICES AGREEMENT #12049 DTD 1/21/2022                                                                  $0.00
GX TECHNOLOGY CORPORATION     SEISMIC EXCHANGE INC                      LANDSPAN 2D DATA REPROCESSING AGREEMENT DTD 1/26/2006                                                               $0.00
GX TECHNOLOGY CORPORATION     SEISMIC EXCHANGE INC                      ROYALTY AGREEMENT DTD 11/13/2014                                                                                    $0.00
GX TECHNOLOGY CORPORATION     SEISMIC EXCHANGE INC                      ROYALTY AGREEMENT DTD 11/17/2010                                                                                    $0.00
GX TECHNOLOGY CORPORATION     SEISMIC EXCHANGE INC                      ROYALTY AGREEMENT DTD 5/6/2008                                                                                      $0.00
GX TECHNOLOGY CORPORATION     SEITEL, INC.                              SEIT-0506                                                                                                           $0.00
GX TECHNOLOGY CORPORATION     SETLITE INC                               GEOPHYSICAL SERVICES CONSULTING COMPANY AGREEMENT                                                                   $0.00
GX TECHNOLOGY CORPORATION     SEYCHELLES PETROLEUM COMPANY LTD          EASTAFRICASPAN GEOLOGICAL STUDY AGREEMENT DTD 9/6/2008                                                              $0.00
GX TECHNOLOGY CORPORATION     SHEARWATER GEOSERVICES LIMITED            MASTER COOPERATION AGREEMENT DTD 5/2/2018                                                                   $9,915,982.00
GX TECHNOLOGY CORPORATION     SHEARWATER GEOSERVICES LIMITED            SUPPLEMENTAL AGREEMENT NO. 1 TO MASTER COOPERATION AGREEMENT DTD 5/2/2018                                           $0.00
GX TECHNOLOGY CORPORATION     SHEARWATER GEOSERVICES LIMITED            SUPPLEMENTAL AGREEMENT NO. 2 TO MASTER COOPERATION AGREEMENT DTD 5/2/2018                                           $0.00
GX TECHNOLOGY CORPORATION     SHELL CANADA ENERGY                       MASTER GEOPHYSICAL DATA-USE LICENSE #10822 DTD 2/26/2008                                                            $0.00
GX TECHNOLOGY CORPORATION     SHELL DEVELOPMENT (AUSTRALIA) PTY LTD     MASTER GEOPHYSICAL DATA-USE LICENSE #11394 DTD 7/23/2013                                                            $0.00
GX TECHNOLOGY CORPORATION     SHELL EXPLORATION & PROD GUYANA LTD       MASTER GEOPHYSICAL DATA-USE LICENSE #10430 DTD 12/11/2002                                                           $0.00
GX TECHNOLOGY CORPORATION     SHELL GLOBAL SOLUTIONS (US) INC           CARIBESPAN DATA REQUEST DTD 9/15/2006                                                                               $0.00
GX TECHNOLOGY CORPORATION     SHELL INTERNATIONAL E&P BV                MASTER GEOPHYSICAL DATA-USE LICENSE #10430 DTD 12/11/2002                                                           $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   MASTER GEOPHYSICAL DATA-USE LICENSE #10430 DTD 12/11/2002                                                           $0.00
ION GEOPHYSICAL CORPORATION   SHELL INT'L EXPLORATION & PRODUCTION BV   MASTER GEOPHYSICAL DATA-USE LICENSE #10430 DTD 12/11/2002                                                           $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   MASTER GEOPHYSICAL DATA-USE LICENSE #11394 DTD 7/23/2013                                                            $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   MASTER GEOPHYSICAL NON-EXCLUSIVE DATA-USE LICENSE CW149514 (GXT NO. 11835) DTD 7/23/2018                            $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10822                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10822                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                       $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV   SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                       $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 25 of 28


DEBTOR NAME                   COUNTERPARTY                               CONTRACT DESCRIPTION                                                                               Cure Amount
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #11394                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #10430                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION BV    SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #11835                                                    $0.00
GX TECHNOLOGY CORPORATION     SHELL INT'L EXPLORATION & PRODUCTION INC   MASTER GEOPHYSICAL NON-EXCLUSIVE DATA-USE LICENSE CW149514 (GXT NO. 11835) DTD 7/23/2018                         $0.00
GX TECHNOLOGY CORPORATION     SHELL KANUMAS A/S                          MASTER GEOPHYSICAL DATA-USE LICENSE #10430 DTD 12/11/2002                                                        $0.00
GX TECHNOLOGY CORPORATION     SHELL NIGERIA E&P CO LTD                   MASTER GEOPHYSICAL NON-EXCLUSIVE DATA-USE LICENSE WITH #UI35949 (GXT NO. 11394) DTD 7/23/2013                    $0.00
GX TECHNOLOGY CORPORATION     SHELL NIGERIA EXPLORATION &                GENERAL DATA LICENSE AGREEMENT DTD 4/9/1998                                                                      $0.00
GX TECHNOLOGY CORPORATION     SHELL OFFSHORE INC                         MASTER GEOPHYSICAL DATA-USE LICENSE #10430 DTD 12/11/2002                                                        $0.00
GX TECHNOLOGY CORPORATION     SHELL OFFSHORE INC                         MASTER GEOPHYSICAL NON-EXCLUSIVE DATA-USE LICENSE WITH #UI35949 (GXT NO. 11394) DTD 7/23/2013                    $0.00
GX TECHNOLOGY CORPORATION     SHELL PETROLEUM & DEVELOPMENT CO LTD       EXTERNAL 3D SEISMIC DATA PROCESSING SERVICES #CW572839 DTD 12/1/2021                                             $0.00
GX TECHNOLOGY CORPORATION     SHELL TRINIDAD AND TOBAGO LTD              MASTER GEOPHYSICAL NON-EXCLUSIVE DATA-USE LICENSE WITH #UI35949 (GXT NO. 11394) DTD 7/23/2013                    $0.00
GX TECHNOLOGY CORPORATION     SHELL UK LTD                               MASTER GEOPHYSICAL NON-EXCLUSIVE DATA-USE LICENSE CW149514 (GXT NO. 11835) DTD 7/23/2018                         $0.00
GX TECHNOLOGY CORPORATION     SHELL WESTERN EXPL & PROD INC              MASTER GEOPHYSICAL DATA-USE LICENSE #10430 DTD 12/11/2002                                                        $0.00
GX TECHNOLOGY CORPORATION     SHELL WESTERN EXPLORATION & PRODUCTION     LETTER, RE: ACQUISITION OF SURFACE AND MINERAL PERMITS DTD 6/07/2011                                             $0.00
                              INC.
GX TECHNOLOGY CORPORATION     SINOPEC INTERNATIONAL PETROLEUM SERVICE    SINO-IPSC-0906/03                                                                                                $0.00
                              CORP
GX TECHNOLOGY CORPORATION     SINOPEC PETROLEUM SERVICE CO., LLC         SINO-PETSVCS-1603/03                                                                                          $0.00
GX TECHNOLOGY CORPORATION     SNPC                                       CONTRACT RELATIVE TO THE ACQUISITION & MARKETING OF GEOPHYSICAL DATA ON THE CONGOSPAN STUDY DTD          $71,232.00
                                                                         4/24/2004
GX TECHNOLOGY CORPORATION     SOCIEDADE NACIONAL DE COMBUSTIVEIS DE      CONGOSPAN PHASE II SEISMIC PROGRAM AGREEMENT AND RELATED SERVICE PROVISION CONTRACTS                  $3,238,812.18
                              ANGOLA
GX TECHNOLOGY CORPORATION     SOCIEDADE NACIONAL DE COMBUSTIVEIS DE      CONGOSPAN SEISMIC PROGRAM AGREEMENT DTD 3/15/2005                                                                $0.00
                              ANGOLA
GX TECHNOLOGY CORPORATION     SOCIEDADE NACIONAL DE COMBUSTIVEIS DE      AGREEMENT FOR THE PROVISION OF SEISMIC DATA ACQUISITION AND PROCESSING SERVICES DTD 5/25/2015                    $0.00
                              ANGOLA
GX TECHNOLOGY CORPORATION     SOCIEDADE NACIONAL DE COMBUSTIVEIS DE      AGREEMENT FOR THE PROVISION OF SEISMIC DATA REPROCESSING SERVICES DTD 4/11/2015                                  $0.00
                              ANGOLA
GX TECHNOLOGY CORPORATION     SOCIEDADE NACIONAL DE COMBUSTIVEIS DE      ADDENDUM NO. 1 TO CONGOSPAN SEISMIC PROGRAM AGREEMENT                                                            $0.00
                              ANGOLA
GX TECHNOLOGY CORPORATION     SOCIETE NATIONALE DES HYDROCARBURES, THEGOVERNMENTAL ROYALTY AGREEMENT                                                                                      $0.00
ION GEOPHYSICAL CORPORATION   SOCIETE NATIONALE DES PETROLES DU CONGO CONTRACT RELATING TO PSTM AND PSDM REPROCESSING, RTM PROCESSING OF THE SEISMIC DATA OF THE                          $0.00
                                                                      CONGOSPAN I AND CONGOSPAN II CAMPAIGNS AND THEIR MARKETING DTD 12/21/2018
GX TECHNOLOGY CORPORATION     SOCIETE NATIONALE DES PETROLES DU CONGO REVENUE SHARE - CONGOSPAN II DTD 11/9/2006                                                                       $0.00
ION GEOPHYSICAL CORPORATION   SOCIETY OF EXPLORATION GEOPHYSICISTS    COMMERCIAL EXHIBITION SPACE CONTRACT DTD 11/30/2021                                                         $31,480.00
GX TECHNOLOGY CORPORATION     SOMA OIL & GAS EXPLORATION              MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11535 DTD 6/10/2014                                                  $0.00
GX TECHNOLOGY CORPORATION     SOMA OIL & GAS EXPLORATION              SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11535                                                    $0.00
GX TECHNOLOGY CORPORATION     SONANGOL PASQUISA E PRODUCAO SA         MASTER GEOPHYSICAL DATA-USE LICENSE                                                                              $0.00
GX TECHNOLOGY CORPORATION     SOUTHWESTERN ENERGY PRODUCTION COMPANY LETTER OF COMMITMENT DTD 1/25/2011                                                                                $0.00

GX TECHNOLOGY CORPORATION     SOUTHWESTERN ENERGY PRODUCTION COMPANY TERMINATION OF LETTER OF COMMITMENT DTD 9/07/2012                                                                    $0.00

GX TECHNOLOGY CORPORATION     SOUTHWESTERN ENERGY COMPANY                MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11122 DTD 10/18/2011                                              $0.00
GX TECHNOLOGY CORPORATION     SOUTHWESTERN ENERGY COMPANY                SUPPLEMENTAL AGREEMENT NO. 1 TO MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11122 DTD 10/18/2011              $0.00
GX TECHNOLOGY CORPORATION     SOUTHWESTERN ENERGY COMPANY                DATA ACCESS AGREEMENT DTD 9/10/2012                                                                           $0.00
GX TECHNOLOGY CORPORATION     SOUTHWESTERN ENERGY COMPANY                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11122                                                 $0.00
ION GEOPHYSICAL CORPORATION   SPATIAL ENERGY LLC                         BRDP SUB-RESELLER LETTER AGREEMENT DTD 9/5/2012                                                               $0.00
GX TECHNOLOGY CORPORATION     SPINNAKER EXPLORATION COMPANY              MASTER DATA-USE LICENSE AGREEMENT #10356                                                                      $0.00
GX TECHNOLOGY CORPORATION     SPINNAKER EXPLORATION COMPANY              SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10356                                                 $0.00
GX TECHNOLOGY CORPORATION     SPIRIT PRODUCTION (SERVICES) LTD           MASTER GEOPHYSICAL DATA-USE LICENSE #11960 DTD 9/2/2020                                                       $0.00
GX TECHNOLOGY CORPORATION     SPIRIT PRODUCTION (SERVICES) LTD           SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11960                                                 $0.00
GX TECHNOLOGY CORPORATION     SPRING ENERGY NORWAY AS                    MASTER GEOPHYSICAL DATA-USE LICENSE #11221 DTD 11/11/2011                                                     $0.00
GX TECHNOLOGY CORPORATION     STAATSOLIE MAATSCHAPPIJ SURINAME NV        GEOLOGICAL STUDY AGREEMENT DTD 11/23/2012                                                                     $0.00
ION GEOPHYSICAL CORPORATION   STANDARD & POOR FINANCIAL SERVICES LLC     SERVICE AGREEMENT                                                                                       $164,659.00
ION GEOPHYSICAL CORPORATION   STARR INDEMNITY & LIABILITY COMPANY        INSURANCE AGREEMENT RE POLICY #1000226414-06                                                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT 10965-21 (PELOTASSPAN)                                 $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT 10965-21 (PELOTASSPAN)                                 $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT 10965-01 (BEAUFORTSPAN II)                             $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT 10965-02 (BEAUFORTSPAN III)                            $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT 10965-03 (BEAUFORTSPAN II)                             $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 10965-04 (BEAUFORTSPAN)                                $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 10965-04 (BEAUFORTSPAN II)                             $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 10965-04 (BEAUFORTSPAN III)                            $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT 10965-06 (ARAFURASPAN I)                               $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT 10965-07 (CHUKCHISPAN)                                 $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT 10965-08 (NE GREENLANDSPAN)                            $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT 10965-09 (NE ATLANTICSPAN)                             $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT 10965-10 (NE GREENLANDSPAN III)                        $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT 10965-11 (ARAFURASPAN I)                               $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT 10965-15 (COLOMBIASPAN)                                $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT 10965-16 (INDIASPAN EAST)                              $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT 10965-19 (BIGHTSPAN I)                                 $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT 10965-20 (ARGENTINESPAN)                               $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT 10965-22 (ARGENTINESPAN)                               $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT 10965-23 (GUYANASPAN 1)                                $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT 10965-24 (CARIBESPAN)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT 10965-24 (CARIBESPAN RE-IMAGING)                       $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT 10965-26 (INDIASPAN WEST)                              $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT 10965-27 (YUCATANSPAN)                                 $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT 10965-29 (INDIASPAN WEST)                              $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT 10965-29 (INDIASPAN II WEST)                           $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT 10965-30 (CONGOSPAN II)                                $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT 10965-30 (EQUATORSPAN - GABON)                         $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 26 of 28


DEBTOR NAME                   COUNTERPARTY                                 CONTRACT DESCRIPTION                                                                                 Cure Amount
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT 10965-30 (GABON DEEPTOW)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT 10965-32 (ARGENTINESPAN)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT 10965-32 (URUGUAY REPROCESSING)                             $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT 10965-32 (URUGUAYSPAN)                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT 10965-32 (URUGUAYSPAN RE-IMAGING)                           $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT 10965-33 (NOVASPAN)                                         $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT 10965-33 (NOVASPAN (RE-IMAGING))                            $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT 10965-34 (CONGOSPAN2 REPROCESSING1 (GC2R1))                 $0.00

GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT 10965-37 (GUYANASPAN 1)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT 10399-02 (CARIBESPAN)                                    $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT 10399-03 (TRINIDAD ULTRA DEEP)                           $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT 10399-04 (CONGOSPAN II)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT 10399-05 (BEAUFORTSPAN)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT 10399-06 (BEAUFORTSPAN II)                               $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  GLOBAL BASINSPAN ACCESS AGREEMENT DTD DEC. 21, 2012                                                             $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 10399, STATOIL NO. 4600007732, DATED JUNE 21, 2006                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  AMENDMENT 1 TO GLOBAL BASINSPAN ACCESS AGREEMENT                                                                $0.00
GX TECHNOLOGY CORPORATION     STATOIL ASA                                  MASTER GEOPHYSICAL DATA-USE AGREEMENT #10965 DTD 3/30/2009                                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL CANADA LTD                           MASTER GEOPHYSICAL DATA-USE AGREEMENT #10965 DTD 3/30/2009                                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL EXPLORATION (IRELAND) LTD            SEISMIC LICENSE AGREEMENT                                                                                       $0.00
ION GEOPHYSICAL CORPORATION   STATOIL EXPLORATION (IRELAND) LTD            SEISMIC LICENSE AGREEMENT                                                                                       $0.00
GX TECHNOLOGY CORPORATION     STATOIL GULF OF MEXICO LLC                   MASTER GEOPHYSICAL DATA-USE AGREEMENT #10399 DTD 6/21/2006                                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL GULF OF MEXICO LLC                   MASTER GEOPHYSICAL DATA-USE AGREEMENT #10965 DTD 3/30/2009                                                      $0.00
GX TECHNOLOGY CORPORATION     STATOIL GULF OF MEXICO, LLC                  SUPPLEMENT NO. 07 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10399 (GULFSPAN OBC)                                  $0.00
GX TECHNOLOGY CORPORATION     STATOIL GULF OF MEXICO, LLC                  SUPPLEMENT NO. 08 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10399 (GULFSPAN LAND)                                 $0.00
GX TECHNOLOGY CORPORATION     STATOIL GULF OF MEXICO, LLC                  SUPPLEMENT NO. 28 TO MASTER GEOPHYSICAL DATA-USE LICENSE #10965 (GULFSPAN REPROCESSING)                         $0.00
GX TECHNOLOGY CORPORATION     STATOIL US E&P                               MASTER GEOPHYSICAL DATA-USE AGREEMENT #10965 DTD 3/30/2009                                                      $0.00
GX TECHNOLOGY CORPORATION     STATOILHYDRO ASA                             GEOPHYSICAL DATA LICENSE SETTLEMENT AGREEMENT DTD 12/21/2007                                                    $0.00
GX TECHNOLOGY CORPORATION     STATOILHYDRO ASA                             MASTER GEOPHYSICAL DATA-USE AGREEMENT #10399 DTD 6/21/2006                                                      $0.00
GX TECHNOLOGY CORPORATION     STATOILHYDRO ASA                             MASTER GEOPHYSICAL DATA-USE AGREEMENT #10965 DTD 3/30/2009                                                      $0.00
GX TECHNOLOGY CORPORATION     STATOILHYDRO CANADA LTD                      MASTER GEOPHYSICAL DATA-USE AGREEMENT #10965 DTD 3/30/2009                                                      $0.00
GX TECHNOLOGY CORPORATION     STONE ENERGY                                 SUPPLEMENT NO. 01 TO MASTER GEOPHYSICAL DATA-USE AGREEMENT #10495 (GULFSPAN I)                                  $0.00
GX TECHNOLOGY CORPORATION     STONE ENERGY                                 LETTER, RE: NEW VENTURES PROPOSAL DTD 12/29/2005                                                                $0.00
GX TECHNOLOGY CORPORATION     STONE ENERGY                                 MASTER GEOPHYSICAL DATA-USE AGREEMENT #10495 DTD 12/29/2005                                                     $0.00
GX TECHNOLOGY CORPORATION     STRIKE ENERGY LTD                            SEISMIC ACCESS AGREEMENT #WA460P DTD 9/12/2012                                                                  $0.00
ION GEOPHYSICAL CORPORATION   SUNLIFE PENSION SCHEME                       CANADIAN RETIREMENT PLAN                                                                                        $0.00
ION GEOPHYSICAL CORPORATION   SWEPI LP                                     MASTER SEISMIC DATA PROCESSING SERVICES AGREEMENT #UA61901 DTD 1/22/2016                                        $0.00
GX TECHNOLOGY CORPORATION     SYRACUSE UNIVERSITY                          REPROCESSING & COOPERATION AGREEMENT DTD 4/23/2014                                                              $0.00
ION GEOPHYSICAL CORPORATION   SYRACUSE UNIVERSITY                          REPROCESSING & COOPERATION AGREEMENT DTD 4/23/2014                                                              $0.00
ION GEOPHYSICAL CORPORATION   SYRACUSE UNIVERSITY                          LETTER AGREEMENT DTD 10/2/2013                                                                                  $0.00
ION GEOPHYSICAL CORPORATION   TALISMAN ENERGY INC                          MASTER GEOPHYSICIAL DATA-USE LICENSE AGREEMENT #10111 DTD 6/12/2003                                             $0.00
GX TECHNOLOGY CORPORATION     TALISMAN ENERGY INC                          MASTER GEOPHYSICIAL DATA-USE LICENSE AGREEMENT #10111 DTD 6/12/2003                                             $0.00
GX TECHNOLOGY CORPORATION     TALISMAN ENERGY INC                          SEISMIC LICENSE AGREEMENT                                                                                       $0.00
GX TECHNOLOGY CORPORATION     TALISMAN ENERGY INC                          SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10111                                                   $0.00
GX TECHNOLOGY CORPORATION     TALISMAN ENERGY INC                          SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10111                                                   $0.00
GX TECHNOLOGY CORPORATION     TALISMAN ENERGY INC                          SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10111                                                   $0.00
GX TECHNOLOGY CORPORATION     TALISMAN ENERGY INC                          SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10111                                                   $0.00
GX TECHNOLOGY CORPORATION     TALISMAN ENERGY INC                          SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10111                                                   $0.00
GX TECHNOLOGY CORPORATION     TALISMAN ENERGY INC                          SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10111                                                   $0.00
GX TECHNOLOGY CORPORATION     TALOS ENERGY LLC                             MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT (GXT NO. 11704)DTD 11/29/2012                                     $0.00
ION GEOPHYSICAL CORPORATION   TALOS ENERGY LLC                             MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT (GXT NO. 11704)DTD 11/29/2012                                     $0.00
GX TECHNOLOGY CORPORATION     TANZANIA PETROLEUM DEVELOPMENT CORP          GEOLOGICAL STUDY AGREEMENTS FOR MULTIPLE PHASES                                                         $1,665,153.69
GX TECHNOLOGY CORPORATION     TANZANIA PETROLEUM DEVELOPMENT CORP          GEOLOGICAL STUDY AGREEMENTS FOR MULTIPLE PHASES                                                                 $0.00
GX TECHNOLOGY CORPORATION     TANZANIA PETROLEUM DEVELOPMENT CORP          ADDENDUM NO. 1 TO EAST AFRICASPAN GEOLOGICAL STUDY AGREEMENT DTD 7/24/2008                                      $0.00
GX TECHNOLOGY CORPORATION     TANZANIA PETROLEUM DEVELOPMENT CORP          ADDENDUM NO. 1 TO EAST AFRICASPAN PHASE III GEOLOGICAL STUDY AGREEMENT DTD 10/30/2011                           $0.00
GX TECHNOLOGY CORPORATION     TANZANIA PETROLEUM DEVELOPMENT               ADDENDUM NO. 1 TO EAST AFRICASPAN GEOLOGICAL STUDY AGREEMENT DTD 7/31/2006                                      $0.00
                              CORPORATION
GX TECHNOLOGY CORPORATION     TANZANIA PETROLEUM DEVELOPMENT               ADDENDUM NO. 2 TO EAST AFTRICASPAN PHASE III GEOLOGICAL STUDY AGREEMENT DTD 11/11/2010                             $0.00
                              CORPORATION
GX TECHNOLOGY CORPORATION     TERRA SEISMIC SERVICES                       SERVICES AGREEMENT DTD 6/10/2004                                                                                   $0.00
ION GEOPHYSICAL CORPORATION   TGS GEOPHYSICAL EPYPT SP                     LETTER OF AWARD DTD 3/3/2022                                                                                       $0.00
GX TECHNOLOGY CORPORATION     TGS-NOPEC GEOPHYSICAL CO ASA                 MASTER LICENSE AGREEMENT #NL1207-304                                                                               $0.00
ION GEOPHYSICAL CORPORATION   TGS-NOPEC GEOPHYSICAL CO ASA                 MASTER LICENSE AGREEMENT #NL1207-304                                                                               $0.00
ION GEOPHYSICAL CORPORATION   THE GEOLOGICAL SURVEY OF DENMARK AND         CONTRACT FOR MULTI-CLIENT SEISMIC DATA REPROCESSING, SALES AND MARKETING DTD 3/11/2019                             $0.00
                              GREENLAND
GX TECHNOLOGY CORPORATION     THE GOVERNMENT OF BARBADOS                   ASSIGNMENT AND TRANSFER OF DATA AGREEMENT DTD 2/21/2018                                                            $0.00
ION GEOPHYSICAL CORPORATION   THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE   FIRST AMENDMENT TO THE DATA LICENSE AGREEMENT DTD 2/27/2017                                                        $0.00
                              CITY OF NEW YORK
ION GEOPHYSICAL CORPORATION   THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE   FDP COST REIMBURSEMENT SUBAWARD #2(GG013291) DTD 3/3/2021                                                          $0.00
                              CITY OF NEW YORK
ION GEOPHYSICAL CORPORATION   THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE   AMENDMENT NO. 1 TO FDP COST REIMBURSEMENT SUBAWARD #2(GG013291) DTD 3/3/2021                                       $0.00
                              CITY OF NEW YORK
GX TECHNOLOGY CORPORATION     THUNDERBIRD RESOURCES EQUITY INC             MASTER GEOPHYSICAL DTATA USE LICENSE #11143                                                                        $0.00
GX TECHNOLOGY CORPORATION     TIPTOP ENERGY PRODUCTION US LLC              MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT (GXT NO. 11459) DTD 12/6/2013                                        $0.00
GX TECHNOLOGY CORPORATION     TIPTOP ENERGY PRODUCTION US LLC              SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11459                                                      $0.00
ION GEOPHYSICAL CORPORATION   TNH TECHNOLOGY CORPORATION                   IT CONSULTING AGREEMENT #11899 DTD 1/1/2019                                                                        $0.00
GX TECHNOLOGY CORPORATION     TOTAL E&P AUSTRALIA                          MASTER GEOPHYSICAL DATA-USE LICENSE #11507                                                                         $0.00
GX TECHNOLOGY CORPORATION     TOTAL E&P DO BRASIL LTDA                     MASTER GEOPHYSICAL DATA-USE LICENSE (REF. GXT NO. 10303 AND TOTAL NO. EXS 05 02) DTD 2/10/2005                     $0.00
GX TECHNOLOGY CORPORATION     TOTAL E&P INTERNATION K1 LTD                 MASTER GEOPHYSICAL DATA-USE LICENSE #10303 DTD 2/10/2005                                                           $0.00
GX TECHNOLOGY CORPORATION     TOTAL E&P MAROC                              MASTER GEOPHYSICAL DATA-USE LICENSE #10303 DTD 2/10/2005                                                           $0.00
GX TECHNOLOGY CORPORATION     TOTAL E&P NORGE AS                           MASTER GEOPHYSICAL DATA-USE LICENSE #1409 DTD 10/30/2014                                                           $0.00
ION GEOPHYSICAL CORPORATION   TOTAL E&P NORGE AS                           MASTER GEOPHYSICAL DATA-USE LICENSE #1409 DTD 10/30/2014                                                           $0.00
GX TECHNOLOGY CORPORATION     TOTAL E&P URUGUAY BV                         MASTER GEOPHYSICAL DATA-USE LICENSE #10303 DTD 2/10/2005                                                           $0.00
GX TECHNOLOGY CORPORATION     TOTAL E&P USA INC                            MASTER GEOPHYSICAL DATA-USE LICENSE #10303 DTD 2/10/2005                                                           $0.00
GX TECHNOLOGY CORPORATION     TOTAL EXPLORATION & PRODUCTION               PROPOSAL FOR INDIA SPAN (PARTIAL) DATA PURCHASE DTD 11/29/2005                                                     $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     MASTER GEOPHYSICAL DATA-USE LICENSE (REF. GXT NO. 10303 AND TOTAL NO. EXS 05 02) DTD 2/10/2005                     $0.00
ION GEOPHYSICAL CORPORATION   TOTAL SA                                     MASTER GEOPHYSICAL DATA-USE LICENSE (REF. GXT NO. 10303 AND TOTAL NO. EXS 05 02) DTD 2/10/2005                     $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10462                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10462                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 16 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 19 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 20 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 21 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 22 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 23 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 24 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 25 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 26 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 27 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 28 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 29 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 30 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 32 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 33 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 34 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 35 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                                     SUPPLEMENT NO. 36 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                      $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 27 of 28


DEBTOR NAME                   COUNTERPARTY                          CONTRACT DESCRIPTION                                                                               Cure Amount
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 37 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 38 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 39 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 40 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 41 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 42 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 43 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 44 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 45 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 46 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 47 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 48 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 49 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 50 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 51 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 52 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 53 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 54 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 55 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 56 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 57 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 59 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 60 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 62 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 63 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 64 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 65 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 67 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 68 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 70 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 71 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 72 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 74 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 75 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 76 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 77 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 78 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 79 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 80 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 81 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 82 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 83 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 84 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 86 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 87 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 88 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 90 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 91 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SA                              SUPPLEMENT NO. 92 TO MASTER DATA-USE LICENSE AGREEMENT #10303                                                 $0.00
GX TECHNOLOGY CORPORATION     TOTAL SE                              MASTER GEOPHYSICAL DATA-USE LICENSE (REF. GXT NO. 10303 AND TOTAL NO. EXS 05 02) DTD 2/10/2005                $0.00
GX TECHNOLOGY CORPORATION     TOTALENERGIES SE                      MASTER GEOPHYSICAL DATA-USE LICENSE (REF. GXT NO. 10303 AND TOTAL NO. EXS 05 02) DTD 2/10/2005                $0.00
GX TECHNOLOGY CORPORATION     TOTALFINAELF E&P USA INC              MASTER GEOPHYSICAL DATA-USE LICENSE #10462 DTD 4/9/2002                                                       $0.00
GX TECHNOLOGY CORPORATION     TOTALFINAELF E&P USA, INC.            GULFSPAN REGIONAL SEISMIC PROGRAM LETTER OF COMMITMENT DTD 3/15/2002                                          $0.00
GX TECHNOLOGY CORPORATION     TOTALFINAELF E&P USA, INC.            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10462                                                 $0.00
ION GEOPHYSICAL CORPORATION   TRAVELERS                             INSURANCE AGREEMENT RE POLICY #BA-0P647235-21-I3-G                                                            $0.00
ION GEOPHYSICAL CORPORATION   TRAVELERS                             INSURANCE AGREEMENT RE POLICY #CUP-0P653518-21-I3                                                             $0.00
ION GEOPHYSICAL CORPORATION   TRAVELERS                             INSURANCE AGREEMENT RE POLICY #H-660-0P652792-PHX-21                                                          $0.00
ION GEOPHYSICAL CORPORATION   TRAVELERS                             INSURANCE AGREEMENT RE POLICY #UB-0P649289-21-I3-G                                                            $0.00
GX TECHNOLOGY CORPORATION     TRINIDAD & TOBAGO MEEI                CARIBESPAN SEISMIC PROGRAMME AGREEMENT DTD 2/15/2008                                                          $0.00
GX TECHNOLOGY CORPORATION     TRITON DATA SERVICES INC              DATA MANAGEMENT SERVICE AGREEMENT DATED 4/22/2004                                                             $0.00
ION GEOPHYSICAL CORPORATION   TRITON DATA SERVICES INC              LICENSE AND MANAGED SERVICE AGREEMENT DTD 3/22/2022                                                     $162,545.40
ION GEOPHYSICAL CORPORATION   TRUSTEES OF COLUMBIA UNIVERSIY, THE   DATA LICENSE AGREEMENT DTD 2/27/2017                                                                     $28,247.93
ION GEOPHYSICAL CORPORATION   TRUSTEES OF COLUMBIA UNIVERSIY, THE   LICENSE & REPROCESSING AGREEMENT DTD 8/16/2016                                                                $0.00
ION GEOPHYSICAL CORPORATION   TRUSTEES OF COLUMBIA UNIVERSIY, THE   LICENSE REPROCESSING AGREEMENT DTD 9/20/2018                                                                  $0.00
ION GEOPHYSICAL CORPORATION   TRUSTEES OF COLUMBIA UNIVERSIY, THE   FIRST AMENDMENT TO DATA LICENSE AGREEMENT DTD 2/27/2017                                                       $0.00
GX TECHNOLOGY CORPORATION     TULLOW (EA) HOLDINGS LTD              MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT #11192 DTD 2/29/2012                                            $0.00
GX TECHNOLOGY CORPORATION     TULLOW AFRICA NEW VENTURES LTD        MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT #11192 DTD 2/29/2012                                            $0.00
GX TECHNOLOGY CORPORATION     TULLOW GROUP SERVICES LTD             MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT #11192 DTD 2/29/2012                                            $0.00
GX TECHNOLOGY CORPORATION     TULLOW NEW VENTURES LTD               MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT #11192 DTD 2/29/2012                                            $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL GABON SA                   MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT #11192 DTD 2/29/2012                                            $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        MASTER GEOPHYSICAL DATA-USE LICENSE AGREEMENT #11192 DTD 2/29/2012                                            $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 14 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 15 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 17 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW OIL LTD                        SUPPLEMENT NO. 18 TO MASTER DATA-USE LICENSE AGREEMENT #11192                                                 $0.00
GX TECHNOLOGY CORPORATION     TULLOW SURINAME BV                    PERMISSION TO CARRY OUT SEISMIC OPERATIONS DTD 9/4/2012                                                       $0.00
GX TECHNOLOGY CORPORATION     TULLOW TRINIDAD LTD                   MASTER GEOPHYSICAL DATA-USE LICENSE #10779 DTD 6/24/2008                                                      $0.00
GX TECHNOLOGY CORPORATION     TURKIYE PETROLLERI A.O                TPAO-1103/01                                                                                                  $0.00
ION GEOPHYSICAL CORPORATION   UKG INC.                              SOFTWARE AS A SERVICE AGREEMENT                                                                               $0.00
GX TECHNOLOGY CORPORATION     UNION OIL COMPANY OF CALIFORNIA       MASTER DATA-USE LICENSE AGREEMENT                                                                             $0.00
GX TECHNOLOGY CORPORATION     UNION OIL COMPANY OF CALIFORNIA       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT                                                        $0.00
GX TECHNOLOGY CORPORATION     UNITAS GLOBAL                         SERVICE ORDER FORM DTD 12/1/2020                                                                          $1,500.90
GX TECHNOLOGY CORPORATION     UNITED STATES GEOLOGICAL SURVEY       AWARD/CONTRACT (CONTRACT NO. G11PC00048) DTD 8/26/2011                                                        $0.00
GX TECHNOLOGY CORPORATION     UNITED STATES GEOLOGICAL SURVEY       MASTER GEOPHYSICAL DATA-USE LICENSE #11136 DTD 2/17/2011                                                      $0.00
GX TECHNOLOGY CORPORATION     UNITED STATES GEOLOGICAL SURVEY       MASTER GEOPHYSICAL DATA-USE LICENSE #1442 DTD 1/13/2014                                                       $0.00
GX TECHNOLOGY CORPORATION     UNITED STATES GEOLOGICAL SURVEY       MASTER GEOPHYSICAL DATA-USE LICENSE #1442A DTD 9/15/2015                                                      $0.00
GX TECHNOLOGY CORPORATION     UNITED STATES GEOLOGICAL SURVEY       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11136                                                 $0.00
GX TECHNOLOGY CORPORATION     UNITED STATES GEOLOGICAL SURVEY       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11442A                                                $0.00
GX TECHNOLOGY CORPORATION     UNITED STATES GEOLOGICAL SURVEY       SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11442A                                                $0.00
ION GEOPHYSICAL CORPORATION   UNITEDHEALTHCARE GLOBAL               GROUP LIFE INSURANCE (EXPAT)                                                                                  $0.00
ION GEOPHYSICAL CORPORATION   UNITEDHEALTHCARE INSURANCE COMPANY    GROUP MEDICAL POLICY DTD 3/1/2022                                                                             $0.00
ION GEOPHYSICAL CORPORATION   UNITEDHEALTHCARE INSURANCE COMPANY    GROUP DENTAL POLICY DTD 3/1/2022                                                                              $0.00
ION GEOPHYSICAL CORPORATION   UNITEDHEALTHCARE INSURANCE COMPANY    GROUP VISION POLICY DTD 3/1/2022                                                                              $0.00
GX TECHNOLOGY CORPORATION     UNIVERSIDADE FEDERAL DE PERNAMBUCO    MASTER GEOPHYSICAL DATA-USE LICENSE DTD 9/25/2012                                                             $0.00
ION GEOPHYSICAL CORPORATION   UNIVERSITY OF ALASKA FAIRBANKS        SEISMIC LICENSE LETTER AGREEMENT DTD 2/12/2014                                                                $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF HOUSTON                 MASTER GEOPHYSICAL DATA-USE LICENSE #11410 DTD 7/22/2013                                                      $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF HOUSTON                 SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11410                                                 $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF HOUSTON                 SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11410                                                 $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF HOUSTON                 SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11410                                                 $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF LEEDS                   MASTER GEOPHYSICAL DATA-USE LICENSE (GXT NO. 11465) DTD 2/6/2014                                              $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    AMENDMENT 1 TO COOPERATIVE RESEARCH AGREEMENT DTD 3/09/2015                                                   $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    MASTER GEOPHYSICAL DATA-USE LICENSE #11595 DTD 8/03/2006                                                      $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    COOPERATIVE RESEARCH AGREEMENT #10597                                                                   $149,999.58
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    COOPERATIVE RESEARCH AGREEMENT #12018                                                                         $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    MASTER GEOPHYSICAL DATA-USE LICENSE #11504 DTD 5/8/2014                                                       $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    MASTER GEOPHYSICAL DATA-USE LICENSE #11504 DTD 5/8/2014 & RELATED COOPERATIVE RESEARCH AGREEMENT              $0.00

ION GEOPHYSICAL CORPORATION   UNIVERSITY OF TEXAS AT AUSTIN, THE    MASTER GEOPHYSICAL DATA-USE LICENSE #11504 DTD 5/8/2014 & RELATED COOPERATIVE RESEARCH AGREEMENT                 $0.00

GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    REPROCESSING AND COOPERATION AGREEMENT DTD 7/10/2006                                                             $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10595                                                    $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #10595                                                    $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #10595                                                    $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE    SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11504                                                    $0.00
                  Case 22-30987 Document 680 Filed in TXSB on 08/19/22 Page 28 of 28


DEBTOR NAME                   COUNTERPARTY                         CONTRACT DESCRIPTION                                              Cure Amount
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE   SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11504                $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE   SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11504                $0.00
GX TECHNOLOGY CORPORATION     UNIVERSITY OF TEXAS AT AUSTIN, THE   SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #11504                $0.00
GX TECHNOLOGY CORPORATION     UPSTREAM ENERGY SERVICES OF BUENOS   CONSULTING SERVICES AGREEMENT #10519 DTD 7/10/2006                           $0.00
GX TECHNOLOGY CORPORATION     UPSTREAM ENERGY SERVICES S.A.        CONSULTING AGREEMENT #10519 DTD 7/10/2006                              $438,576.00
GX TECHNOLOGY CORPORATION     UPSTREAM OIL & GAS                   MASTER GEOPHYSICAL DATA-USE LICENSE DTD 12/11/2014                           $0.00
GX TECHNOLOGY CORPORATION     UPSTREAM SERVICES S A                CONSULTING AGREEMENT #10519 DTD 7/10/2006                              $210,439.00
GX TECHNOLOGY CORPORATION     UPSTREAM SERVICES S.A.               AMENDMENT NO. 1 TO CONSULTING AGREEMENT 10519                                $0.00
GX TECHNOLOGY CORPORATION     UPSTREAM SERVICES S.A.               AMENDMENT NO. 2 TO CONSULTING AGREEMENT 10519                                $0.00
GX TECHNOLOGY CORPORATION     UPSTREAM SERVICES S.A.               AMENDMENT NO. 3 TO CONSULTING AGREEMENT 10519                                $0.00
ION GEOPHYSICAL CORPORATION   UPSTREAM SERVICES S.A.               AMENDMENT NO. 6 TO CONSULTING SERVICES AGREEMENT                             $0.00
ION GEOPHYSICAL CORPORATION   US SPECIALTY INSURANCE COMPANY       INSURANCE AGREEMENT RE POLICY #34-MGU-21-A52933                              $0.00
ION GEOPHYSICAL CORPORATION   US SPECIALTY INSURANCE COMPANY       INSURANCE AGREEMENT RE POLICY #U721-85794                                    $0.00
GX TECHNOLOGY CORPORATION     US SPECIALTY INSURANCE COMPANY       PERFORMANCE BOND #B006625                                                    $0.00
ION GEOPHYSICAL CORPORATION   USGS OAG DENVER AXQUISITION BRANCH   SEISMIC LICENSE AGREEMENT CONTRACT# G11PC00048                               $0.00
GX TECHNOLOGY CORPORATION     USGS OAG RESTON ACQUISITION BRANCH   SEISMIC LICENSE AGREEMENT CONTRACT# G11PC00048                               $0.00
ION GEOPHYSICAL CORPORATION   USHER, CHRISTOPHER T                 RESTRICTED STOCK AGREEMENT 9/1/2019                                          $0.00
ION GEOPHYSICAL CORPORATION   USHER, CHRISTOPHER T                 EMPLOYMENT AGREEMENT DTD 1/27/2020                                           $0.00
ION GEOPHYSICAL CORPORATION   UST REALTY COMPANY                   LEASE AGREEMENT DTD 2/21/2022                                                $0.00
GX TECHNOLOGY CORPORATION     VAALCO ANGOLA (KWANZA) INC           MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11498 DTD 2/10/2014              $0.00
GX TECHNOLOGY CORPORATION     VAALCO ENERGY INC                    MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11279 DTD 4/18/2012              $0.00
GX TECHNOLOGY CORPORATION     VAALCO ENERGY INC                    SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11279                $0.00
GX TECHNOLOGY CORPORATION     VAALCO ENERGY INC                    SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11498                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              MASTER GEOPHYSICAL DATA-USE LICENSE #11318 DTD 9/25/2012                     $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11453                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 08 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 09 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 10 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 11 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 12 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD              SUPPLEMENT NO. 13 TO MASTER DATA-USE LICENSE AGREEMENT #11318                $0.00
GX TECHNOLOGY CORPORATION     VANCO INTERNATIONAL LTD.             LETTER, RE: PROPOSAL TO COPY GULFSPAN II STREAMER DTD 1/31/2014              $0.00
GX TECHNOLOGY CORPORATION     VANCO PRYKERCHEMSKA LTD              MASTER GEOPHYSICAL DATA-USE LICENSE #11453 DTD 10/11/2013                    $0.00
GX TECHNOLOGY CORPORATION     VIETNAM OIL AND GAS GROUP            GOVERNMENTAL ROYALTY AGREEMENT                                               $0.00
GX TECHNOLOGY CORPORATION     VIKING GEOPHYSICAL SERVICES LTD      MASTER GEOPHYSICAL SERVICE AGREEMENT NO. 11229 DTD 12/2/2011                 $0.00
GX TECHNOLOGY CORPORATION     VIKING PETROL SAHASI HIZMETLERI SA   MASTER GEOPHYSICAL SERVICE AGREEMENT DTD 12/2/2011                           $0.00
GX TECHNOLOGY CORPORATION     VNG NORGE AS                         MASTER GEOPHYSICAL DATA-USE LICENSE GXT NO. 11039 DTD 3/26/2010              $0.00
GX TECHNOLOGY CORPORATION     VNG NORGE AS                         SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11039                $0.00
ION GEOPHYSICAL CORPORATION   WESCO INSURANCE COMPANY              INSURANCE AGREEMENT RE POLICY #EUW187999801                                  $0.00
GX TECHNOLOGY CORPORATION     WESTERN ENERGY EAST AFRICA LTD       MASTER GEOPHYSICAL DATA-USE LICENSE #11469 DTD 6/2/2014                      $0.00
GX TECHNOLOGY CORPORATION     WESTERN ENERGY EAST AFRICA LTD       SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11469                $0.00
GX TECHNOLOGY CORPORATION     WESTERN ENERGY EAST AFRICA LTD       SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11469                $0.00
GX TECHNOLOGY CORPORATION     WESTERN ENERGY EAST AFRICA LTD       SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11469                $0.00
ION GEOPHYSICAL CORPORATION   WESTPORT INSURANCE CORPORATION       GENERAL INDEMNITY AGREEMENT DTD 11/15/2013                                   $0.00
ION GEOPHYSICAL CORPORATION   WEX HEALTH INC.                      COBRA ADMINISTRATIVE SERVICES AGREEMENT DTD 1/1/2022                        $40.70
GX TECHNOLOGY CORPORATION     WINTERSHALL AG                       WINT-0508                                                                    $0.00
GX TECHNOLOGY CORPORATION     WINTERSHALL AG                       WINTER-1703                                                                  $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (IRELAND) PTY LTD    MASTER GEOPHYSICAL DATA-USE LICENSE #11415 DTD 6/14/2013                     $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (USA) INC            MASTER GEOPHYSICAL DATA-USE LICENSE #10634                                   $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (USA) INC            MASTER GEOPHYSICAL DATA-USE LICENSE #10634 DTD 12/8/2006                     $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (USA) INC            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #10634                $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (USA) INC            SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11415                $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (USA) INC            SUPPLEMENT NO. 03 TO MASTER DATA-USE LICENSE AGREEMENT #11415                $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (USA) INC            SUPPLEMENT NO. 04 TO MASTER DATA-USE LICENSE AGREEMENT #11415                $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (USA) INC            SUPPLEMENT NO. 05 TO MASTER DATA-USE LICENSE AGREEMENT #11415                $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (USA) INC            SUPPLEMENT NO. 06 TO MASTER DATA-USE LICENSE AGREEMENT #11415                $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY (USA) INC            SUPPLEMENT NO. 07 TO MASTER DATA-USE LICENSE AGREEMENT #11415                $0.00
GX TECHNOLOGY CORPORATION     WOODSIDE ENERGY LTD                  MASTER GEOPHYSICAL DATA-USE LICENSE #11415 DTD 6/14/2013                     $0.00
ION GEOPHYSICAL CORPORATION   XONEX RELOCATION INC                 RELOCATION MANAGEMENT SERVICES AGREEMENT DTD 08/03/2008                      $0.00
GX TECHNOLOGY CORPORATION     XTO ENERGY INC                       MASTER GEOPHYSICAL DATA-USE LICENSE DTD 11/21/2007                           $0.00
GX TECHNOLOGY CORPORATION     XTO ENERGY INC.                      SUPPLEMENT NO. 60 TO MASTER LICENSE DATA-USE LICENSE #10789                  $0.00
GX TECHNOLOGY CORPORATION     YPF SA                               MASTER GEOPHYSICAL DATA-USE LICENSE #10745                                   $0.00
GX TECHNOLOGY CORPORATION     YPF SA                               MASTER GEOPHYSICAL DATA-USE LICENSE #11460 DTD 12/20/2013                    $0.00
GX TECHNOLOGY CORPORATION     YPF SA                               SUPPLEMENT NO. 01 TO MASTER DATA-USE LICENSE AGREEMENT #11460                $0.00
GX TECHNOLOGY CORPORATION     YPF SA                               SUPPLEMENT NO. 02 TO MASTER DATA-USE LICENSE AGREEMENT #11460                $0.00
GX TECHNOLOGY CORPORATION     ZAYO GROUP, LLC                      SERVICE ORDER #341884 DTD 5/2/2013                                           $0.00
ION GEOPHYSICAL CORPORATION   ZURICH AMERICAN INS CO               INSURANCE AGREEMENT RE POLICY #PPR1064663-04                                 $0.00
